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                                                            US  DISTfiITT I]OURT
                                                            - -ERiONEPÛRT
                                                                           CT
                       UNITED STATES DISTRICT COURT
                         DISTRTCT OF CONNECTICUT

                   a     a   c ae     zzu
(pr¡rnrrrr')
                                                     f),L
vs.                                             NO.: J        \1 c/ 51       Lnvc)
PENACHIO MALARA, LLP
 Defendants




                  COMPLAINT FOR MONETARY DAMAGES FOR
                      LEGAL MALPRACTTCE, . BREACH
                        OF CONTRACT AND FRAUD
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                             TNTRODUCT TON

     1.   This is a cívi1 action, filed in diversíty, seekÍng
monetary damages for, i-nt-9l 3tí-a, 1egal malpractice, breach of
conLract, and fraud and misrepresentatíon, arisíng from the
negligent and wi11ful acts an omissíons of Anne J. Penaehío,
Esquire - a partner in the New York Limited Liability
partnership registered wíth the New York SecreLary of State as
PENACHIO MALARA, LLP.
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                                        I
                       JURISDICTI ON AND VENUE

                                       A
                    SUBJEC T MATTER JURISDICTION



     Z. This CourÈ has subject, matt,er jurisdíctíon over the
elaíms raísed herein pursuant to 28 U.S.C. $ 1332, insofar âs lhe
matter ín controversy exceeds the sum otr value of $75,000t
excl-usiùe of ínterest and cost, and is between citízens of


                                   VENUE

     3. Venue is proper in this DísLrict, ínsofar as the
Plaintíff resides herein, and a certaín number of the acfs
alleged in this Complaint were commítted in thís Distríct''
     4. RESERVED.
                               aaaaaaaaaa
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                                      III
                                 THE PLAINTIFF
                                       A
                                 IDENTIFICATION

      5. The plaintif f , MICHELE PTZZIJTI, is a native of ltaly and
a naturalized citizen of the United States.
      6. The Plaintiff is also known by the name and more common
spelling "Michael" PizzutL.
      7. The Plaintiff is currently incarcerated in the Federal
Bureau of Prisons, at FCI DANBURY, Connectícut, serving a
sentence of 2L9 months on indictment, number 02-CR-t237, imposed
by Mrs. Justice Kram, in and for the Southern Distríct of New
York.
     8. English is the Plaintiffrs seeond language and he is the
holder of a General Equivalency Diploma (Cao), ]
     9. The plaintiff   is legally married to Michelle Pizzuti
(hereinafter referred to as Mrs. PízzuLi).
                                        B
                   ORIGIN   OF   THE PLAINTIFFIS   KNO!üLEDGE

      1-0. Unless specif ically s tated otherwise, t,he Plaintif f ' s
knowledge of the facts and substant.ive allegations raised in this
Complaint are derived from¡ and premised upon, information
received from PENACHIO, loan servicing documents, county and
s t,aLe recordings ,  foreclosure notiees , suits in foreclosure t
pleadings filed in the Uniled States Bankruptcy Court, for the
Sout.hern District of New York, and documents fíled with the
I,,iest.chester Supreme Court, and/or the New York Secretary of
State.
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                                           IV
                                   THE   DEFENDANTS

                                           A
                               ANNE PENACHIO, ESQUIRE

     IL. Anne Penachío ís a person over the age of eighteen (1S)
years of age.
     12. Anne Penachio is an attorney lícensed to practice law in
the SLate of New York, and shall, hereinafter, be referred to as
''PENACHTO''.
       13.   The   Plaintiff     is reliably     informed and be1íeves,     and




of   New York.
                                           B
                                PENACHIO MALARA, LLP

       14.   PENACHI.O MALARA,     LLP, in a    New   York Limited Partnershíp,
whose address as designated with the New York Secretary of State
is 235 Main Street, 6th Floor, I,ühite Planes, New Yorkr 10601.
     15. Upon ínformation and belief, PENACHIO is a member of the
PENACHIO MALARA Limired Líabilíty         Partnership (hereínafter
referred to as "PENACHTo          MALARA").

     L6..24. RESERVED.
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                                       V
                              FACTUAL ALLEGATIONS

                                       A
              REAL ESTATE SUBJECT TO THE PRESENT COMPLAÏNT
                                       1
                    46   GLEN ROAD, EASTCHESTER, NET.I YORK

    25, On or about Seplember 20, 2004 (prior t,o his
incarceration), the PLAINTIFF refinanced a parcel of real estate
locaLed at 46 Glen Road, EastchesLer, New York (C],gt{ ROAD
PROPERTY) .

      26. In order to fund t.he ref inancing of Lhe GLEN ROAD
PRgPERTY, Lhe PLAINTIFF executed a note in favor of l{ashington
MuLual Bank, FA, in Lhe amount of $840,000 (eI.gN ROAD NOTE)
(nxHtert - 1).
    27 .  Cont,emporaneous ly with the recording of the Deed to

the GLEN ROAD PROPERTY, the PLAINTIFF executed a Quit Claim Deed
of that property from "Michele Pi-zzutí" and to "Michele PizzutL
and Michelle Pj-zzulit' (nxHlett - 2).
    28. Also conLemporaneously with the filing           of the
aforementioned Note and Quit Claim Deed, Lhe PLAINTIFF and Mrs.
P j-zzut i grant.ed a mor tgage agains t t.he GLEN ROAD PROPERTY in
f   avor of    ashington Mut.ual Bank, FA r âs securily f or Lhe
               ii

repaymenr of rhe GLEN ROAD NOTE (Crgt{ ROAD MORTGAGE) (nXHrgrr
-3).
      29. The GLEN ROAD NOTE was reeorded in t.he land records of
I^trestchester Count.y on February 22, 2005.
      30. The GLEN ROAD MORTGAGE vüas recorded in t.he land
records of llestchester County on Febuary 22, 2005.
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                                             2
                        267   DANTE AVENUE, TUCKAHOE, NEúI YORK.

    31. On or about. February 09, 2005 (prior t'o his
incarceration), the PLAINTIFF and Mrs. PLzzttLi purchased a
second parcel of real estale at 267 DanLe Avenue, in Tuckahoe,
New   York (nnNrg         AVENUE PROPERTY).

       32,In order to fund the purchase of the DANTE AVENUE
pROpERTy, t.he PLAINTIFF and Mrs. PizzuLi execuLed and delivered

a note in favor of INDYMAC, FSB, in the amounL of $920,250'00
(oaNru AVENUE NorE) (nxHrerr - 4).
    33. In order to secure repayment of t,he DATE AVENUE NOTE'
the PLAINTIFF and Mrs . PLzzuLi executed and delivered a morlgage
against rhe DANTE AVENUE PROPERTY in favor of INDYMAC, FSB
(onnru        AVENUE MoRTGAGE)       (sxurerr
                                           5).    -
       34.        The DANTE AVENUE NOTE was recorded in the land records
of   \.rles   tches   t.er County on ApriL   07   r   2005 '

                                             B

          THE                                      IN 2OO5
                 PLAINTIFFI S PREPARATION FOR INCARCERATION
    35. As noted above, the PLAINTIFF was sentenced to 2I9
mont.hs in f ederal Prison in 2006.
    36. In ant.icipation of his incarceration, the PLAINTIFF
began ¡o make expansions and improvements to his real estale in
order to creale renLal units from whieh his wife and children
would derive supporL during the period of time he might become
incarcerated.
    37. \lhile t.hose efforLs began prior to his incarceration,
they continued aft.er he sLarted serving his prison sentence,
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                                                                     uniLs,
resultinginacombínedconfigurat'ionoffiverent'al
whileMrs.Pj.zzulLoccupiesafinishedbasemenLapartmenL
                                                                     in   t.he

DANTE AVENUE PROPERTY.
                                   g
              FINANCIAL REVERSALS BEGINNINGIN ZOLL
    38. In laLe 20to and early 20LL, the PLAINTIFF began Lo
experience financial reversals which included, inter alia,
tenant vacancies for a prolonged period of time, increased
                                                         .
properly Laxes, and elevating insurance premiums which t'aken
                                                            that
t,oget,her and in sequence - worked f inancial hardship
inhibited the abitit,y to make Limely payment of all outstanding
obligations related to both of his properties '
     39. At the lime his financial reversals began to occur t
Mrs. PizzuLi \^Ias residing in a portion of the GLEN ROAD PROPERTY
with her t,hree children, all of whom \,\Iere under the age of
eighteen and fullY dePendant '
                                    D

                RETENTION OF ATTORNEY ANNE PENACHIO

     40.   In approximately March of 201'L, the PLAINTIFF located
At,torney Penachio, with the aid of a third party who searched
the inLernet and provided conLact information of several
bankruptcy attorneys Lo the PLAINTIFF'
     4L. Af ter reaching out t.o Attorney Penachio (hereinaf t'er
ref erred Lo as PENACHTO) and es t.ablishing a line
                                                                of

communication (aL t,hal time, through the Bureau of Prisons
limited inmaLe email service known as CORRLINKS) ' lhe PLAINTIFF
made the decision to ret.ain PENACHIO for the purposes
                                                                of
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pursuing reorganízat.ion of Lhe Dante Avenue and Glen Road
Mortgages, and PENACHIO advised the PLAINTIFF that he would need
to proceed under Chapter L1'.
    42. The PLAINTIFF officially engaged PENACHIO on April 19'
20LL, and t.hat conLracL was reduced to the execution of an
"ENGAcEMENT LETTER" (nxurnrr - 6).

      43. The Aforement.ioned engagement required Lhe PLAINTIFF
to pay a retainer fee in the amounl of $7r500, against a fee
amount of $15,000-$20,000. The PLAINTIFF fulfilled     Lhe retainer
requirement by making three installment payments of $2r500 each.
      44. On May 26, 20L5 PENACHIO fíled a certification of
ALtorney I s Fees in t.he U. S. Bankrupt,cy Court f alsely elaiming
only $7,000 in fees (exHrgrr - 7).
      45. I,Jhen the PLAINTIFF hired PENACHIO in April of 20LI, he
was three to four mont.hs behind on mort.gage and real est.ate tax
payments on both propert.ies.
     46. PENACHI0 did noL immediately file a Chapter LI
Petition and instead advised Lhe PLAINTIFF that he should NOT
file until such time as one or both of the mort.gage companies
initiaLed foreclosure proceedings against the PLAINTIFF.
                                    E
         FORECLOSURE PROCEEDINGS   FILED AGAINST THE PLAINTIFF
                                    1

                           267   DANTE AVENUE

    47   On February 26 , 201"3 ( two years af t.er retaining
         .
PENACHIO) a foreclosure proceeding \,\7as filed  against Lhe
PLAINTIFFTs int.erest in the DANTE AVENUE PROPERTY in the New
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York Supreme Court. - \,r7es tches ter County - under index number
5Z5L}-L3, by Deutsche National Bank TrusL Company (leUfSCHn)'
who purports to be Lhe o\iiner in due course of the DANTE AVENUE
NOTE ANd ThE DANTE AVENUE MORTGAGE (NNNtg FORECLOSURE ACTION)'

    48. To the best of the PLAINTIFF's recollection,
immediaLely upon receiving t,he DANTE AVENUE f oreclosure
documents (via t.he US MAIL), t,he PLAINTIFF promptly forwarded
those papers Lo PENACHIO.
    49 . According t.o the docket lis t,ing f or Index Number
525L9-L3, PENACHIO ent.ered an appealance in the DANTE
FORECLOSURE ACTION and fited a verified ansvrier to t.he Complaint

in t.haL matLer on April 01, 2OL3 (gxHfeff - 8).
     50. on May 31, 20L3, Judge Alan D. Scheinkman, ordered
PENACHIO to appear for a conference in the DANTE AVENUE
FORECLOSURE matter on July 26, 20t3, ât 9:30am.

     51. Upon inf ormat.ion and belief , PENACHIO did not. at.tend
the Juty 26 , 2013 conference, as ordered.
     52. Thereafter, on october 15, 20L3, Judge Scheinkman
iSSUCd A ''NOTICE TO RESUME PROSECUTION OF ACTION AND TO FILE
NOTICE OF ISSUE'' iN ThC DANTE AVENUE FORECLOSURE ACTION.
     53. DEUTSCHE filed the Notice of rssue on L0/24/20L3, and
t.he Court ordered a seLtlement conf erence for March 03, 20L4.
     54. The Not.ice t.o Resume ProsecuLion and the Not.ice of
Issue \../ere certif ied t,o PENACHIO in due course.
     55. On November 20, 2013, the attorney for DEUTSCHE filed
A ''NOTICE OF MOTION FOR SUMMARY JUDGEMENT & APPOINTMENT OF
REFEREE"   in the   DANTE AVENUE FORECLOSURE ACTION.
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    56.    RESERVED.

    57.    Further review of the docket. list.ing for Index Number
5251g-L3 reveals Lhat PENACHIO failed to respond Lo, or
otherwise defend against DEUTSCHEfs motion for summary judgement
and t.he court ultimat.ely entered an order s triking the
aforement.ioned verified ans\^7er and entered a judgement of
f oreclosure and po\,rer of sale on November 20 , 20t3 '

     58. Courü appointed referee Mr. Mark Golab, submitted his
final reporl on November 20, 20L3 -
                                     I
                    FTLING OF CHAPTER     11 PETITION
     59. On March L3, 20L5 (four years after the Plaintiff
retained her), PENACHT0 filed    Lhe instanL Chapter 11
proceedings.
                                     G

                  DANTE AVENUE FORECLOSURE JUDGEMENT

     60. The In/estchester Supreme Court entered a judgement of
f oreclosure in t.he amount of $ t ,239,000 .00, plus accruing

interesL and cosLs, and granted the povüer Lo sell the DANTE
AVENUE PROPERTY, on March 24, 20t5 (nxHrerr 9).

                                     E
               ERRORS AND OMISSION   IN   PENACHIOIS FILINGS

                                     A
                                     1
               INCORRECT STREET ADDRESS OF THE PLAINTIFF

    61..   Att.ached hereLo and incorporated by reference as
EXHIBIT     10 is rhe chapLer IL petition (pnrrrron) PENACHIO
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f iledon behalf of t.he PLAINTIFF on March 13, 20t5.
     62. On page 1 of the "Main Document" PENACHIO listed             46

Glen Road, Eastchester, NY I0709r âs the streeL address of the
PLAINTIFF.
     63. On March 13, 20L5, t.he date on which the PETITION was
filed, the PLAINTIFF \Àras incarcerated in the Federal Bureau of
Prisons, in I,Ihite Deer, Pennsylvania, and the PLAINTIFFTs family
had vacated the GLEN ROAD PROPERTY in AugusL 2012.
      64. On March L3, 20L5, the dale on which the PETITION was
f ited, NO MEMBER of t.he PLAINTIFF s immediat'e and dependent
                                      I


family resided at 46 Glen Road; and, more specifically, the
pLAINTIFF's family had vacated the GLEN ROAD PROPERTY in August
of 20L2.
      65. Upon information and belief, when filing the PETITION'
pENACHIO util i-zed the address which the PLAINTIFF's f amily \4las

residing aL when she \À/as init.ially retained in April of 20LL,
notwithst.anding t.he fact that the PLAINTIFF had previously
informed PENACHIO thal his family relocat.ed to t.he DANTE AVENUE
PROPERTY well in advance of the filing date.

                                     2

          SECURED CREDITORS LISTED       AS   UNSECURED CREDITORS

    66. \lhen filing the PETITI0N, PENACHI0 incorrectly listed
claims secured by either a first or second mortgage execuled by
LhE PLAINTIFF ON ThE STANdATd fOrM ENTiTIEd ''LIST OF CREDITORS
HOLDING   20   LARGEST UNSECURED CLAIMS'"

                                     3
                IMPROPERLY   LISTED AND/OR NAMED    CREDITORS
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    6T.PENACHIoimproperlylisLedBAcHOMELOANSERVICING'LP
with a claím amounl of $120,000.00 when, it fact, that debt had
already been diseharged at least t'wo years prior to the         PETITION

filing date.
     68. PENACHIO improperly listed chase Home Loan Finance'
LLC, with a claim amount of $115 r 000.00 when no such debt
exist,ed.
     69.  The PLAINTIFF never provided PENACHIO with any
documents or ot.her inf ormation demons trating a $1-15 r 000.00 debt
owed Lo Chase Home Loan Finance, LLC, and is completely una\^tare
of where PENACHIO goL the idea that such a debt existed'
    70. PENACHIO improperly listed chase Home Loan Finance'
LLC, with a claim amount of $850r000.00r when no such claim
existed (presumably relating          to   the GLEN ROAD NOTE AND
MORTGAGE) .

     7L.  Upon Inf ormat.ion and belief , when listing         the

$850,000.00 chase claim, PENACHIO \^7as relying
                                                    on documents
provided to her by t.he PLAINTIFF upon her reLenLion, nearly f our
years earlier. However, chase purports Lo have assigned its note
to DEUTSCHE in approximately October of 20L2. As sucht upon
filing of the PETITION, Chase held no claim, oI right to a claim
against. the PLAINTIFF' and the PLAINTIFF provided notice to
PENACHIO well in advance of Lhe filing      of the PETITION that
 chase \úas no longer sending hirn mort.gage sLatements.
      72. PENACHIO improperly listed INDYMAC Federal Bank, wiLh
 a claim amounL of $965r000.00 when no such claim existed
 (presumably relating to t.he DANTE AVENUE NOTE AND MORTGAGE) .
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    73.   Upon Informat.ion and belief,       when lisling    the

$965,000.00 INDYMAC claim, PENACHIO was relying on documenLs
provided by the PLAINTIFF upon her retenLion, nearly four years
earlier. However, INDYMAC purports to have assigned its nole to
DEUTSCHE in June of 20!L. As such' upon filing of the PETITION,

INDYMAC held no claim, ot right      to a claim, against the
PLAINTIFF, and Lhe PLAINTIFF provided not.ice Lo PENACHIO well in
advance of Lhe filing        of the PETITION t.hat   INDYMAC   was no longer
sending him mortgage sLaLemenLs.
    7 4. In addition to sending PENACHIO information and
notifications that his mortgages were no longer held or serviced
by Chase and INDYMAC, respectively, the PLAINTIFF also provided
PENACHIO with ne!'¡spaper articles    regarding litigation    and

complaints filed against. DEUTSCHE with regard to illegal
mortgage practices (including improper foreclosure proceedings)
and requesLed that PENACHIO invesLigate whether or not the
pLAINTIFF had any potential claims or defenses against. DEUTSCHE
regarding the purported assignment and transfer of t.he GLEN ROAD
NOTE    and   MORTGAGE   And t.hE DANTE   AVENUE NOTE ANd MORTGAGE.

     75. PENACHIO never responded t.o PLAINTIFFTs requesL for
information about the DEUTSCHE issues and failed to provide t.he
PLAINTIFF with an analysis of whether or not he possessed any
credible claims agains t DEUTSCHE regarding t.heir attempLs Lo
f oreclose both of his mortgages (which, as it turns oul , Lhe

PLAINTIFF acLually has ) . However , when f iling t.he verif ied
ans\^rer Lo Lhe ComplainL f or Foreclosure ( ut set f ort.h in
paragraph 32, above) putlncHlo seL forth the following
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offensively vague Fourth Affirmative Defense:               "The Plaintiff
does not hold a valid claim against Lhe                     Defendants or
Defendant t s property".
    76. PENACHIO improperly listed the Town                 of Eastchester
with a claim amount of $12,000.00 when no such              claim has ever
exist,ed.
                                       B
                PENACHIO'S LOCAL RULE LOOT-2 AFFIRMATION

     77. On March L7, 2OL5 - two days after filing Lhe
PETITION, PENACHIO filed an affirmation as required by Local
Rule |OOT-2 (March 2OL7 AFFIRMATION).
    78. In paragraph 3 of the March 20L7 AFFIRMATION'              PENACHIO

s\Àrears that the PLAINTIFF I s f amily resides in t.he DANTE AVENUE
pROpERTY along with the Lenants, and Lhat the GLEN ROAD PROPERTY

is oceupied solely by tenants.
    7g .    PENACHIO's af f irmation seL f ort.h in paragraph 6L,
                                               .


above, demonsLraLes Lhat the PLAINTIFF províded her adequate
notice as Lo which of his two properlies his wife and chíldren
\^Iere   residing in.
                                        c
                    SUMMARY   OF   SCHEDULES   SCHEDULE D

     80.      On May 26, 20L5, PENACHIO filedthe required summary
of schedules, and, in schedule D she again list.ed BAC HOME LOANS
SERVICING, LP, Chase Home Loan Finance, LLC and INDYMAC claims
against the PLAINTIFF - \^/HEN NO SUCH CLAIMS EXISTED , either
because ¡he claim \^ias already discharged or \,vas no longer owned
or possessed by the Claimant.
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      B1-.    In Schedule D, PENACHIO also agaín erroneously listed
the    Town    of Eastchester as a claimant., when no such claim
exisLed.
                                    D

       LOSS MITIGATION REQUEST     BY THE PLAINTIFF ( GLEN ROAD)
      82.     On May 27, 20L5,   PENACHIO   requested loss mitigation
proceedings regarding the     GLEN ROAD PROPERTY'

      83.  At the time PENACHIO requested loss mitigaLion
proceedings regarding the GLEN ROAD PROPERTY (i) the PLAINTIFFTs
family \4ras NOT residing at 46 Glen Road and (ii) PENACHIO had
already filed a Local Rule |OOT-2 Affirmation informing the
Court that the PLAINTIFFTs f amily actually lived at t,he DANTE
AVENUE PROPERTY.
      g4. In f iling out t,he loss mitigation request ref erred to
in paragraphs 65-66 , above, PENACHIO lis ted t.he loan accounL
number for the GLEN ROAD NOTE, and the loan servicing company
(e.g. Ocwen Loan Servicing, LLC) for the DANTE AVENUE NOTE.
    85. Alsor oD May 27, 20L5, PENACHIO filed an affidavit of
service of the loss mit.igation request for the GLEN ROAD
pROpERTy, to Lhe loan servicer for Lhe DANTE AVENUE PROPERTY
(ocwnN).
     86. NoLwiLhst.anding the f acL lhat PENACHIO requested loss
mitigat.ion procedures regarding the \Àirong address (Clen Road
inst.ead of Dante Avenue) , on Augus t 20, 20L5, counsel for
DEUTSCHE penned a leL ter t.o t.he Honorable Robert D. Drain
complaining that "our office has noL received an initial
financial package from the DebLor even afLer several aLtempts
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hrere made requesting iL. "
    87.     Thereafter, on September Lt, 2015' PENACHIO filed a
\^IITHDRA\^7AL OF LOSS MITIGATION REQUEST f or the GLEN ROAD
pROpERTYT ofl Lhe basis t.hal "I t ]he Debtor's f amily has relocated

to Lheir other properLy located at 267 Dant.e Avenue, Tuckahoe,
NY L0707".
    88. During the entire t,ime which PENACHIO \^ras requesting
loss mitigation procedures with respecL t.o the GLEN ROAD
PROPERTY, the PLAINTIFFT s f amily NEVER lived in t,he GLEN ROAD
PROPERTY: and, in fact, had relocaled to the DANTE AVENUE
PROPERTY in Augus t of 2012, nearly three years prior Lo t.he

filing of Lhe PETITION.
     89. On September II, 20L5, relying upon lhe affirmat,ion
and representat.ion by PENACHIO thal the PLAINTIFFTs "family has
relocat,ed t.o their ot.her residence aL 267 Dante Avenue ',k:k:k:k and
t.his is nov/ their primary residence", Judge Drain issued an
"Order Lerminating Loss MiLigaLion and Financial ReporL".
                                    E
     LOSS MITIGATION REQUEST        BY THE DEBTOR (NANTS AVENUE)
    90. On September LL, 20L5, PENACHI0 filed a second loss
mitigat.ion requesl, this Lime f or the DANTE AVENUE PROPERTY.
                                    F
                  13. 2016, LOSS MITIGATION STATUS REPORT
          SEPTEMBER

     9L. On SepLember 13, 20L6, AtLorney Penachio filed a
let.ter addressed to Judge Drain inf orrning Lhe Court, in
connection wit.h the loss mit.igation efforts on DANTE AVENUET
that. "Mrs. PizzuLi has been making adequate protection paymenLs
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Lo the senior mortgage ho1ders".
    92. As of September of 20L6, Mrs Pizzttti had long since
stopped making such protection paymenLs. In fact', with the
exception of one payment made in February of 2OL6, Mrs' Pizzut'L
has not submitted any paymenLs since October of 2015.
    93. On OcLober 10, 2AL6, t,he courL issued an order
üerminating loss miligaLion as to. DANTE AVENUE on lhe basis that
ttno agreemenü has been reachedtt '

    94.            PENACHIO   never informed the PLAINTIFF that the Court

                                         G

                                          - GLEN ROAD
              MOTION FOR RELIEF FROM AUTOMA TIG STAY

    95. On October lL, 2OL6, DEUTSCHE filed a Motion for
Relief From Lhe Automatic stay with respect to the GLEN ROAD
PROPERTY.

    96. PENACHIO failed to object to, or otherwise defend
against the aforementioned Motíon for Relief From the Automatic
Stay and, on t,hat basis, the Court granted same on November tL,
2016.
     97   .        PENACHIO   never inf ormed the PLAINTIFF that t'he
Automat,      ic    S Lay \^Ias li f ted wi th respect to the GLEN ROAD

PROPERTY.
                                          H

        MOTION TO DISMISS OR CONVERT THE PETITTON TO CHAPTER          7


      98. On January 24, 20L7, the United Slat'es TrusLee (USf )
f iled a Motion t,o convert or Dismiss, with a hearing dat'e of
February L7, 20L7.
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       99.   As ttcause" f or the             conversion, the UST
                                            reques ted

informed     the Court thal the    PLAINTIFF had failed to file
operat ing s taLements and \^7as noncomPliant with payments to the
UST.

         . Att,ached to Lhe UST's Motion t,o Dismiss or Converl was
       100

an affirmation of the Trustee and copies of the PLAINTIFF's
s tatement indicating Lhe missed paymenLs t.o t.he usT as well as a

copy of an email to PENACHIO informing her that no operating
sLaLements had been filed in this case.
      i-Oi-. The Clerk of CourL notif ied PENACHIO of t.he Motion on
the    same dayit \,vas f iled.
     IO2. On February L7 , 20t7, Lhe day of lhe hearing on the
Motion to Dismiss or Convert, PENACHI0 secured an adjournmenL
until May 09, 2017 .
     1-03 . PENACHIO nevef inf ormed the PLAINTIFF of the USTr s

mot,ion and NEVER made any efforL to inform Lhe PLAINTIFF of the
alleged deficiencies (i...       missed payments and operating
s   LaLements )   .

     LO4. On May 08, 20L7 - day before the hearing - PENACHIO
fiICd ''THE DEBTOR'S OPPOSITION TO MOTION OF THE UNITED STATES
TRUSTEE TO DISMISS HIS CASE OR CONVERT IT TO A CHAPTER 7
PROCEEDING''          (tTrE OPPOSITION) .
    105. The OppOSITION is rife with inaccuracies and outright
falsehoods, including, inter alia:
       a. In paragraph 4, PENACHIO informs the CourL
          thaË thé "Debtor's wife has made adequate
          protection payment to t,he morLgage holders",
          when, it fact, Mrs. PizzuLL had made only- a
          totai of eight monthly paymenls to the
          secured crediLors, and only Lwo of those
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       payment s \4¡ere made in the _ on-e year period
       leâding up to the filing of the 0PP0SITION.
       At Lhe- t.ime PENACHIO f i led the OPPOSITION
       she had not filed a single operat.ing
       s Lalement in    t.his matter ( addres sed more
       fully, infra), which \rlas commenced on March
       L3, 2.015 - over two years earlier.
       SimiLarLy, PENACHIO had been made a\,üare lhat
       one bank \,i7as refusing morLgage payment.s and
       both     \,\rere applying       Lhe payments
       conLractually; an option which the PLAINTIFF
       did not understand, and sought PENACHIO's
       advice. Both of these creditor-decisions
       could have    and should have been brought to
       the CourL I s atLention in t.he OPPOSITION - as
       t.hey cert.ainly go to Lhe issue of "cause".
   b   In paragraph 5, PENACHIO informed the Court
       thaL the PLAINTIFF wished to keep his
       primary residence and sell the other. On the
       contrary, aLthough the PLAINTIFF explored
       short sale possibilities, from Lhe inception
       of his relationship with PENACHIO (and
       rout.inely throughout same) the PLAINTIFF
       sLressed his desire, ittenLion and goal to
       reLain both of his properties.
   c   In paragraph 6, PENACHIO informed Lhe Court
       t,hal "Counsel has drafted t.he out.line of a
       Chapter Lt Plan" and that rather than
       exeðuting same, the "DebLor has vacillated
       as to wñat course of action (i.". sale or
       plan) to underLake. " This assertion is
       absoluLely false. PENACHIO never showed Lhe
       PLAINTIFF a Plan of any kind, nor did she
       ever discuss t.he outline or draft of such
       Plan. In facL r âs will be explored more
       f ully below, Lhe PLAINTIFF \^/as rarely able
       t.o communicate with PENACHIO, and when such
       communication did occur, it hlas confusing
       and PENACHIO ofLen contradicted previous
       assert.ions of how to proceed, how a "strip
       down may occur or benefit Lhe Debtor" or on
       o ther int.egral f aceLs such as ( u ) keeping
       his properlies intact and (b) developing and
       execut.ing a viable exil s trategy. Likewise,
       conLributing largely-   to theI aforementioned
       conf  us ion  \,{as   PENACHIO s     incoherent
       explanat.ion or insLructions regarding the
       difference between unsecured and secured
       claims; and, more importantly, how portions
       of a claim previously considered "secured"
       could/would be recat.agorized as "unsecuredtt
       and laLer reduced to ten cents on Lhe dollar
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           (or Iess).
       d   In paragraph 7, PENACHIO informed the Court
           t.hat "IC]ounsel is committed to visiting Lhe
           Debtor again [having visited only one
           previous t.ime, ofl Marc_h 31, 20t7 - six years
           Ãffgn being retained] to review i¡ [ the
           phanLom plan] with him". Since submit.ting
           the OPPOSITION, PENACHI0 has never visited
           the PLAINTIFF, or ot.herwise engaged the
           PLAINTIFF in any meaningful conversation of
           any kind - let alone a discussion of an exit
           s Lrat,egy . Again, PENACHIO never even told
           the PLAINTIFF that. the UST had moved to
           dismantle or dismiss his Chapter tL case.
       e   In paragraph 9, PENACHIO informs the Court
           Lhat, Lhe "Debtor has no income other than
           Lhe renLs collect.ed by his wife which are
           paid . to t.he mortgage holders. " As noted
           above, âs of the filing of the 0PP0SITION,
           Mrs. Pizzuti \,úas not making any payments Lo
           the mortgage holders because PENACHI0 had
           noL resofveã the issue(s) of the misapplied
           and reLurned mortgage payment,s.

                                    I
                        OPERATING STATEMENTS

                                    1
           20T6 OPERATING   STATEMENTS    FILED MAY 30    20t7
   106. Despite t.he f acl that t.he PETITION was f iled on March
13, 2015 , a review of the docket, lis t.ing reveals Lhat PENACHIO
did not submit. any operating st.at,ement.s unitl May 30, 2017 r ofl
which date she filed Documents 61 t.hrough 7L, consisLing of
operating staLements for the months of January through November
of 20L6.
                                   z
       2OL5 OPERATTNG STATEMENTS FILED ON JUNE           02,   2OL7

   L07. Three days lat.er, or June 02, 20L7,             PENACHIO     filed
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Documents 72 t.hrough 80, represent,ing the operat.ing statemenLs
f   or Lhe mont.hs of April through    December   of   20L5.

                                      t
          2OL7 OPERATTNG STATEMENTS FILED ON JUNE   02, 2OL7
    108. Also on June 02, 2017, PENACHIO filed Docurnents 8l-
Lhrough 83, which comprised t.he operaLing s taLements for the
mont.hs of February of 20L7 through April of 2011 .
                                      4
        2OI7                  - FILED ON DECEMBER 07 2018
               OPERATING STATEMENTS

    109. 0n December 07 , 20t8, PENACHIO filed t.he operat.ing
staLements for July 20t7 through November of 20L7, which \^Iere
docketed as DocumenL numbers 89 t.hrough 93.
                                      5
           OPERATING STATEMENTS  - FILED ON AUGUST 2T 201-8
    110. On August 2L, 20L8, PENACHIO filed DocumenL numbers 98
through l-1-0, which represented ( i ) operat.ing s t,at.ements f or t.he
monLhs of July t.hrough November of 2017 ( ga - 103 , respect.ively )
and (ii) operating sLatemenLs for t.he months of January 20LB
Lhrough July ZOLB (1-04 - 100 respect,ively).
    LL1". DocumenL numbers 98 - 103 represenL filings of the
operat.ing sLatements for July t.hrough November of 2017; and,
more important.ly, t.hese f ilings contained a complet.ely dif f erent
set of figures Lhan the previous filings.
    Itz. The PLAINTIFF is unaware of why PENACHIO duplicated
the July through November f i I ings s or why the f igures are
different.
                                      6
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    INACCURATE FIGURES CONTAINED        IN   THE OPERATING   STATEMENTS

     113. In addition to filing late and duplicate operating
sLaLemenLs, PENACHIO also failed t.o include paymenLs made to
oc\lEN Loan servicing, LLC (natlrn AVENUE MORTGAGE) on the
operating staLemenls for Lhe months of May 20L5 (DocumenL Number
73), and July of 2015 through October of 20t5 (DocumenLs 75
-78).
     LL|. PENACHIO failed t.o include t.he OC\IEN mortgage payments
not.withslanding the facL Lhat. she \,ras provided with bank
statements for the operative periods, and actually submitLed
those staLements in support of the erroneous operating reports.
                                    7
              FAILURE TO INCLUDE SIGNIFICANT EXPENSES
      1-15. A review of Lhe operating reports (and bank
s t,atements ) submitted by PENACHIO reveals t.hat. she also f ailed

to itemize several significant expenses relaLed t.o the
maintenence and renLal continuit.y of Lhe GLEN ROAD and DANTE
AVENUE properLies, including, but noL limited to repair cosLs,

appliances, legal fees, carpet.ing, deposit reLurns, real estate
agent f ees and ot.her property related expenses.
    tL6. The omissions referred to in paragraph 96, above,
resulted in t.he under-reporting of over $50,000 of expenses
which could and should have been included on the PLAINTIFFTs
application(s) for loan modification and/or other forms of loss
mitigation.
    11,7 - L24 Reserved.
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                               VI
                      FIRST CAUSE OF ACTION
       LEGAL MALPRACTICE AS TO DEFENDANT ANNE J.         PENACHIO

                                COUNT ONE

    125. The Plaintiff   repeat,s and realleges each of the
paragraphs, above, wiLh full force and effect, as though fuly
set forth herein.
                                     A
                 THE ELEMENTS OF LEGAL MALPRACTICE
         The elements of a claím o.f legal malpractice
         under New York law are: (1) an attorney-client
         relationship at the time of the alleged
         malpract.ice , (2) attorney negligence and (3 )
         actual damage to the c1íent I
                                          that is proximately
         caused by the attorney s neglígence. Kirk v.
         Heppt,, 532 F. Supp. 2d 586, 591 (tilf-:f
         Zõt-ä-XSweet, D.J. ) ('.itat.ions o*itted); see also
         Q'Çql_I-qehqq _ L. Brunelle , 84 A, D. 3d 581, 582,
                                       t Dep' t. }OLI); p_açol=a,-
         Gross & Marino,_ B. C. v._ _ Susskind , 43 A. D. 3d
                                                  :oo (zd Dep'r
         2007 ). An atLorney is negligent if he or she
         fails to exercise that degree of care, skill and
         di I igence commonly possessed and exercised by
         ordinary members of the legal community. Rudolf
         v. Shavne,
                -3d:    Dachs, St,anisci, Corker & Sa
         ñ.-Y.--    438, 442, 867                             835
         N. Y. S.  534, 536 (2007                              v.
         Monaghan , 2018 u.s. Dist.
                                   (1)
              AN ATTORNEY-CLIENT RELATIONSHIP EXISTED
    L26. At all times relevant, t,here exist.ed an attorney
client relationship between the Plaintiff,       Defendant Penachio
Malara, LLP and Defendant Penachio, specífically between April
19, 20LI up Lo and including the date on which the UniLed States
Bankrupt.cy Court rules ( or ruled ) upon t.he Plaintif f ' s motion to
hold his ChapLer LL proceeding in abeyance in order to allow him
the opportuniLy t.o retain new consel.
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                                   (2)
   DEFEND ANT PENACHIO FAILED TO EXERCTSE THE DEGREE OF CARE
                  IGENCE C           SESSED AND EXERCÏSED BY
             ORDINARY MEMBERS OF THE LEGAL COMMUNITY

    t27. The detailed and specif ic f act.s plead against Def endant
Penachio herein const.itute gross negligence and demonstrate, by
a preponderance of t.he evidence, t,hat. Def endant Penachio f ailed
to exercise t.he degree of care, skil l and diligenee commonly
possessed and exercised by ordinary members of the legal
community, when she:
     a   Delayed filíng  a Chapter Lt Petition on behalf of
         the Plaint.if f            t f our years ?f t-er being
                           f or almos
         retained by the  Plaintíff   to do so, thus allowing
         the Plaintiff's   secured   lÍabílities  to íncrease
         from a combined  total  of  approximately  $30'000.00
         to more t.han fi242,000.00 on the DANTE AVENUE
         PROPERTY and more than $162 000.00 on the GLEN
         ROAD PROPERTY, f or a combined  '          t.otal of
         approxímately $400, 000. 00.
     b   Entered an appearance, and filed an ansuler Lo the
         DANTE AVENUE Foreclosure Action, and then failed
         to defend against a Motion for Summary Judgment,
         properly not.iced by DEUTSCHE Bank, resulting in
         the entry (bV default) of a Final Judgment of
         Foreclosure and Power of Sale as to the Dante
         AVENUE PROPERTY.

     c   Failed    to   at.tend the Foreclosure SeLtlement
         conf erence in the lles tches ter Supreme Court .
     d   Failed to include , and/or properly articulat.e, the
         af f irmat.ive def ense ( to      the DANTE AVENUE
         Foreclosure AcLion)     tfrat DEUTSCHE  Bank laeked the
         standing Lo f oreclose because      (1)  t.hey \,vere not
         the holder of lhe note al the time Lhat. the
         foreclosure acLion was initíated and/or (2) that.
         the Note as at.tes ted t.o ín the f oreclosure action
         \,ras either (t) altered and/or f raudulent r or (b)
         in Lhe allerantive, that the Allonge (ot ils face)
         is so irregular and incomplete as to call into
         quesLion its authent.icity r insof ar as thaL
         purported Allonge takes the form of nothing more
         than an ink stamp imposed on a blank piece of
         paper   which \,vas placed at the end of the NOTE by
         -nnÙrSCun
                      and/or legal counsel to DEUTSCHE (See,
         EXHTBTT - 4).
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e   Failed t.o include, and/ot properly  articulaLe, the
    ãffii*utive defen3e that the purported
                                     (1)
                                               assignment
    of t.he DANTE AVENUE NOTE \À7as      invalid  insofar
    as that assignment Ís alleged to have    been made  by
                (fãCy¡lac, FSB) after that entity
    an entit.y'and                                  became
    defunct.         no longer possessed .t'he legal
    authoritv t.o make such- assignment and/or, in the
    alternatíve (2) t.hat the assignment is false and
    fraudulent and'was executed and recorded soley for
    the purpose of concealing (ot continuing to
    conceãl) tfre f act that the Allonge to t.he note was
    false, fraudulent and or invalid - ab initio'
f   Failed to inform Lhe Plaintiff t,hat DEUTSCHE Bank
    fíled a Motion for Summary JudgmenL as Lo the
    DANTE AVENUE PROPERTY.

g   Failed to inform Lhe Plaintiff Lha t the Court,
    granted summary judgmgl! to DEUTSCHE Bank as t,o
    ÚITe DANTE AVENUE PROPERTY.

h   Faíled to file an ans\,rer to t,he Glen Road
    Foreclosure act.ion - insof ar as she did not ( 1)
    f ile a Chapter 1'L Pet i tion on behalf of the
    Plaintíff   éither (i) immediately upon being
    retained on April 19 ' 2OLl- or (ii) immediately
    upon receipt f rom the Plaintif f of t.he Summons and
    Cðmplaínt in the GLEN ROAD Foreclosure acLion'
1   Failed to def end against DEUTSCHE Bank's motion t.o
    lift the automatic sLay in October of 2016'
J   Failed t.o inf orm t.he Plaint if f that the Court
    lifted lhe automatic sLay as to the GLEN ROAD
    PROPERTY, on November 21, 20L6.

k   Failed to enter an aPPearance in the GLEN ROAD
    Foreclosure Action, once she became aware t.hat t.he
    Court Iift the automatic sLaY as to the GLEN ROAD
    PROPERTY.

I   Failed Lo file an ans\¡7er in the GLEN ROAD
    Foreclosure Action, once the automatic stay            S\À74

    lifted.
m   Failed to defend against the Motion fo r Summary
    Judgment filed bY - DEUTSCHE Bank, once t.he
    auLõmatic st.ay \,\7as lif ted, and af Ler she failed to
                                                  -


    enter an appearance in thaL case.
n   Failed to ínform Lhe Plaint.iff t.ha t t.he Cour t
    gran t ed summary      judgment of foreclosure to
    DEUTSCHE Bank, wi t.h the Power of Sale.
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o  Failed to include, and/or Properly          articulate, th e
   ãffirrnutive    defense   that  the  purported    assignmen t.
   of the GLEN     ROAD  NOTE  was   (1)  invalid    insofar    aS
   t.hat. assignment   ís  alleged   Lo have   been  made  by   a n
   entit.y   (l^Iâshington  Mutu,al,  FA)  af ter   that  entit   v
   becamá defuncL      and  no  longer   possessed.   the   legq  I
   authoritv to      make  such   aséignment    and/or,   in   th e
   alt.ernatíve (2) that the assignment. is false an d
   fraudulent. and was executed and recorded soley fo t
   the Durpose of concealing (or continuing t os
   cor,"eàl)'the f act t.hat the Allonge to the note wa
   false, fraudulent and or invalid - ab initio'
p  Failed to inform Lhe Plaintiff that the united
   states Trustee moved to either convert Plainitfffs
   Chapt,er LI Pet.ition t'o a Chap-ter 7 Petition - or
   Lo dismiss the petition entirely'
q. Filed numerous false and inaccuraLe documenLs
   through out. her representation of the Plaintiff in
    the Uãited States Bankruptcy court, including, but
   noL limited to:
   L. Filing an original petit'ion which contained
         the incorrecL PrimarY address of the
         Plaintiff's familY.
    2    Requesting loss mitígation for the GLEN ROAD
         PRCjPERTY,.- and pursuing that request .for more
         t,han six' mont.hs, when the PIaíntif f 's f amily
         actually resided at the DANTE AVENUE PROPERTY
         for more Lhan three years before the filing of
         the Chapter LL Petition, -and - where the
         Plaint.iff had previously informed Defendant
         Penachio of hi's f amily'" primary residence
          addres   s.

     J    Filing multiple incomplete and/ot monthly
          oDeraLins reÞorts, which vüere then used to
          ¿ätermine the Piaintiff's          eligíbility     for
          certain    loan   modÍfication    programs     and   to
          cletermine   or  ot.herwise  assess the  Plaintif  f 's
          compliance      with   the    BankruPtcy   -
                                                       Rule    of
          Procedure, including, buL not limiLed lo:
          a. underst.ating monthly expenses ;
          b. oversLating monthlY exPenses;
          c. filing more than one operatíng stalemenL
               f or iix mont.hly reporting periods, which
               duplicate operating statements contained
               compleLely different        informaLion than
               those  previouslY   filed.
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        4       Filed false and inaccurate loan modification
                documents on t.ime, and wíth the required
                supporting documenLs, until such time as the
                attórney for DEUTSCHE Bank notífied the Court
                that three requêsts for such information had
                been made and more than two months passed with
                no response.
        5       Filed false st'atus reports to the United St.ates
                Bankruptcy Court.
        6       Filed a f alse f ee certif icat.ion s taLement. to
                the United St.ates Bankruptcy Court.
                                        (3)
        THE     P    AINTIFF HAS    SUFFERED   AND   I'IILL CONTINUE   T0
   SUFFER                    T   I^IERE PR            CA S    BY DEFENDANT

      I28. As a direct and proxímate result of PENACHIO's gross
negligencer âs set forth in paragraphs 25 through L27, above,
the Plaint.iff has suffered and will conLinue to suffer damages
as follows:
           a. MoneEary damages in the amount of L.239
                                                   s tau Lorv
              :lånå:irå""tJ,xï ',."llTå, ra¡cruinI
            b       Attorneyrs fees in the amount of at. least
                    $7,000 to attempt, with new counsel, to
                    obtain modification of both the DANTE
                    AVENUE and GLEN ROAD MORTGAGES' and to
                    defend t.he current foreclosure action
                    pending against t.he GLEN ROAD PROPERTY'
                    which, but for PENACHIO's negligence
                    Plaintiff would noL be forced Lo defend.
            c       At.torney f ees in the amount of aL leas t
                    $12,000 which PlaÍntiff paid in order to
                    vacate the Ju<lgment of Foreclosure
                    entered against the GLEN ROAD PROPERTY'
                    when PENACHIO faíled to either (i) enter
                    and appearance and defend in the New York
                    Supremè: Court (at llestchester) ot (ií )
                    immediately file Lhe Chapt.er II peLiLion
                    upon being reLained to do so.
            d        Attorney I s fees Lo defend the within
                     action, should an attorney be reLained
                     by the Plaintiff.
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                                               V   I
                        SECOND CAUSE OF ACTION
         BREACH OF CONTRACT AS TO DEFEN DANT ANNE J. PENACHIO
         (amnntqlTE THEoRY o F LIABILITY To LEGAL MALPRACTTCN)
                                            COUNT T!üO

   I2g. The Flaintiff    repeats and realleges each of the
paragraphs above with full force and effect as though fully set
f   ort.h herein.
                                                   A
                  THE ELEI.,IENTS   O   F   BREACH OF CONTRACT CLAÏM

          ttTo st.ate a claim for breach of contract under New
          York law, a comp laint need only allege:      (1) the
          exi s tenee   of   an agreement;      (2)    adequ at,e
          performan ce of t.he conLract bY t,he Plaint'i ff; (3)
          breach ott f contract bY the defendant; and (4)
          damages.    Des i ners N. Ca      tN     Inc. v. Mo hawk
          Indus tries      nc.               upp.
           E. D. N.            cit.ing Harsco corp. v. Segui, 9L
          F. 3d 337 , 348 (2d Cir. 139-Ð-Csêé, McCarthy v. The
          Procter & amble Co n             20t8 U. S. Dist. LEXIS

                                              (1)
              A VALID    AGREEI.,IENT       FOR LEGAL SERVICE EXISTED

    130. At all times relevant, t.here exisLed a valid agreemenL
between the Plaintíff,  ANNE PENACHIO and PENACHIO MALARA; and,

specifically between April 19, 2011- and the date on whieh Lhe
United SLates Bankruptcy Court rules (or ruled ) upon the
plaintíff's moLion to hold his Chapter LL proceeding in abeyance
in order Lo allow him the opportunity Lo retai-n new counsel, f or
pENACHIO to provide competenL professional legal services to the

Plaint.iff in connect,ion wit.h Lhe filing and prosecution of a
Chapter IL BankrupLcy proceeding and to defend the attempted
foreclosure of the DANTE AVENUE |'IORTGAGE and the GLEN ROAD
MORTGAGES    bY     DEUTSCHE.
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                                     (2)
           DEFENDANT PENACHIO BREACHED THE AGREEMENT TO PROVÏDE
                COMPETENT AND PROFESSIONAL LEGAL SERVICES

    137. The detailed and specific facts plead against Defendant
Penachio herein demonstrate, by a preponderance of the evidence,
that   PENACHIO    breached the agreement to províde competent           and

prof essional legal services t.o Lhe Plaintif f when she:
       a. Delayed filing a Chapter LI Petítion on behalf of
          the Plaintiff for almost four years +f-t-er_ being
          relained by the Plaintiff Lo do sor Lhus allowing
          the Plaintiffrs  secured liabilities  to increase
          from a combined total of approximately $30,000.00
          to more than fi242,000.00 on the DANTE AVENUE
          PROPERTY and more than $162r000.00 on the GLEN
          ROAD PROPERTY, for       a combined total       of
             approxímately $400,000. 00.
       b     Entered an appearance, and f iled an ansl{er Lo the
             DANTE AVENUE Foreclosure Action, and then failed
             to defend against a Motion for Summary Judgment,
             properly noticed by DEUTSCHE Bank, resulLing in
             the entry (bV default) of a Final Judgment. of
             Foreclosure and Power of Sale as to the Dant.e
             AVENUE PROPERTY.

       c     Failed   to     attend the Foreclosure Settlement
             conf erence  in the I,üestchester Supreme Court.
       d     Failed Lo include, and/or properly articulate, the
             affirmaLíve defense (to the DANTE AVENUE
             Foreclosure Action) ttrat DEUTSCHE Bank lacked the
             sLan<ling to f oreclose beeause (1) they l,üere not
             the holder of the noLe at the time that the
             foreclosure action was initiated and/or (2) that
             the Note as attested to in the foreclosure action
             \,{as either (u) altered and/or fraudulent, or (b)
             in the alterantive, that. t.he Allonge (on its f ace)
             is so irregular and incomplet.e as to call into
             question its auLhenticit.y, insof ar as thaL
             purporled Allonge takes the form of nothing more
             than an ink stamp imposed on a blank piece of
             paper which lras placed at the end of the NOTE by
             DEUTSCHE and/or legal counsel to DEUTSCHE (See,
             EXHIBIT - /+) .
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e        Failed to include, and/ot      properly
                                  'ttíJ dhe         articulate' the
                                            'purported-   aqsignment
         ;f Ëi;;"iir.ã. a;i;;t"
                          -lVeNÏU NOTE was '(1) invalid insofar
         of rhe DANTE                          to have bgen made by
         as that u""igr,ïL;;-is al.leged         thar enrity became
                           -'oo 'longer Jf rer
         ;; ;;;;.y"iridyMâ-Qs,FSB)         possessed the legal
         defunct and                   assignment and/ot' in the
         authority to. måke s'1cÈ'                     ís f arse and
         alternat.ive t ä'i"tt.J- trt" assignment
          fraudulent and         execut'ed at'ã ttcorded soley f or
                          - was concealing
          the purpose o.f-                   ,  (or ."oltinuing to
          ;;;."ã1i'ir,"   f act that Lhe Allonge to the noLe \das
          f;ï;;;-Étt"¿"iã"i     and or invalid-- ab initio'
f         Failed to inform the Plaintiff that DEUTSCHE
                                   summary Judgment
                                                                 Bank
                                                          as to the
         ;ii;ã- t Mot,ion for
         DANTE AVENUE PROPERTY.
                                t'he Plaintiff that t.he as  Cour f
g        Failed t.o informjudgment'       to DEUTSCHE Bank      Lo
         sranted summary
         it'" DANTE AVENUE PROPERTY.
h        Failed to file an intoiut    answer to the Glen Road
         Foreclosure ,ãliot' - perition as        she did not' (1)
          f ile a chapr-e-J- ir (i)
                                  _
                                               on behalf of the
          PlainLif f .iift-.t--          immediately gpon - -being
         rerained on nïür         ìg:   2OLt or ( ii ) immediately
          upon receipt i;;* tn" þlaintiff       of the Summons and
          ðå*pfãi"t ïn ltt" GLEN R0AD Foreclosure action'
          Failed Lo defend against.DEUTSCHE     Bank's motion      to
          lif t t.he uutoñãiiã-t tuy in October of 2Ot6 '
    1


    j.                               Plaintiff that the Court
          Failed to inform the sLay^-as
          1ífted the automatic 21, 2016' to the GLEN ROAD
          ÞnóÞnnrv, on November
                                              r-n t.he GLEN ROAD
    k     Failed Lo enter an apPearance   became a\^/are that the
          i';;;"losure Action' once she
          ð;;;i rirt the automaLic staY as to t.he GLEN ROAD
          PROPERTY.

    I     Failed to f i 1e an an sl{er       in t.he GLEN ROAD
          Forec losure Act.ion r once the automaLic
                                                          sLaY \^7as
          lif t.ed.
    m     Failedtodefendagainst_t'heMotionforSummary
                            - by DEUTscHE Bank' once the
          J;å;;;"i-   ürã
          automat.ic stay-ìur- iirt"¿, and    af Ler she f ailed to
          enter an aPPearance in that case'
    n                            t'he PlainLiff t.ha L the Court oL
          Failed t.o inform judgment
          sranted summary                   of foreclosure
          B'suïsðHs Bãnk,, ,tth"thà   Power of Sale.
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o   Failed to include, and/or properly articulate, the
    affirmative defense that Lhe purported assignment
    of the GLEN ROAD NOTE \,vas ( 1) invalid insof ar as
    t.hal assignment is alleged to have been made by an
    entity (llâshington MutuaI, FA) af ter !hu! entity
    became defuncL-and no longer possessed the legal
    authority Lo make such assignment and/ot, in the
    alternaLive (2) LhaL the assignment Ís false and
    fraudulent and lvas executed and recorded soley f or
    the purpose
              -      of concealing (ot continuing to
    conceàl ) the f act that t.he Allonge to the note was
    false, fraudulent and or invalid - ab initio.
p   Failed t.o ínform the Plaintiff thaL the Unit.ed
    States Trustee moved to eíther convert Plainitffrs
    Chapter LI Petition Lo a Chapter 7 Petition - or
    to dismiss the peLition entirelY.
q   Fí1ed numerous false and ínaccurate documents
    through out her representaLion of the PlainLíff in
    the Uni¡ed States Bankruptcy court, includíng, but
    noL limited to:
    I. Fí1ing ân original petiLion which contained
         the incorrect PrimarY address of the
         Plaintiff' s family.
    2    Reguesting loss mítigation for the GLEN ROAD
         PROPERTY, and pursuing that request ^for more
         than six months, when the PIaintíff's family
         actually resided at t.he DANTE AVENUE PROPERTY
         f or more t.han three years bef ore the f iling of
         Lhe Chapt.er LI Petition, and where the
         Plaintiff   had previously informed Defendant
         Penachio of his family'" primary residence
         addres s .
    J
     I
         Filing multiple incomplete and/or monthly
         operating reports, which were then used to
         däterminé tÉe PÍaint.if f 's eligibility    f or
         certain loan modification programs and to
         determine or oLherwise assess the Plaintiff's
         compliance wi th the Bankrupt.cy Rule of
         Procedure, including, but. not limited to:
         a    unders t.a t ing monthly expenses ;
         b    overstating monthlY expenses ;
         c    filing more than one operat.ing statement
              for six monthly reporting periods, which
              duplicate operatíng statements contained
              completely different. informaLion than
              t.hose previous ly f iled .
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       4    Filed false and inaccurate loan modification
            documents on time, and with the required
            support.ing documents, until sueh time as the
            attõrney for DEUTSCHE Bank notified the Court
            that. three requests for such informaLion had
            been made and more Lhan two months passed with
            no response.
       5    Filed   f alse   s   tatus report,s to t.he Unitecl States
            Bankruptcy Court.
       6    Filed a false fee certification statement to
            the Unit.ed States Bankruptcy Court.
                                       (3)
       THE PLAINTIFF HAS          SUFFERED   AND   I{ILL   CONTINUE TO
   SUFFER                                                                DANT


     L32. As a direct and proximate result of PENACHIO's breech
of the agreement. for legal service, as set forth in paragraphs
25 t.hrough L27 , above, t.he Plaintif f has suffered and will
continue to suffer damages as follows:
          a  Monetary damages ín the amount of L.239
             million dollars, plus accruing s Lautory
             and contractual interest;
          b Attorneyrs fees in the amount of at least
             $7 ,000 t.o attempt, wíth ne\{ counsel, to
             obtain modification of both the DANTE
             AVENUE and GLEN ROAD MORTGAGES        and Lo
                                                '
             defend t.he current foreclosure acLion
             pending against Lhe GLEN ROAD PROPERTY'
             which, - Uut for PENACHIO I s negligence
             Plaintif f would not be f orced t.o def end.
          c At.Lorney f ees ín the amount of at leas t.
             $12,000 which Plaintiff paid in order to
             vacaLe the Judgment. of Foreclosure
             entered against the GLEN ROAD PROPERTY'
             when PENACHIO failed Lo either (i) enler
             and appearance and defend in the New York
             Supreme Court (at llestchesLer) ot (ii )
             immediately file the Chapter It petit.ion
             upon being ret,ained to do so.
          d   At.torneyrs f ees to def end the within
              action, should an aLtorney be ret.ained
              by Lhe PlainLiff.
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                                            (4)
          THE PLAINTIFF      ADEQUATELY PERFORMED ON THE AGREEMENT

                         adequately performed on the agreement
        133. The Plaint,iff
for legal service, insofar as he paid, in three installments (a"
per the Engagement Letter) a total retainer fee of $7r500, plus
additional and separate funds for the payment of the Chapter IL
fillíng fee.
       I34. Addilionally, the Plaíntiff adequat'ely performed on
the agreement for legal service by (1) timely responding to any
ínquiry made by PENACHIO and (2) by províding timely accurate
an¡l   *rrrl. 1r€rr1 rln¡rrmanl- e. nn¿1 f Í nan¡,J el   i nf nrmnf   J   nn   nroe-a¿1   ent   f-n

the f íling, maintenance and prosecut.ion of t.he Chapter Lt
Petitionr âs well as the defense of the DANTE AVENUE and GLEN
ROAD    Foreclosure Actions.
     135. As of the fíling of the ínstant ComplainL, there are
no covenants or other terms of the agreement which the Plaintiff
has faíled to honor.
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                                    (3)
         THE PLAINTIFF REASONABLY RELIED UPON PENACHÏOS
  MATERI                                                             TER 11


       t45. At all times relevant Lo the insLant Complaint, the
Plaintiff reasonably relied upon the material misrepresent.ations
made by PENACHIO to make critical procedural decísions as to how
to, or not Lo, proceed in with the prosecut.ion of his Chapt.er IL
Petition and making his decision not t.o engage a new attorneyt
until approximately September of 2018.
                                    (4)
         THE PLAINTIFF HAS     S    ERED   AND TIÏLL CONTINUE TO
   SUF
                           A       MATERIAL   },f   Ï SREPRESENTATTONS

      146.   As a direct and proximate result of PENACHTOTs
materially false representations set forth above, the Plaintiff
has suffered and will continue t.o suffer damages as follows:
           a  Monetary damages in the amount. of L.239
              million dollars, plus accruing stautory
              and contractual interest;
           b Attorney I s f ees in t.he amount of aL least
              $7,000 to at.tempt, with nelv counsel, to
              obtain modification of both the DANTE
              AVENUE and GLEN ROAD MORTGAGES, and to
              defend Lhe current foreclosure action
              pending against the GLEN ROAD PROPERTY,
              which, but for PENACHIO' s negligence
              Plaintiff would noL be forced to defend.
           c Attorney fees in the amount of at least.
               $12,000 which Plaintiff paid in order to
              vacate the Judgment. of Foreclosure
              entered against the GLEN ROAD PROPERTY
              when PENACHTO failed ro            (îi';;i;i
                                         "iïr'Ër
              and appearance and defend in the New York
               Supreme Court (at I,üest.chesLer) ot (ii)
               immedialely file the Chapter IL petitíon
              upon being retainecl Lo do so.
           d    AtLorneyrs fees to defend the wíthin
                acLion, should an attorney be reLained
                by the Plaintiff.
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                                     VI II
                     THIRD CAUSE OF ACTION
       FRAUD AND MISREPRESE NlATION BY DEFENDANT PENACHÏO

                                COUNT THREE

    136. The Plaintiff   repeats and realleges each of the
paragraphs, above, with full force and effect as though fully
set forth herein:
                                       A
           ELEMENTS OF A    FRAUD   AND I.{ISREPRESENTATION CLAÏM
       ttTo s ta Le a c laim f or f raud under New York law, a
       Plaint.iff      must allege         (1)   a material
       misrepresentation or omission of fact, (2) whích
       t.he def endant knew Lo be f alse; (3) which       the
                                                    (4) upon
       defendant made with intent to de fraud t (5)
       which the Plaintiff reasonablY re lied;         which
       caused injury to the p19-intif f . " Fin.". Guar. Ins.
       Ço.-, 443 F. S¿ 230, 234 (2d Cir. 2 uub /
                                      (1)
     PENACHIO    MADE   MATERIAL MI SREPRESENTATIONS OR OMISSIONS

     L37 . On March 3L, 20L7, Penachio traveleci to FcI Danbury,
ConnecticuL, presented her prof essional credentials and \'{as
thereaft.er admitted to the facility's secure visiting area where
she conducted an at,torney-client meeting with t.he Plaintiff
(hereinaf rer ref erred t.o as the      MARCH-20L7 MEETING).

     138. Penachío scheduled and attended the MARCH-Z}I7             MEETING

knowing a I the t. íme :

            1. That t.he United States Bankruptcy Court
               had lifted Lhe Aut.omaLic Stay with
               respect to the Plaintiff's    GLEN ROAD
                PROPERTY.

            2   That a Final Judgment of Foreclosure
                had been enLered by the \lestchester
                Supreme CourL \,/i Lh respect to
                Plaint.if f 's DANTE AVENUE PROPERTY.
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               3   That as the attorney of record in the
                   DANTE AVENUE Foreclosure Matter, she
                   failed to respond Lo the Motíon for
                   Summary Judgment of Foreclosure, and
                   that \,vas t.he direct and proximate cause
                   for the entry of a Final Judgment of
                   Foreclosure and Power of Sale.
               4   That she waited more than four year s
                   AFTER being retained to file           the
                   Plaintíff's Chapter tL Petition.
               5. That. she waited approximately two years
                  after     receíving notice from the
                  Plaintiff     of   the ComPlaint for
                  Foreclosure filed against the GLEN ROAD
                  PROPERTY and the DANTE AVENUE PROPERTY
                  to file the Plaintiff's      ChaPter IL
                  Petition.
                                     (2)
            PENACHIO   KNETI HER MISREPRESENTATIONS AND OMISSION
   I^IERE                   D              TO                      ÏFF

       139. Notwit.hstanding her f irsL hand knowledge of each of
Lhe facts enumerated ín paragraph 138 (1)-(5)' above, and 131
(a)-(q), above, when Penachio conducted the MARCH-2017 MEETING'
she knowingly, íntentionally and purposefully failed to inform
the Plaint.if f that ( 1) the automatíc bankruptcy s tays \,{as 1if ted
regarding Lhe GLEN ROAD PROPERTY, (2) that a Final Judgment of
Foreclosure and Power of Sale had enLered against the DANTE
AVENUE pROpERTY, (3) ttraL the Final JtrdgmenL of Foreclosure anci

Power of Sale entered against Lhe Dant.e Avenue Property as a
direct result of Penachio's failure to respond to or otherwise
defend against the Motion for Summary JudgemenL of Foreclosure.
      I4O . Penachio condueted t.he MARCH- 2017 MEETING wi th t.he

inLent Lo deceive the PlainLiff and in order Lo continue Lo
cover-up her negligent and professional errors which led t.o (1)
the lifLing of the auLomatic sLay with respect. to the GLEN ROAD
PROpERTY and (2) the Final Judgment of Foreclosure and Power of

Sale enLered agaínst Lhe DANTE AVENUE PROPERTY.
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      L4L. In addirion t.o f ailing t.o inf orm the Plaíntif f of the
items set forLh in paragraph 138 (1)-(5)' abover âs a further
means of concealing her gross negligence and intentional breech
of the agreements for legal services, when PENACHIO conducted
the MARCH-2017 MEETING, she presented a bare-bones explanation
of the Plaintiff preparing a "plan" to be submitted to the
United States Bankruptcy Trustee and/ot the Court for approval
tottstrip-do\,vnt'unsecured portions of his mortgages and pay t'he
So-calted "Secured" portions over a period of time, in order to
exit from the ChaPter LL.
       t4Z. Afrer rhe MARCH-}}L7 MEETING, PENACHIO never provided
¿he plaint,iff with any further information about preparing such
a "plan" and never furnished the PIainLiff with any drafts or
suggested Plans Lo be submitted'
      L43. pENACHIO conducted the MARCH-20L7 MEETING solely for
t.he purpose of assuaging the Plaint.if f 's requesL f or status
updates and progress reports about. his Chapter Il Proceedings
and t.he ability Lo save his properties from foreclosure'
       1,41+ . Ithen PENACHIO conduc ted the MARCH'2017 MEETING ,
                                                                  she
                                         ttsecured" debL owed on each
knew that, given the amount. of t.he
mortgage (which, f or more t.han 4 years, she allowed to increase
by faílíng to prosecule the Chapter lI and/or defend the DANTE
AVENUE and GLEN ROAD Foreclosure Aclions), that submitting a

"plan" vüas likely no longer viable, without the infusion of a
large down payment. which the Plaint.iff          \,vas not financially
capable of meeting.
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                             RELIEF   SOUGHT

      IIHEREFORE,     the Plaíntíff respectfully demands judgment
againsL defendants ANNE E. PENACHIO and PENACHIO MALARIA, LLP,
jointly and severally, as follows:
       1. Monelary damages in lhe amount of çI1239,000.00, plus
accruing conÈractual and statutory interest;
       2. Reasonable attorneyrs fees, in the event that the
Plaíntif f retains counsel lo represent him ín this matt,er;
       3 . $7 ,000. 00, plus s tatut,ory interes t, as reimbursement
f or t,he atto.rne ts feets    aid Lo the defendants under the Fee
Agreement;
      4. Punitive damages in an amount to be determined by a
juryr or Lhe Court sitÈing without a jury;
      5. Pre and Post Judgment interest, as allowed by law;
      6. Cost of suít, including, but not limited to filing
fees, service fees, deposítions and any other ancillary costs
associate with bringing the wíthín action;
      7. Any and all other relief Plaíntiff is entítled to as a
matter of law.

                        DEMAND FOR JURY TRTAL


      The Plaintiff     hereby demands a jury trial,          as to all
issues so triable.
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DATED: December       10,   20L8


R     P            SUBMITTED:




Mic             zuL    ïn     opria   Persona
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EXHTBTT                                         - I
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j




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    I


                                                     @                                ADJUSTABLE RATE NOTE
                                                                            (12-MTA tnO-ex -eayment and Rate Capsl



                  THlsNoTEcoNTAlNsPRovlsloNsAlLowlNGFoRCHANGESlNMY¡NTERESTFATE
                                 pÃvr,¡ã¡vï.'¡t'if r'¡onnrliÞavrue¡'¡r INcREASES wlLL HAVE LlMlrs
                  AND My MoNTHLY                 pnl¡¡_c¡pnt ¡tutoutlT t MusT REPAY BEING LARGER
                  wH¡cH COULD nesuü'-iÑ-iue                       BUr Nor MoRE TIIAN Jqt-      oF
                  rHAN rHE AMoUNT ibri¡brüarlY BoRRowED, l' MY INTEREST RATE cAN NEVER
                  THE oRIGINAL AMouÑi-iôÈ s==,=?¿,1*g9o'lo'               TO THIS NOTE. A BALLOON
                  EXCEED THE LIMIT SiÄïÈõ.ir'rME¡¡õç-æ;Mr-RIDER
                  pÂilurÊ¡¡r MAY BE DUE AT MATURIw'

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            willmakeallpayments-ilä'iîã-Ñ;;;¡nË;'."icfstandth8t
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            the Lender m"y
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            dar¡ of the carendsr ,.,.'å'niñ',ñå',îi"îiåãf "öit Ëä¡;g,tt¡e 06¡,        tt¡ereafter until thg first Change
                                                          iu"î¡iã;;i ].
            g öf ttrls Note, l *il¡ ¡iäj.¡'ìï"'"äi àiã-,íi-iåii-'-¡fmiTñäi
                                                                                   nw tnterest st a vearlv rats
            Dare (as deñned ¡å"t éäliïli' ï
            *i,k#n**n"am!:*:ff                               13i"llHii,Ïg:?¿åHiiili,lì,-*"J,::*No'lsrs'lheRa'ler


            3.    PAYMENTS
                                                                           payments every                month. rn this Nots, "p€vments"
                l1l,Ttî:r'Êljj",;å it":"ì'#,:i, uv Ttns
                                            paymehts .o"ìi, ãftfiäugh othei charges such
                                                                                         as taxos' insurãnce
            refer to principal anO'¡ñierest                          payment'
            and/or late charges tuv äi.o U"'puyuutu
                                                    with the " -'*t
                                                             monthly
                                                                                   each month beglnnlng on
                I will make my' monthly payrn€nts ä                   ' --O-ll- :t




            "Maturity Dats'.
                                                         Ic*;f-$qil-ffi#:t$ffi:
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               I wlll make mY monthlY PðYments at                          '1                              by
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                                                                                                         Date wiu be rn the amounr of u.s.
                  l?LîTiff å:iu,ï'jji*'ilihiii#ïì:t
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                                                          al




           (Cl Payment Changes
          My monthly payment wíll be recomputsd, accord¡ng to Sectíons 4(EXFI(GXH) and (t, of th¡s
     Note, to ref¡ect ahanges in tho Principal balance and ¡ntsrost rato that I must pay. The Note Holder
     will dEtormíne my new interest rate and ths changed amount of my monthly payment in accordance
     wlth Sectlon 4 of thls Note.
     4.   INTEREST RATE AND MONTHTY PAYMENT CHANGÊS
          (Al Change Dates
          The ¡ntorest rals I will pay may further changa on the _!el_                          day     of
           Novenber,   2Oo4          r Ítnd on that day every month thereatter. Each such day is called a
      "Changa DatE".
          (B) The lndex
          On coch Change Dato, my interest rats will be based on an lndex. The "lndex" ls the
      Twelve-Month Averager determíned as s€t forth below, of the annual yíelds on actively traded
      United States Treasury Securities adJusted to a çe¡e¡¿¡t maturity of ona year as published by the
      Federal Reserve Board ín the Fsderal Reserve Statistícal Relaase entitled 'selected lnterest Rates
      (H.15)" (the 'Monthly Yidds'). The Twelve-Month Average is determined by adding togeth€r the
     Monthly Yields for thg most recently avaûlaHs lwelve months and dívidíng bV 12.
          The most roc€nt lndex ñgure available as of 16 days bofore each interesl rate Chango Date is
     catted the 'Curtent lndexn. lf the lndex is no longer avallable, thc Note Holder will choose a new
     index which is based upon comparable ínformation. Tha Note Holder will give mo notice of this
     choícs.
          (Cl Galculatíon of Changes
          BEfore each çhango Date, ths Nota Holder will
                          fwo & Six-fênËhs
  ("Margin') to the Current lnde¡c The Note Holder will
  rìsarest,one-tn'ousandth of one percenqage point (OOOI%)_. SubJeêt to 4he limits 6tût€d ¡n Secticin
  4(Dl belbw,'thi's'rsunded amount will bs my nÞw ínterest'.fate until the next Ch¿inge Date. ln the
  6vent a new lndex ís selected, pursuant to paragraph,4(B), a new'Margin wlll be deterÍiined. The
  new Margln will be the differenco betwæn ths averâgs of the old lndex for the rnost recent three
  year perfod whlch ends on ths last date ths lndax was availabts plß the Margln on ths last date the
  old lndex was avallabls and tho averags of the new tndex for the most recsnt three year period
  which ends on that date (or if not availablo for such three year period, for such time as it is
  availablel. This difference will be rounded to the ns¡ct higher 118 ot 1lo.
      (Dl lntorest ßato Llmlt
      My interest rate will never be greater than , ì¡l'ìe & r{lñpFy-rllve-HundredÈhs
 p€rcentag€ polnts 9.95o /o ('Cap-l,oxcept that following ary sale or transfer of the property
 whích secures repayment of this Note afler the fírst interost rats Chango Date, the maxlmum
 interest rate will be the hígher of the Gap or 6 percentage points greatsr than the interest rate in
 effect at the t¡me of such salo or transfer.
        (El Payrnsnt Ctrange Dates
      Effecfive         yåãiãommenr:¡ng           Novecnbe¡J. 20OS                and on the same
                 "yery
 date each twelfth                         -
                      month thereafter (-PayrngntEhangs OãasTtalre-ÑõteTõlder-r will determina the
 amount of the rnonthly payment that would be sufficient to repay the proJected principal batancs t
 am expooted to owe as of ths Payment Chenge Dato in full on the Matudty Date ot tho ¡nterast rato
 in effect 45 days prlor to ths Payment Change Date ín substant¡ally equal payments. The result of
 this calculation ís the new amount of my monthly payrnent, subJeet to Section 4{F) below, and I will
 rnake payments in the new amount until the ne¡ü Paymsnt Changa Date unless my payments are
 changed earlier under Section 4(H) of this Noto.
     (F) Monthly Payment Umltatlons
     Unless Section 4(H) and 4(l) below apply, the arnount of my new monthty paymént, beginning
 with a Payrnent Change Date, wlll be limlted lo 7 1f2% more or less than the amount I have been
 payíng, Thís payment cap applies only to lhe prlncipal payment and does not apply to any escrow
 payments Londer rnay reqdre under the Secudty lnsüument.
                l;
                                                Page 2   o16                                oRIOInÃI¡


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          (G)ChangeslnMyUnpaioelinciqlliy-toNegadvoAmortizalionorAcceleratedAmortization

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          to
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                                           tV *öå¡ä'Ëtì;;ü;i;J"äint"r""tøll      accru€ on the amount of
    oortion and witl ad th€ difference.                               that úre monthrv paymont is sreater
    ihi* d¡fferenoe at ttre-cJiläîiíñt"*rt.i.t"."Ër'åääï"Lnìn
                                                 *¡¡iã'pp=¡v lt,        towäi¿". prinóidar'reduction of ths
    than  the interest port¡on, t¡r" Note Hotder                 "*c"",
    *ot?;r,                                    tncroasod Monthly Paymcnt
                 Limit on My unpaid Princlpal;       ã mxtum'amóunt 99îi'n::*çffio"ln:Î"
              Mv unpaid pr¡nc¡iaì'ãan never exceed                                                                    itli?t"
    ,?n"üi*liïål",t'ffilît[l, rHú:iiiäi#lt''då'i#i"îfiirfåiffi
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                                                                                                                       date
     :ii*"i5il'$,L:;Ti,1,i3'"iì*""å''li'"T:äü                                  pävm"nt'ã,i" ¿ãte   in   substantiar¡v €qual
     at my interest rate'ìü-"ïö'äü;ontr,'J'ioï'îo'tîå
     ot'Tìi"å"ùrired Full Monthlv Pavmont
                                             . due
                          "'äîîi,i"rr.?v ãr rhe ' date of the first monthly paymont' and on that the
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         on ths ,r"r"                                                ¡à.ãá¡ü"t'"¿ without resard to
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                                      or mairto.me a nodce or,any *'Tunï;l,å:1;;1;^ïillT.to#åå'Tl
                                                  chanse' The notice wi                           any
    'paymsnt td'f'ore ,nu å'riäi"åîoiL'äc'*v
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                                                              number'of a þerson who will ansrver
      taw to be siven,"'å'nîäã, itãnotice'l¡fl" är,ä'iäËóito*
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     lüå"iion-                        reg
             ru¡lurä to rvlats aÍå"irffi:r"faits                                         rats .9r pavment
        tf fbr anY'reaso                         to rnake an adjustment to tl¡e ¡nterest
                                                                                  asree that Note Holder
                                            ,àsur¿úri'åì'uiü.üiË;ù¡'àtnãnt,     I
     amount as doscribei'¡n îr,îr'ÑîiJ,
     i:I,.i?:t,*",".";l,Ul,:i$"tlk"h,mn";i:*þf                   :;*[tmlffi
                                                             É"tder' ât its option' apply any excess
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                                                        Ñãi"
            faiture t" ,ãt, ti.,"'aãjuetmenta.äi;i;.itã
     Hotder,s                                                            Principal'
     monles which I        t'äut q"fd-9p-"-l!at erepayment of unpaid
                                t"y
     ä.-'äõnnowgR's h¡cHt ro PREPAYof, ñ-:-^:^^r âr                       hr thev are due' A tlayment of
                                                                     rimo bøfore
                                                                 âñu time
                                                              at any
         I have the right Ë'il"i;pgi;;;;
                                    5riåõãvr"'¡i""i,üuî i;;i.t;-R;t";-;hç i wilt tell the Note Holder
                                                  ,Prirrcipal
     principar onty is ¡.""iíiäïã
     inwritingthatlamdolngso.!'3yn319e'¡g;iã"påymunta"ã}iãpãvm"ntiflhavenotmad€all
        the                                                    prepavm€nts.witrreç
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        under        ", Ht
          "' thie Note.
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        ili;"i    on    the.prepåffi;ï "'ãú"1, ¡"r"'"-Tl'îår,*fnf1ffe';r'"iifi:"00,,X"å'å,1,"üii
                                       t1*':-il!tit''.î;"        *i¡i¡ns-iã"t'ñ.." chanses. r'¡ï parttãt
        ff";¡1Ï)t.:#"|."'ilï"å                                  ";',ä'¡"'                                               vr*;
        üïilçç1ffiüiË*f*ö,qptri'tt'*i*ri;m*x''å'iil'?rï""iff
        b. LoAN cHARGEI'¡uppl¡u"            toan charges' is finally lnterpreted
            tf a law, which         to-this t",11-11d whlch sets maxlmum                      wirh this toan
                                                                 iïiiä "äi"ãt"ã in cãnnectron
        so that rhe inreresr ói other roan charses".äËl;il;
                                                    uii"!l;-h Ëil"htràà    it'àr be reduced  bv the amount
        exceed úre permine'i iírüi,'-,ñä., fãl
                                                                                                                      ORI6IllAt¡
                                                               Page   3 ot 6
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            nec6ssaiy to reduce the charga to the psrm¡ned llmit; and (bl any sums already collectad from ma
            which excsedad perminad limits will be rofundad to me. Ths Noto Holder may choose to rnake this
            rafund by reduclng ths Princípat I owe under ¡his Note or by making a dlrect paymsnt to me. lf a
            rafund rsducas Prlncipal, the raduction will be treated as a part¡al Prepayment.
                                                                                                                  in
                MtscEllansous näs: I undarstand that tha Note Holdgr will also charga a rsturn item charge
            thB svent . p.Vru¡t-nat I maka in connection with rspayrnBnt         of this loan is not honorsd by the
            financial ¡nsútuïon on whích it is drawn. The current fae is 9--¡5,¡q-. Lsnder reserves the
            ríght to chango tha fee from time to tims wlthout notico sxcopt a3 may be required by law.
            7.  BORROWERS FA¡TURE TO PAY AS REOUIRED
                (Al Lats charges for Ovordue Payrnonts
                lf the Note Holder has not recá¡vsd the futl amountpay of any monthly paymsnt by tha end of
                                                                          a lato chsrgs to the Note Holder. ThE
             Fif,teen ã.1"n¿., days after the date it is due, I will payrnant
            amount of thE.t"rgu w¡il     oe  z,ooo   %  of my  ovorduo            of PrÍncipal a¡rd interest' lwill
            pay th¡s lato chargs promptly but only once of each lata paymsnt'
                 (Bl Dsfault
                 lf I dó not pay tho full amount of Each monthly paym6nt on the date it iE due, I will bE in
            default.
                 (Gl Notice of Dofault
                 lf I am ¡n ¿rfãu¡i,ite Noto Holdar may sand me a written      notlce tell¡ng msthat if Ido not pay
                          ;;ñt-'btã certain date, rhå Note   Holder    may   requiro m.e to pay immediately ths full
        the overdua
        amount or prinãpai w¡,¡"t h"" not been paid and all the ¡ntersst          that I owe on that smount. That
                                                       on   which    the  notics is delivered  or mailed to rne (or, if
        dato must ¡u ãt i"ast lO days aftEr thE däts                                              corporalion buys all
        the FBdEral National Mortgaga nr*o¡åiion ãr ìhe Faderal Home Loan Mortgags
.  ('
''1r
        ãi purr"t Ld;;;;;r¡ghrl-,{î¿"¡the èocu-rity lnstruinent,,il.wllch
                                                                     glven''the
                                                                                     G-a3n.ths.noticqwill.specify
                                                                                Bof¡owarl.,     ' '
                                                                                                                     a,

        date, not less tñah 30 days from the ilate  the,notico    is                                ,


            tol rtlo Waivar gY ¡uotã Hotder                                                    me to pay lmmodiately
            Evsn if, at a tims whan t am in default, lhe Nots Hotdsr does not require
        in full as described above, the Note Holder    will stitl  have  the  right to  do  so if I am in deÉault at a
        laær tima.
                 (Ël Payrnent of Nots Holder's Costs and Expenses
                                                                                                           above, the Noto
                 ¡f the l.¡otB HUå"i has required me to pay immediataty in full           as
                                                                                              -describad
                                   i¡stii"
                                        bå paid  back    bi  me  for  all of its  costs   and   sxpenses   in enforcing this
        HoldEr w¡r¡ naJa'ine
                                 ã lawsuit ís brought, io tho Bxtsnt        not  prohlbitod    by  Applicablo  Law' Those
        Note, whsthri
                        "täi
        axpansos includa, for exampte, raasonable        attorneys'  fees'
        8' GlvlNG oF NorlcEs                                                                         be given to mo'undsr
             Untess Applicable Law requires a diffare¡t method'.anY not¡cs that must
                                                                             t

        thts Noto wilt'bJ r¡";bi ¡Jiv.¡ng         lt  oirby   meilíng   ¡t by   first  class  m¿¡l  to.me   at ths.Propsrtv
                                                    if I giúa  tha Nãts    Holdar   a  notlcs  of my  different  addrass'
        Addrass abovaã ãi        ã¡cår"nt addra-ss
                                                                               thls   Note  will  be given  by  maillng  it by
             Any notice that rnuet ba glven to ths Nãts Hotdar under
                              "-
                                                                   statsd    ¡n   Section   3(Al   above   or at  a different
        first ctass mail to tha Note Holder at the        address
        address if I am glvan a notica of that different address'
        9.       OETIGATIONS OF PERSONS UNDERTHIS NOTE
                                                                                  personally obligated to keep
                  tf more tt on" p"Àon signs this Noto, sach psr¡¡on ls fully and
                               *                                           pay tho full amount owed' Any
        all of the prorto"" rä¿" ¡n this Note, inoluding tho promiso to
        person who is a guafantor, suroty, or'endorseiof this Note is     also obligaæd to do these things'
                                                        including th8 obligatio¡rs of a guatantol, surety, or
        Any porson who iakos ovsr these obtigations,
                                                                    promises^ q49 ¡l this Note' Ths Nota
        endorser of thls Note, ls also obtigatel to r""p all of the
                                                                     p"rson indvidually or aEaínst all of us
        Hotder may anforoe its rights un¿ur'ttlls-Ñoæ ägainst each
        rogether. This means rhat any on. oi'ri rãv   ¡"-tuqrired to þay all of the amounts owed under this
        Note.
                                                                       o16                                       oRror¡rÀ¡
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            lO.WAIVERS
               t and any othor person who has obllgadons undor thls Noto waive the rights of presontrnent and
            notics of dishonor. "Pr€s€ntmont" means the right to rsqu¡ro the Noto Holdor to d€mand paymont
            of amounts duo. "Notico of Díshonor" means tho right to roquire tho Note Holder to give noüco to
            other persons that amounts duo havo not boen pald.


            1I.   UNIFORM SECUBED NOTE
                This Noto is a uniform instrument with limitsd variatio¡m in somo JurÍsdictlons. ln addition to the
            protoctions givon to tho Noto Holdor undor this Noto, a Mortgage, Deod of Trust or Socurlty Deed
            (th6 "Socurity lnstrument"l, dated the same date as this Note, protects tho Note Holder from
            posslble losses which might rosult if I do not koep the promlsos whích I mako in this Noto. That
            Security lnstrument describos how and under what conditíons I may bo requirod to make immedíate
            paymont in full of all amounts I ows undor th¡s Note. Some of thoss conditions are describsd as
            follows:
                 Tran¡fer of the Proporty or a Benefìclal lntsrsst l¡¡ Borrower.
                     lf all or any part of tho Prop€rty or any lntsrost ¡n tho Propôrty is sold of transfensd (or lf a
                 benoficial ¡nterest in Borowor is sold or transfsned and Bonowor is not a natural person)
                 w¡thout Londor's prior wrltten consonÇ Lendar may regu¡ro lmmodiate payrnont in full of all
                 sums secured by thís SecurÍty lnstrumont. Howevsr. this optlon shall not be exercisod by
                 Lsnder if such exorciso ís prohlbited by Appticablo Law. Londor dso shall not exorciso this
                optlon if: (al the ragu€st to assume is mdo aftor ono ysar followlng recordation of the Deod of
                Trust¡ {b) Borower causos to bo submitted to Lendor information required by Lender to svaluate
                ìhå int€nded, transforse as if a hew laan were boíng mqds to .the Fansfefoè¡, and (c) Lender
               thãt tho risk of a breaõh of any covenant or agro€ment ín thls êecurity lnstrument ór oth€r
               obligatlons rolatsd to tho Not€ or oth€r loan document ls acceptablo to Londer, (d) Assurning
               parfy oxocutos Assumption Agrosment acceptable to,Lender at ¡ts sols choice and discretion,
               i,vfrictr Agreemont may includo an incroase to Cap as sot forth bslow and (o) payment of
               Assumption Foo lf roquostod by Lander.
                    To tho extent pormitted by Applícable Law, Lender may charge a reasonable fos as a
               condition to Lender's consent to ths loan assumption and Londer may increaso tho maxirnum
               rate limit to tho híghor of tho Cap or 6 porcontage points greatsr than the intorost rato in offect
               at ths time of the transfor. Londsr may also raquiro the transfer€o to sign an assumptíon
               agroemont that ìs accoptable to Lsndsr and tfrat obllgates th6 transferee to koop all tho promises
               añd agreements made in the Note and ln thls Security lnctrum€nt. Bonowof will condnuo to bs
               õO¡igaie¿ un¿or tñà Note ãnd this Secr,¡rlry lnstrument unloss Lendor has entered ¡nto a wr¡tton
              Assumption Agreement wíth t¡ansforos and formally rsloases Bonowor.
              ' lf Liindor oiercises thís opdon, Lendor shall give Borrowor notico of acceloradon. The notico
              shall provido a period of not loss than 30 days ftom the dato the notice ís given in accordanco
              with Sectlon l5 whhin which Borower must pay all sums socured by this Securlty lnstrument.
               lf Borrower fails to pay those sums prior to the expíradon of this potiod, Lender rnay invoko any
              remodiss pemitted by thís Socurity lnstrument wíthout furthor notics or demand on Borower.
        12. MISCELTANEOUS PROVISIONS
             tn ths evont the Not€ Holdor at any timo discovors that th¡s Note or ths Socurity lnsuumont or
        any other document related to thís loan. called collectÍvely the "Loan Documentcr" contains an error
        which was caused by a clerical or ministerial mistake, calculation €rror, computer orror, printing
        error or símilar onor (cotlectlvely "Errors"), I agree, upon notíce from tho Note Holder, to re€xgcute
        any Loan Documsnts that are n€cÆssary to corsct any such Enors and I also agroo that I will not
        hotd the Noto Holder rosponsible for any damage to mo whlch may result from any such Erroæ.
                   lf any of tho Loan Documonts are lost, stolen, mut¡lated or destoy€d and tho Noto Holdor
        dotivors to m6 an indernnífication in my farror, signed by the Note Holder, then I will sign and delivsr

t                                                         Psgosotg                                       oRrsrnÀl¡




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                                                     and contsnt whlch wlll hava ths effect of the
ro tho Noto Holder a Loân Document ldsntlcal ln form
orlglnal for all PurPoses.




                                             UNDERSIGNED'
       WTNESS THE HAND(S} AND SEAL(S) OF THE




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                                                     PAVT¡¡ THE ORDER OF


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                                                                    ADJUSTABLE RATE R¡DER
                                                       {12-MTA lndex - Payment and Rate.Capsl

                                                                                 03   -2403 -O 68359225-7


   THIS ADJUSTABLÉ RATÉ RIDER is made this zo*r day of sepEember. 2oo¿                               ,

   and is incorporated into and shall be deemed      to amend   and   supplement the Mortgage, Deed of
   Trust, or Security Deed (the " Security lnstfument") of the same date given by the undersigned
   (the "Borrower") to secure Eorrower's Adjustable Rate Note (the 'Notê') to
                           ¡,Iut,                                (the "Lender") of the same date and
   covering the Property            in the  SecuritY lnstrument  and located at:
                              Ä6 rîrf.FÀ' PôÀIl.                   r\IY 1    o
                                             (Property Address)

             THIS RIDER CONTAINS PROVISIONS ALLOWING FOR CHANGES IN MY ]NTEREST
                    AND MY MONTHLY PAYMENT. MY MONTHLY PAYMENT INCREASES WILL
. ., . .
      ,,
      '
         .,, RATE
             HAVE uru¡rs wHtcH couLD,FEs.uLT,luL{_E-STfNclFÂ. AMouNrt                 tY.llÎ:llI .,          '

             betrua- LARGER THAñ THÉ ,AMouNT ¡ 'oRIGJÎ'¡ALLY BoRRowEÐ; BUT Nor MoRE
             THAN          li.or
                              oF THE OnlêittÁr AMo¡JNT (OR           S e24,ooo.oo ,.                 ,-..'
             My tNTEnmATE cAN II¡EVER EXcEED THE LIMIT STATED lN THE NorE AND
             RIDER. A BALLOON PAYMENT MAY BE DUE AT MATURIW.




           TNTEREST
        lnterest will,b'e                                          amount of Principal has been paid.'
   Up until the first daY of .the cãlendar month that.              precedes the first payment due date
   set forth in Section 3 of the Note, I will pay ¡nterest at a yearly rate of 4.063 %. Thereafter
   until the first Change Date (as defined in Section 4 of the-Note) I will pay ¡nterest at a yearly rate
   of r.q!O %, The¡nterestratelwitl paywill thereafterchangeinaccordancewithSection4
   of the Note.
        section 4 of the Note provides for changes in the interest rate and monthly payment as
   follows:

                    -O1l                           Page 1 ot 5                           TO BE   RACORDED
   32843   (1   1




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           4.     INTEREST RATE AND MONTHLY PAYMENT CHANGES
                  (A) Chango Dates
                  The interest rate I will pay may change               on the           1sc          day of
                                     ,^ata              and on that day every month thereafter. Each such day
             is called a "Change Date".
                 (Bl The lndàx
                 On, each Change Date, my interest rate will be based on an lndex. The "lndex" is tho
             Twelve-Month Average, deterrnined as set forth below, of the annual yields.on actively traded
             United Statos Treasury Securities adjusted to a constant matur¡ty of one year às published by the
             Federal Reserve Board in ths Federal Reserve Statist¡cal Release entitled "Selected lnterest Fates
             (H.15)" (the "Monthly Yields"). The Twelve-Month Average is determined by adding togetherthe
             Monthly Yields for the rnost recently avaílable twelve months and dividing bV 12.
                 The most recent lndex figure available as of the date 15 days beforo each Change Date is
            called the "Current Index".
                 lf the lndex is no.longer available, the Note Holder will choose a new index which is based
            upon comparable information. The Note Holder will give me notice of this choice.
                 (Cl lntarest'Rate.Changq -,                  .,. ..! . .                             l'uy
                 Bçfore each'Öhångg.'Date, the:Nptê' Hgldei wili. c'alqulate fnv ndw intårest late         aoc,nq
                 '                   Turr r- sì':¡-Tenl'h¡f                       percentage  points'  z.eóo  -Và
            ("Margin") to Current lndex. The Note Holder will then ro und the result of this addition to the
            nearest one thousandth of one percentage point (O.001%). Subject to the limits stated in Section
            4(D) below, this rounded amount will be rny new interest rate unt¡l the next Change Date. ln the
            event a new lndex is setected, pursuant to paragraph 4(B), a new Margin will be determined. The
            new Margin will be the difference between the average of the old lndex for the most recent three
     t,     veaî poriãd which ends on the last date the lndex was available plus the Margin on the last date
 :
            the old lndex was available and the, avärage of the new lndex for the most recent three year
:           period which ends on that date (9f if not avallable for such threq year period, for such time as it is
 :,.,,    ,'aváilablè). The difference will be rounded,;to the next higher 118 of 1o/o.


           sale or transfer of the property which secures repayment of this Note after the first interest rate
          ,Change Date, the maximum interest rate will be the higher of the Cap or 5 percentage points
           greater than the inter€st rate in effect at the time of such sate or transfer.
               (El Payment Change Dates
               Effective every year commencing Novenber 1, 20-05                             , and on the same
           date each twelfth  month   thereafter ("Payment    Change  Daten), the  Note Holder will determine the

                                                          Pago 2 of 5                          TO BE   RECORDED
          32843   lt rOt)




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 amount of the monthly payment that would be sufficíent to repay the proiected Principal balance I
 am expected to owe as oi the payment Change Date in full on the maturity date at thê ¡nterest
 rate in effect 45 days prior to the Payment Change Date in substantially oqual payments. The
 result of this catculation is the new amount of my month¡y payment, subiect to Section 4{F)
 below, and I will make payments in the new amount until the next Payment Change Date unless
my payments are changed earlier under section 4{H) of the Note,
     lF) MonthlY PaYment Limitations
     untess section 4(Hl and 4(l) below apply, the amount of my new monthly payment, beginning
with a payment Ghange Date, w¡ll be limited to 7 1l2o/o more or less than the amount lhave been
paying. ihi" puym"ni"up applies only to the Pr¡nc¡pal Payment and does not apply to any escrow
payments Lender may require under the Security lnstrument'
     (Gt Changes in fVty Unpaid principal Duo to Nogative Amortization or Accolorated Amortization
     Since .y puyrn"nt amount changos less frequently than the ¡nterest rate and since the
monthty payment is sublect to the payment timitations described in Section 4(F), my monthly
p"yruÁt coutd be less oi greater than the amount of the interest port¡on of the monthly payment
inát wouta be sufficient to repay the unpaid Principal I owe at the monthly payrnent date in full
                                                                                                     on
                                                                                            payment'is
tlie rnarurity date rn .uUsi"ni¡å¡iv equal'Þaimgnts. For each moßth that the-fnontbly
Ë ih"f G; r","iu* po,i¡'";;;hé,Ñ;t" úo¡úeiwill subtrãct the monthly riäymentinterest  from'the arhount
of  the  interest   portién and will å¿¿ tne difference to my unpaid Principal, and         will accrue
on the amount of this difference at the current ¡nterest rate.      For each  month.that  the  monthly
payment is greater than fhe interest portion, the Note        Holder will apply  the excess  towards  a

Principat reduction of the Note.
     (ri) um¡t on My Unpaid principel; lncroased Monthly Payment
     My unpaid principal can never exceed a maximum amount equal to 110* . of the principal
amount
-          oiiginat   borrowed. ln .the event. my unpaid Principal would otherwise exceed that
            ''f¡ä¡tat¡on,
   ,,ro*                  lwill begin'paying_a new monthly paVfnent unt¡l the next Payment Change
õãiäiffiv¡thstanding the Z 1129/0 annuat payment increase limitation. The new monthly payment
wift be an amount ilù; *;ulå= u" .uni¿¡"n, ,o rêpay-:¡¡, then unpaid principal. ¡n tutl on the
.utrrítydär" u, *y inråiã"tirut" ín effect the month prior to the payment due date in substantially
eeua! R_avmgntl
     (ll Required _Fult MonthlY PaYment
     On the _ FïHrH _ anniversary of the due date of the f¡rst monthly payment, and on that same
day every rrrrn - year thereafter. the monthly payment will be adiusted without regard to
                                                                                                    the
payment cap limitation in Section 4{F}.
     (Jl Notice of Changes
     The Note Holder úill d"tiu"t or mail 10 me a notice of any changes in the amount of my

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month¡y payment before the effectivs date of any chango. The notice will include information
,"qrir"å by'law to bo g¡ven me and also the title and telephone number of a person who will
answer any questions I may have regarding the notice'
    (Kl Failurs to Make Adiustmsnts
    lf for any reason t¡otã ttolder fails to make an adiustment to the interest thatrate or payment
amount as described in this Note, regardless of any notice requir'ement , I agree
                                                                                         Note Holder
                      of such failure, ihen make the adjustment'as if they had  been  made   on time'
may, upon discovery
                                                                                          result from
t atso ågree not to hold Note Holder responsible for any damages to me whichoption, may
                                                                                           apply   any
                                                                            at ¡ts
Nots Holderrs failure to make the adiustment and to let the Note Holder,
excess monies which I rnay have paid to part¡al prepayment of unpaid   "Principal'"

B.      TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWER
        Section 18 of the Security tnstrument is amended to read as follows:
         Transfer of the property or a Beneficial lnterest in Borrower. As used this
                                                                                             in       Section 18,
         ntnterest in the property" means any legal or beneficial interest in the Property, including,
                                                                                                                for
         but not limitei to,'thoée'beneficial ìnt"i"st" transferred in a bond for deed, contract
     .,
            Ëi; ;óäiãent safes contract pr escrow
                                  futriro'ciqte  to 3
                                                           asreement   ,.the intent
                                                                                    "1.y1¡:lr¡"_ll:i:::i1?1.:.1
                                                      purchaser..-!f all oi,.ulY part:oT    the nr6perty ar arly
     '   title by Eolrower,at   å
                          pråperty                            (or if a beneficial.interest   in Borrower is sold
         ;ì;;J,i;iÀ;                is sotd'or   tränsierred
                                                                                                    prior written
         or trensferred and Borrower         is  not  a  natural  person)     without    Lender's
       , consênt, Lender,may require immediate payrnent in full of all surns secured by this Security
                                                                                                     is prohibited
         lnstrument. Howevãr, tiris option shall noi be exercised by Lender if exercise
         by Apptícabto Law. Lender also shall not exerc¡se this option ìf:
                                                                                     (a) Borrower   causes   to be
                                                                                  the  intended.transferee    as if
         submitted to Lend€r inforrnation required by Lender to evaluate
                                                                                  reasonably     dete¡mines   that
         a new lo"n *-"i"-uà¡nJ¡¡ua" to the transferee; tb) Lender                                    ot
    ,    ien¿e¡" ,u"uiìty Wi¡t nãt ¡o imeailedJv the loan ass11¡tion :Y llÎ:ll-11istrgþted
                                                                                      obligations
                                                                                                         a.brea3h
         of anv covenant'or agreement iñ this Security Agreernent o¡ othel     (d)
                                                                                                            ¡o th9
                                                                                                  party execures
  :.     Note'or    other  loan ldocument.     is  acce-ptable  1o   Lender,        Assurn¡ng.t
 ," oirmp,i"¡ Ágr;;""i-acceptu¡le"to'ïêii¿,er as                 at its sole.,cfoi3'e a1a_ discretion, which
         Asreemeht , *.i=""t;;        ;"i;;;;;";-      i;ì c"t       set forth below a¡d (d) ' pavment ;of
         AÀsumption Fee if requested by       Lender'
               To the         puìt¡tt"¿ by Applicable Law, Lender may charge a reasonable fee as. a
                         Lender's consent to the loan assumption, and l-ender may increase the
         cond¡t¡on to"ouni
                                                                           percentago points greater than the
         maximum interest rate l¡mit to the higher of the Cap or 5
                                                                                                the transferee to
         interest rate in effect at the time of ihe transfer. Lender may also require
         sign an assumption sgreement that is acceptable to                  Lender    and   that  obligates the


                                                    Page 4 of 5
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                      to keep all the promises and agreements made in the Note and in this Security
             transferee
             lnstrument. Borrower will continue to be oblígated under the Note and this Security
              lnstrument untess Lender has enteied into a written assumption agreement with transferee
             and formally releases Borrower,
                  lf Lender exercises this option, Lender shall give Borrower notice of acceleration' The
             notice shall provide a period of not less than 3O days from the date the not¡ce is given in
             accordance with Sectíon 15 within which Borrower must pay all sums secured by this
             Security lnstrument. tf Borrower fails to pay these sums prior to the expiration of this
             period, Le¡der may invoke añy remedies permitted by this Security lnstrument w¡thout
             further notice or demand on Borrower.

     BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants conta¡ned ín
this Adjustabte Rate Rider. Borrower agrees to execute any document necessary to reform this
Agreement to accurately reflect the terms of the Agreement between Borrower and Beneficiary or
if the originaf Note, Trust Deed or other document is lost, mutilated or destroyed.




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                          ZUTI




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                                                                                                                                                                mS




                                          QutTcLAtM DEED CINDIVIDUAr, OR CORPORATIOIY)
                                                                                         FORM 8009
                          c^uTtoN:Tffrs¡,GR'FJVÍENTSHOULDEe.rREP               ÂEDBl¡fi.{TnoR¡{EY^{q&EflEwED8Y'ITTORfiEYSFÛRSEL!ÊR^¡¡D

                       1EIS INDEf Ttrf'1,       ¡nadc thc 20ó day     ofScptcrnbcr,20M'

                       betwceo
                                          l,/ÚCt{I;LE PITZITTI AlKl A MIC|ÍAEL                     P\72Íln
                                          46 Gtcn Rosd. Eastchcstcr. New Yo¡k

                       party ofthe first Parq and

                                         \fiCtßLlPlzzffi/.IKIAMI3HAELPITZUTIANDMICHELLEPII,Z"¡UI;I
                                         46 Gtcn Road. E¿sæhestci. Ncw York

                       partY   ofthc sccond Part'
                                                                                                          dollars, tawfi.rJ ooney               of
                                F.rINESSETÍL, that thc party of rl¡c first par! io considcration oltcn                            pc. Qoited
                                                                                         rclcase-and qui¿claim unto thc Psfly ofthc sccond
                      Srates, paid by flrc party offhe socond part docs hcreby æmisc.
                                                                                            part forcvcr'
                      psrt, ül; hcirs or succcssors aod assigni ofttrc party oflrhc sccond
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                                 TOGETÍtERwltb alt rigb( titlc and inreres! if an¡ oftho party of tfte 6rst
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                      roads abtmíng thc obovc described prcmiscs to thc ccnlcr lincs

                                 TOGETEIERwith ¡he sppurtenEnces and all rhc "st tc aod rigftcs
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                      said prcmiscs,
                                                                                      thc party of thc second par! rhe heïrs or
                              TO El4lr, AND ro E7LD lhe prcmiscs hcrcin gra.oted unto
                      succcssors and assigns of thc party ofthe sccond part forcvcr'

                                                                              witlr Section tl.:l*:              covcnsnts rbar thc party of
                                 AîlD theparty of thc fiîr
                                                        Parq in compliancc                            i-fot ?w,
                      n" r-rr päïii    iáíu" ,r," "ons¡åo-ri¡on for ihís convèyango and will hold thc_right to icccivo such
                                                                                                 t¡c costs olt¡e improvement,and will
                     considcra¡ion ss a rrust fu; to bc applied first for thc purposc ofpayi4g
                                                         Lidt"        oftt   imprôvcmcnt   beforc  using any part ofthe tot¡l of the samc
                           tit" *,o" fr.t fo thc paymcnt
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                     for any olhcr   PurPosc-

                                                                               ifit      rcad 'partics' whenevcr ¡}lc scnsc   ofthh indcnturc    50
                              Thc word 'party' shÂlt bc construcd         as
                     rcquircs.

                                IN WITNESS mÍTEREOF,           the party of tñe first part has duty cxæutcd this dæd the day md                 yø    first
                     abovc     wincn.

                          ¿/                        nkp
                                                       MICTÌAEL



                                                       n Hdo6r   (9'oo)                                                          Copyrigit C¡gølìt DcvdoplMr
                     NYSBA Rsll.ñ(i:l Røt El6rc Fodr
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      TN PRESENCE OF:




      Acknowledgrncnt by a Pcrson Withïn New York Stato (RPL                         f   109'a)
      STATEOFNEW                            )
      COUNTYOF                                             ) ss:
                                                           )

                                                                                                appcucd MICHELE
               On tl¡e 20È daY of SePtcmbcr, aAM, bcforc mc. úe uodcrsigrrad pcrsonalþ
                         ¡\4ICFÍAEL  PIZZIJTI   AND    MICHELLE      PÍZZVTI,   PcrsonaltY   knowu to mc or provcd to mc
      P\TZUT| AtKtA                                                                     (ar¿) subscribcd to the within
      on tl¡c bssis ofsat¡sfactory ev¡dcncc ¡o bc thc individual(s) wlrosc na.cne(s) is
                                                                                                  and Ihat by thcir
      instrumcnt and aclcrowledgcd to ¡nc that tficy cxccutcd lhc s¿mc in thck capacity(ics).
      sígnaturc(s) on lhc              ¡hc individual(s). or the pcrson upoo behglf of wt¡ich thc individual(s) acæd,
     cx¿cut¿d
                                                                                     AVSUß    nURl   E0/E¡JI ¡fOuJ ony¿l
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                        office                             acknowlcdgrncnt)
                                                                                                                                                             :i!.



           IitJÊjYa.                                          'Section 40
                                                                   Block       2.
           Bts-NY073004012                                         Lot          39
                                                               County or Towu Eastchester
                  To                                           Strect Address 46 Glen Road, Easæhester, bfY
           MICHELE P\ZZT.I.rIATKJA
           þfIc¡{AEL Plzzf-rfl
           AND
           MICHELLE PTZZWT|

                                                                               Return                To:

                                                           MICTIAEL PITZIJIT| AND MiCHELLE PIZZUM
                                                           46 Gle¡ Road
                                                           Eastchester, New York




    Reserve                       For        Of Record             Otice




                            €r&   Fomt   6 ttotoF! (9d)¡                                                          CopyriS,ht   ClpFû'   Dcv.Jof   ndt
    NYSa^ R6¡ddti!¡   R@t
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  AFTEB RECORDING RETURN TO:
                                                                                                                            t-2
  Wastrington Mr¡tual Bank. FA
  c/o Acs IMAGË sotuf¡oNs
  12691 PAIA DS|VE MSl56DPCA
  GARDEN GROVE, CA 92841
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                                                                      6(L- J-
                                                                       &r' a
                                    SPACE AEOVE THIS LINE FOR RËCORDING DATA
                                                                             ?
                                       '...-'...- srEwART   Trrrrn   TNsItRANcE COMPÀÌÙY BIrSNÍO73 0040 L2


                                                                                                    MORTGAGE
                                                                                             03-2403-O 6835g22s-7
 WORDS USED OFTEN IN THIS DOCUMENT

 {Al "Security lnstrument." This document, which is dated         SepEember 20, 2OO4
 together w¡th all Riders to this document, wíll be called the nSecurity lnsfument.' ^ zi                           A ?
 (Bi'aorrower." ¡¡rcrg¡e przzurr e.r.e. pIrcHÀEr, przzurr ð-y'l\0ùq-Lg ?fl,L{ÍI(                                    ff' '



 whose address is                     46 GT.NN POÀD.                                  ìfv 1n?nc¡
 somi¡tirnes will bB called "Borrower" and sometimes simply            "tl or "me."                                           .{
 (é)- åLender
 will bé calléd     '     Lend et is a corpor atíon or assoéiatíon'
                               ta
                                                                              under the   s'of
        tÌnil-e¡l
             .ql'âFes ôf                                                  Lender's address is
                        4()() Eãst Mair. St       t Sl-.|ñkËôn - eÀ gq29o
(D) "Noto." The note signed by Borrower and dated sepr-a-mber ?0, ,1004 , will be called
the "Note." The Note shows that l owe Lender Eight r¡rhrj¡ed Eorty Tt 'uqan.l s oo/rno




charges and late charges due under the Note, and all sums due under this Security lnstrumenl,
plus interest.
(Gl "Sums Socured.' The amounts described below in the sectíon t¡tled 'Borrower's Transfer to
Lender of ßights in the Property" sofnet¡mes will be called the "Sums Secured."
(Hl -Riders.' All Riders attached to this Security lnstrument that are signed by Borrower will be
called "Riders.n The following Riders aro to bo signed by Borrower lcheck box as applicable]:
m      Adjustable Rate Rider           l---| Condominium Rider                       f] 1-4 Family Rider
l--l   Graduated Payment Rider         f--l Planned Unit Dovelopment Ride¡           f-'l Biweokly Payment Rider
l-l    Balloon Rider                   f-l   Rate lmprovement Rider                  f-l Second Home Rider
T-l    Other(s) [specifyl



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ì
                                                                                  03-2403-06835922s-7

.(ll 'Applicable       Law.l All controlling applicable federal, state and local statutes,.regulations,
'ordinances        and administrative rules and orders (that have the effect of law) as well as all
applicable final, non-appealable, judicial opinions will be called'Applicable Law'n
(ii     "Commun¡ty Association Dues, Fsos, and Assessments.' All dues, fees, assessments and
 other óharges that are imposed on Borrower or the Property by a condominium association,
 homeowneis assocíation or similar organization will be ealled "Community Association Dues,
 Fegs, and Assessmentsn.
 (Xl Jglectronic Funds Transfer." "Electronic Funds Transfer" means any transfer of money, other
 ifrån Uy check, draft, or similar paper ¡nstrument, which is initíated through an electronic term¡nal,
telephonic instrument, computer, or magnet¡c tape so as to order, ¡nstruct, or authorize a financial
 institution to debit or credit an account. Some eommon examples of an Electronic Funds Transfer
 are point-of,sale transfers (where a card such as an asset or debit card is used at a merchant),
 automated teiler machine (or ATM) transact¡ons, transfers initiated by telephone, wire transfers.
 and automated clearinghouse transfers.
 (Ll .Escrow ltoms,. Those items that are described in Section.3 will be called 'Escrow ltems."
 ini'.ftl¡"""ltaneous prooeeds.' 'Miscellaneous Proceeds' means any compensatiòn, settlement,
award of damages, or proceeds, whether by way of iudgment, settlement or otherwise, paid by
any th¡rd party (other than insurance proceeds paid under the coverage described in Section 5)
for: (í) damage to, or destruction of, the Property; (ii) condemnation or other taking of all or any
part of the property; (¡¡¡) conveyance in lieu of condemnation or sale to avoid condemnation; or
       .i"r"presentations of, or omissions as to, the value and/or condition of the Property. A taking
ii.r)tthe
of         property by any governmental authority by eniinent domain is known as "Condemnation."
(Nl 'Mortgage lnsurancã." "Mortgage lnsurance" means insurance protecting Lender against the
nonpayment of, or dafaulf'The on, the Loan.                                       '<.
                                  règulaily   sctieduled.'amount.dúeJor.'(i).priricipái.ahd,¡ntereFt     under
iõ;i;;r¡"d¡i'þ"vn¡,'"rit.'
inè Ñot",.plus (iii any amounts under Section 3 wíll        be ealled "Periociic Payment."
{p) 'RESph.. "RESdA" means the Real Estate Settlement Procedures                 Act (12 u.s.c- Subsection
ädOt ut seq.) and its irnplementing regulation,       Regulatiori  X (24  C.F.R.  Part 35OO), as they m¡'ht
be amended from tirne to time, or any             additional or   successor   legislation   or regulation that
governs the same subject matter.         As   used  in  this Security  Instrument,     'RESPA"    refers to all
iequirements and restrttions      that  are  imposed    in regard  to a  "feder-ally  related rnortgage  loan"
evån_if,tþ.f, Loan does  not qualify:as  a "federally  related             loan" under    RESPA'
                                                               Tortgage

BORROI¡,Ì:]R'S TRANSFER TO LENDER OF RIGHTS lN THE                  PROPERTY
                                                                                        ,,,:.

                     and convev the .Propert! to tendËt
!, mortsab,":-gluor                                               "nifrni: lîJT,rïiì:;"ît;Jii";åïii
lnstruineni.ì.This means that, by signing this Security lnstrume
                                                                                                 gives to
tnåt, ârä stated in this Security lnstrument and also those rights that Applicable Law
le;;";;t;hã r'.¡à morrgages on reat     property.     I am giving  Lender  these rights to protect Lender
from possible losses that rníght result if I fail to:

           (A) pay aU the amounts that I owe Lender as stated in the Note including, but not limited
           to, all renewals, sxtensions and modifications of the Note;
           (B) pay, w¡th ¡nterest, any amounts that Lender spends under this Security lnstrument to
           protect the value of the Property and Lender's rights in the Property; and
           iC) fu"p a1 of my other promises and agreements under this Security lnstrument and the
           Note.



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                                                                                          03   -2403 -0683s9225-7
     DESCRIPTION OF THE PROPERTY

     I give Lender rights in the ProperÇ described in (Al through (G) below:
          (A| The Property which is located at   ¿6 GT,¡ÌÑ ROAD
                                                                               fStreetl
                  EÃSTcHESTFIR              , New York             rozo?   -
                teity, town or Villagel                           fZiP Codel
        This Property is    in   wêsÞrlhêßher                            County.    lt    has the following    legal
        description:
        I,EGÀ], DESCRIPTION TtO BE ATTACIIED HERETO A¡¡D MADE                  À   PART HEREOF




        (Bt All buildings and other improvements that are located on the Property described                      in
        subsection (A) of this section;
  _     (Cl All rights in other, property that I have as owner of. the P.roperty describdd in subsection , .
,,."
'                      .'                             '(
        iRio.r,thiJsection.,'Thu"" iíght" urs thãwn as."eas'emeniS antl.uþprÍt"r,un"", ahached to tha
        Þ'óó";ti;                                                 .'
                                                                                                                         ,




        (D) All rights that I have in the land which lies in the streets or roads in front of, or next to.

        lff ïii?,ïi,å"ï:.o:iJHf:î,iîi1l¡J'yffï:'i                 the properry described in subsections
       (A) and (B) of th¡s section;
       (F) Alt of the rights and. property described in subsections (B) through (E) of this section that I
       acquire in the future; and
..     (G) All replacements of or additions to the.Property described in subsections (B) through (F) of
       this section and all proceeds of insurance for loss or damage to, and all Miscellaneous
,,     Proceeds of the P{eperty described ín subsections (A),through (F} of this section.           :,,

'                                                                           -
.BORROWER'S RIGTIT TO MORTGAGE TTIE PROPERTY                           AND BORROWER'S
                                                                              'l'     OBLIGATION TO
 DEFEND OWNERSHIP OF THE PROPERTY

 t promise that: (A) llawfully own the Property; (B) I have the right to'mortgage, grant and convey
 the Property to Lender; and (C) there are no outstanding claims or charges against the Property,
 except for those which are of public record.

 I give a general wârranty of t¡tle to Lender. This means that I will be fully.responsiblo for any
 losses which Lender suffers because someono other than myself has some of tha rights in the
 Property which t promise that I have. I promise that I will defend my oWnership of the Property
 against any claims of such rights.




N6W YORK
73234 (O2-Orl                                    Page 3   of 19                                   TO BE   RBCORDED




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                                                                                           Policy No.: M 8832 - 823789


                                                    SCHEDULE A
                                                 LEGAL DESCRIPTION
                                                                                                         thereon
                  AII that cert¿in plot, piece or parcel of land, with the buildings and improvements
                  erected, situate, fyinf ÃJU"ing in the Town of Eastchester,
                                                                                  County of Westchester and State
                                                                                  on  a cefain map entitled "Map
                  of New york being íois B8Z añd a portion of 883 as shown
                  of Property uerongng to the New York central Realtycompany,
                                                                                         w.H' cooper, President'
                                                                                     Westchester County' N'Y'"
                  known as Westchest; Pafk, situated on the Harlem Railroad,
                                                                                 of the westchester county (now
                  dated June 30, 1906 and filed in the office of the Register
                                                                                                   14' 1906' as
                  'Westchester
                                County Clerk's Office Division of l¿nd Records) on November
                                                                                      as follows:
                  Map No. l1z}beiigmore particularly bounded and described
                                                                                division line between Lots
                  BEGINNING at a point on the westerly side of Glen Road at the
                  881 and 882 on the afor.esaid maP;
                                                                                06 minutes 43 seconds west
                  RUNNING THENCE along said division line south 79 degrees
                                                                              on'the aforesaid map;
                  I55.73feet to the division ñne between I¡ts 882 and Lot 893
                                                                            line between I-ots numbers
                  RTINNING THENCE along said division line and the division
                                                                               to a pcint;,
                  Aiã*JSg? Norrh.28 degrães,32 rninuteq 00 seqondp East 31.62                 i, .,   .
                  (     '                                  "'
                  RUNNING THENCE through Lot 883 North 58 degrees 2l
                                                                                minutes 48 seconds easi ZZ'¡O
                                                                             aforesaid map;
                  feet to the division line bqtween l-ots 883 and 884 on the
                                                                           0ó minutes 43 seconds East
                  RUNNING TTmNCE along said division line North 79 degrees
                  64.00 feet to the westerly side of Glen Road;
                                                                                  on a curve to the right having    a
                  RUNNING.THENCE along said westerly side of Glen Road
                                                                                  BEGINNING'
                  ,^¿iur àf :f S a distance ot3O.Z+ feet to the point or place of
                                                     ,t'
                              -a


                  SAID PREMISES also being known                as           46 Glen Rd
                                                                             Eastchester, New York




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4612 (v93)
f.IY Alta l-oân
                                                                                                                         MP   -   001-3
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                                                                             03   -2403 -0 68359225-7
  PLAIN LANGUAGE SECURITY INSTRUMENT

  This Security lnstrument conta¡ns promises and agreements that are used in real property security
  lnstruments all over ths country. lt also contains other promises and agreements that .vary in
  differerit parts of the country. My promíses and agreements are stated in "plain language."

  COVENANTS

    I promise and I agree with Lender as folfows:
         f . Borrowor's Promise to Pay. I will pay to Lender on t¡me principal and interest due under the
    Note and any prepayment, lats charges and other amounts due under the Note.
    I will also pay all amounts for Escrow ltems under Section 3 of this Security lnstrument.
        Payments due under the Note and this Security lnstrument shall be made in U.S. currency. lf
    any of my payments by check or other. payment inslrument is returned to Lender unpaid, Lender
    may require rny payment be made by: (a) cash; {b) money order; (c) certified check, bank check,
   treasuror's check or cashier's check, drawn upon an institutíon whose deposits aro insured by a
   federaf agenèy, instrumentality, or entity; or (d) Electronic Funds Transfer.
        Payments are deemed received by Lender when received at the location required in thê Note,
   or at another location designated by Lender under Section 15 of this Security lnstrument. Lender
   may return or accept any payment or partial payment íf it ¡s for an amount that is less than the
   amount that is then due. lf Lender accepts a lesser payment, Lender may refuse to accept a
   lesser payment that I may make in the future and does not wa¡ve any of its rights. Lender is not
   obligated to apply such lesser payments when it accepts such payments. lf interest on principal
   accrues as if all Periodic Payments haC begn paid when due, then 'Lender need not Ð,ay intersst on
  ,unapplied fuirdg. Lender mayihqld éuch'uìiapplìeil ftrnds until I mako pþments, to bring tfrç Loan '
                                                                                                             <.
                                                                                                             '1

' currsnt. lf I do not dô so within a reasonable period of t¡mb, Lender will either apply such funds or
   return them to me. ln the event of foreclosure, any unapplied funds will be applied to. the
   outstanding principal balarice immediately prior to foreclosure. No offset or claim which I might
  have now or in the future against Lender will relieve me frorn making payments due under the
  Note and this Security lnstrurnent or keeping all of my other promises and agreements secured by
  ihis Security lnstrument.
        2. Apptication of Borrowerls Payrnents and lnsurance Proceeds. Unless Applicable Law or this
  Section:2irequires otherwise, Lënder will apply each of my payments that Lenäer accepts in the
  following order:

        ll'iå;;;,;;'öä"-;J;åî"'ñãiài"'i¿ :
  First, toþay any interest due under the'Note;
  i.iå.ì1
  Next. to'þay the    amounts  duo  Lender under Section  3 of this Security
                                                                                     ;,'
                                                                             lnstrument.
  Such payments w¡ll be applied to each Periodic Payment in the order in which it became due. Any
  remaining amounts will be applied as follows:
  First, to pay any late charges;
  Next, to pay any other amounts due under thís Security lnstrumenq and
  Next, to reduce the principal balance of the Note.
       lf Lender receives a payment from me for a late Periodic Payment which includes a sufficient
  amount to pay any late charge due, the payment may be applied to the late Periodic Payment and
 thê late charge. lf more than one Periodic Payment is due, Lender may apply any payment
 receíved from rne: First, to the repayrnent of the Periodic Payments that are due if, and to the
 extent that, each payment can be paid in full; Next, to the extent that any excess exists after the
 payment is applied to the full payrnent of one or more Periodic Payments, such excess may be
 applied 10 any

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 late charges due.
                                                                        prepayrnent charges; and Next'
     Voluntary prepayments will be applied as follows: First, to any
 as descríbed in the Note.
                                                                                         to principal due
     Any applicaüon of payments, insurance proceeds, or Miscellaneous Proceeds
                                                                     Periodic Payments or change the
 under the Note will noi extend or postpone ir,u dr" date of the
 amount of those Payments.
                             for Taxes and lnsuranco'
                      -óftig.tlonu.
     3. Monthty Payments
     {al Borrowur,"                   I will pay to Lender- all. amounts necessary to pay for taxes,
                                                                                     leasehold payments
 assessments, water charges, sewer rents and other s¡milar charges, -gtoY$                  (if anvl, and
                                                                           flood insurance
 ;;;;;'iii ãnvi;tuturJ o", prop"rty insurance coveringasthedescribed in section 1o in the
                                                                 Property,
                                                                                                 ptace of
 any required Mortgage lnsurance, or a loss resefve                                     toward   payment
 Mortgage lnsurancJ. Ëach      periodic Payment will include an  amount  to  be applied
 of thã tãtlowing items which are cafled "Escrow ltems:"
         (1) The taxes, assessments, watef charges, sewef rents and other similar charges, on the
         property wn¡Ëfr un¿er Applicable taw. mãy be superior to th¡s Security lnstrument as a lien
                                                                                   property because an
         on the propuity. Any ciaim, demand or charge that is made against
         obligation has not been fulfilled is known as a "lien;"
         (2]tThe leasehold payments or ground rents on the Property (if any);
         (3)       premium'tor any and all insurance required by Lender under Section 5 of this
                 The
             Security lnstrument;
                                                         (if
             {4} The premium for Mortgage lnsurance any};
             (S) The amount tmay be required          to   pay Lender under Sectíon 10 of this Security
             lnstrument instead.of the   payment  of the  premigm for Mortgagf lpu¡a1ce (if any); and
                                                                            -Aóiociation
     .   .          ;"*¡;ä   bv'.'l"Àtr"i-irlã,          for .ny Cofnmuniiy              Dt¡es,'Fees 'ánd ' , '
::           iõ'];t
         Assessqnents.'
                                             ' ambunt
                                                 t                                           ' '
                                                                                             these amounts as
      After signing the Note, or at any t¡me during ¡ts term, Lender may includobased                 on Lender's
  Escrow ltems. The monthly payment I will make for Escrow ltems will bs
  --
  est¡mate   of the annual amount required'
                                                                                                    I do not havs
      f w¡ll pay all of theso amounts to Lender unless Lender tells me, in writing, that
                                                                                       payments      on the same
  to do so, or unless Applicable Law requires otherwise. I witl make          these
  day that my periodic ËãV-unt" of principal and interest    are due    under  the    Note.
      The   amounts    ar,",-i pây to ien¿er for  Escrow   ltems    under- this section 3 will be called
  .Funds." I will pay Lendei the Funds for Escrow ltems¡nless Lendeilwaives my obligation t9;p-ay
                                                                 my ou!1o9tio1.to pav l-ender runjg f11
  1il'i"î¿" f;; ;; oi'åìi-È""ro* ll"r". Lende¡,.,mav waivemust.b:in
  ;;;'"; "ñ i;;;;; ir"'äå ã, any time.    Any  srich  wlive¡
                                                           the
                                                                             y,'lt':9. !..thq evept of .such
                                                                             due    fo¡ anv Escrow ltems for
I
  wáuãr, i'will pay áì¡;è.V; ;hån ano     where  þavable,       ¡lî,ounts
                                   b""n waived uy   Lender   and,  if Lende.r'requires,      wíll promptly send
  which payment
                     "tËùi¿ïi".
  to Lender receipts showing such      payment  within  such  fime    period   as    Lender   may require. My
                                                                                           to be a promise and
  obligation to make *"ft puit"nts'and to provide receipts will be considered
                                                                            npromises
                                                                 phrase                    and agreernents".is
  agreement conlained in'this Security lnsirument, as the
  used in Section 9 of this Security lnstrument. lf I am obligated to
                                                                                pay    Escrow     ltems directly,
                                                                                  ltem,   Lender    may pay that
  pursuant to a waiver, and I fail to pay the amount due for an Escrow
  amount and I will then be obligated under section 9 of           this   security    lnstrument      to repay to
                                                            Escrow     ltems   at  any  time  by   a  notice  given
  Lender. Lender may revoke the úaiver as to any or all                               revocation,     I will pay to
                                                    lnstrument    and,   upon   tha
  in accordance with section 15 of this security
                                              then  required  under   this  Section    3.
  1""ã"i Funds, and in arnounts, that are                                        Escrow ltem amounts to be
          "l¡
      I promise   ao proÃp,lv gend to Lender any notices that I receive of
  paid. Lender wiil estimate from time to time the amount of Funds I will have to
                                                                                                     pay by using


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   ex¡sting asses;ments and bills and reasonable est¡mates of the amount I will have to pay for
   Escrow ltems in the future, unless Applicable Law requires Lender to use another method for
   determining the amount I am to PaY.
        Lender may, at any time, collect and hold Funds in an amount sufficient to permit Lender to
  apply the Funds'at the time specified under RESPA. Applicable Law puts limits on the total
   amount of Funds Lender can at any time coltect and hold. This total amount cannot be more than
  the maximum amount a lender could require under RESPA. lf there is another Applicable Law that
  imposes a lower limit on the total amount of Funds Lender can collect and hold, Lender will be
  limited to the lower amount.
       {bl Lendor's Obtigations. Lender will keep the Funds in a savings or banking institution which
  has its deposits insured by a federal agency, ¡nstrumentality, or entity, or in any Federal Home
  Loan Bank. lf Lender is such a savings or banking institution, Lender may hold the Funds. Lender
  will use the Funds to pay the Esøow ltems no later than the time altowed under RESPA or other
  Applicable Law. Lender will give to me, without charge. an annual account¡ng of the Funds. That
  aócounting will show all additions to and deductions from the Funds and the reason for each
  deduction.
       Lender may not charge me for holding or keeping the Funds, for using the Funds to pay
  Escrow ltems, for making a yearly analysis of my payment of Funds or for receiving, or for
             and totaling ass""srents and bills. However, Lender may charge me for these services if
  verifying-pay"
  Lender          m" ¡nterest on the Funds and if Applicable Law permits Lender to make such a
  charge.-Lender will not be required to pay me any interest or earnings on the Funds unless either
  (11 Lãnder and t agree in writing that Lender will pay interest on the Funds; or (2) Applicable Law
  requires Lender to pay intereét on the Funds.
       fcl Adiustments to the Funds. Under Applicable Law, the¡q !s a limit on ,the.qmount of Funds
.u"håål'iäîil:       ii;ñt;ü;!iî,"!"               Å-.,iJ;;rl*¡"; *n"!àå" thrs,rimid, tþén'thereu,/irr,Ée an,
  éxcess urä.int and ngspR iequires bender to account to rhe in.a special manner for the excess
  amount of Funds.
  , ll,,at any time, Lender has not received enough Funds to make the payments of Escrow ltems
 when the payments are due, Lender may tell me in writing that an additional amount is necessary.
 I will pay io Lender whatever additional amount is necessary to pay the Escrow ltems when the
 payments are dus, but the number of payments will not be more than twelve.
       When t have paid.all of the Sums SeCured, Lender will promptly refund to me any.Funds that
 are then being.heíd by Lender.                  :                                               :




      ,4.',Borroõerts.Otiigation    t-o  Pay Chargos,     Assessments a.nd Claims, l.will pay all taxes,-
 assessments.     watgi   chãrges;  sewer  lqrlts, and  other similar. charges, and a1Y, other c!:largês and
 fi;;-;À;;t¡|jy:-uãi¡rJå5j      on  tir" Propeity   and that may  be suþerior to this.security tnstrument. I
       ä¡s" maká giounä r"nt" or payments due under my lease if l am a'tenant on the Property and
 ',ili
 Community Rsióclæ¡on Dues, Fees ànd Assessrnenls (if anyl due on the:Property. lf these items
 are Escrow ltems, I will do this by making the payments         as described in Section 3 of th¡s Security
                                                             nperson"   means any individual, organization,
 lnstrument. ln .this Security lnstrument, tho word
 governmental authority or other party-
       I will promptly pay or sat¡sfy alt liens against tho Property that may be superior to this
 Security lnstrument. However. this Security lnstrument does not requira mg to satisfy a superior
 lien if: ia) I agree, in writing, to pay the obligation which gave rise to the'superior lien and Lender
 approves the-way in which I agree to pay that obligation, but only so long as I am performing
         ugru"menç ib) in good faith, I argue or defend against the superior lien in a lawsuit so that
 in Lendlr,s opinion, during the lawsuit, the superior lien may not bo enforced, but only until the
"rän
lawsuit endsi or (c) I secure from the holder of that other lien an agreement, approved in writing


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    by Lender, that the lien of this Security lnstrument is superior to the lien held by. that person. lf
    Lender deterrnines that any part of the Property is subject to a superior lien, Lender may give
    Borrower a notíce identifying the superior lien. Within 1O days of the date on which the notice is
  ' given, Borrower shall pay or satisfy the superior lien tir take one or rnore of the act¡ons mentioned
     in this Section 4.
          Lender also may require me to pav a one-time charge for an independent real estate tax
     r€port¡ng service used by Lender in connection with the Loan, unless Applicable Law does not
     permit Lender to make such a charge.
          5. Eorrower's Obligation to Maintain Hazad lnsuranco or Property lnsuranco. I will obtain
    hazard or property insurance to cover all buildings and other improvements that now are, or in the
    future will be, located on the Property. The insurance will cover loss or damage caused by fire,
    hazards normally covered by "extended coverage" hazard insurance policies, and any other
    hazards for which Lender requires coverage, including, bùt not limited to earthquakes and floods.
    The insurance will be in the arnounts (including, but not l¡m¡ted to, deduct¡ble levelsl and for the
    periods of tíme required by Lender. What Lender requires under the last sentence can change
    during the term of the Loan. I may choose the insurance cornpany, but my ohoice ís subject to
    Lender's right to disapprove. Lender may not disapprove my choice unless the dísapproval ís
    reasonable. Lender may require me to pay either (a) a one-tirne charge for flood zone
    deterrnination, certificat¡on and tracking services, or (b) a one-time charge for flood zone
 -  determination   and certíficat¡on services and subsequent charges each time remappings or similar
    changes occur which reasonably might affect the flood zone determination or certíficatíon. lf I
    disagree with the flood zone determination, I may request the Federal Emergency Management
   Agency to review the flood zong determination and I promise.to pay any fees charged by the
. .Federài Erifergency Mánagement Ageney.for its,reVíew. ..               , '''    ,' ,:,-.                ' .,,i
'' ( lf .l' fail to maíntaín airy of the insurancè'coveragei 'described         abov'e, L'ender'may obtain
   insurance coverage, at Lender's option and my expens€. Lender is under.no obligation to purchase
   any particular type or amount of coverage. Lender may purchase such'insúiance from or through
   any company acceptable to Lender including, without limitation, an affiliate of Lender, and
   Borrower acknowledges and agrees that Lenderrs affiliato may receive consideration for such
   purchase. Therefore, such coverage will cover Lender. but rnight or might not protect me, my
   equity in; the'Property, or the contents of the Property, against any risk, hazard, or liability and
   might piovide greater or lesser coverage than was previously in effect. I acknowledge that the
   cost of the insurance coverage so obtained might significantly exceed the cost of insurance that I
  coutd,-;hgve obtained. Any amounts disbursed by Len.de¡'unde¡ this Se.ction. 5 will beco'me my
   adOitión:äl debt s_ecured by tlìis Security lnsirument;'. T,hese amou¡1tS,will,:tjear intsrest,", ,¡s ,:'
                                                                                                               '
 ,interest''rate set fòrth in the Note from'the date of disbursement and'will 6e'payable with such
. interest, upon not¡ce frorn Lender to me requesting pàymsnt.'                      '

        All of the insurance   policies and renowals of those pôlícies will  include   what is known as a
   "standard Mortgage Clause" to protect Lender and will narne Lender as mortgagee and/or as an
  additional loss payee. Borrower hereby absolutely and irrevocably assigns to-Lender all of
  Borrower's right. t¡tle and interest in and to all proceeds from any insurance policy (whether or
  not the insurance poficy was required by Lender) that are due, paid or payable with respect to any
  damage to such property, regardtess of whether the insurance policy is established before, on or
  after the date of this Security lnstrurnent. By absolutely ånd irrevocably assigning to Lender all of
  Borrower's rights to receive any and all proceeds from any ínsurance policy, Borrower'hereby




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 wa¡ves, to ths full extent allowed by law, all of Borrower's rights to receive any and all such
 insurance proceeds.
      Borrower hereby absolutely and irrevocably assigns to Lender all of Borrower's right, title and
 ¡nterest in and to (a) any and all claims, present and future, known or unknown, absolute or
                                                                                                                       (whether
 contingent, (b) any and all causes of action, (c) any and all judgments and settlements
 througi    litigation, mediation,  arbitration or   otherwise),       (dl  any     and     all funds     sought    aga¡nst    or
        -any                                             (el   any    and     all  funds      received      or   receivable     in
.from           õahy or   parties  whosoever,    and
 connection with any       iJamage  to such   property,     resulting    from     any   cause       or caúses     whatsoever,
 íncluding but not limited to, land subsidence, landslide, windstorm, earthquake, fire, flood or any
 other cause
      Borrower agtees to execute, acknowledge if requested, and deliver to Lender, and/or upon
 notice from Lender shall request any insuranco agency or company that has issued any insurance
 policy to execute and deliver to Lender, airy additíonat instruments or documents requested by
 Lendêr from time to t¡me to evidence Borrower's absolute and irrevocable assignments set forth
                                                                                                                                in
 this paragraph.
     ir,".ror* of all policies and renewals will be acceptable to. Lender. Lender'will                         have the right
to hol¡ the poflcles and renewal certificates.           lf  Lender     requires,     I  will   promptly      give   Lender all
receipts of paid premiums and renewal         notices   that   I ieceíve.
   ' ti I oUta¡n any form of insurance coverage, not otherw¡se required by Lender, for damage to,
or destruction of, the Property, such policy will inctude a standard mortgage clause and will name
 Lender as mortgagoe and/or as an additional loss payee'
     lf there is a loss or damage to the Property, I will promptly notify the insurance company and
Lender. lf I do not promptly lrove to the insurance company that the loss or
                                                                                                          damage .occurred,
then Lender l¡ay do so.                                              .'     .
 ::îTh;;i.qüii oã¡j-iy the ihsurun"u
                                                                                 <.

                                                                     los,s'ol oaihage'¡io.thp Propertv ii'called
 nproceeds." 'Unless Lenáer and I otheriruise   "òrpan!.{or
                                                     .agree in writing, any proceeds,' whether or not the
underlying insurance was required by Lender, will be used to'repair or to restore ths damaged
properïy õnless: {a} it is not economicatly feasible to mako the repairs or restoration; (b) the use of'
tho'proteeds for that purpose would i"s"un the protection given to Lender by this purpose.                              Security
 r-nãrl|nãna, or (c) Lender and I have      agreed    in  wr¡t¡ng     not  to  use    the    proceeds      for  that
                                                                                                                     proceeds
óuting the period that any repairs or restorations are being made, !end9¡ may hold any
until it has had un opportrnity to inspect the Property to verify that the repair work has
                                                                                                                            been
                ,o Lenderfs-satisfact¡on. However, this inspectign wlll be done.promntlv.                          Lender    may
"àrpioé¿
åjüã'iãvrãni*- tãi the repairs and,restoratons i1 ?,{ls]"                     pavment:or.in            a  serie¡,ot.prosqess
ouu*u¡ré as the         *orL  ¡r ãompteted.  Unless     Lenderland        l-agree     otherw¡se        in writing or. unless
ffi;.,"i|Élà*,ruouìr"" otherwise, Lender is not required tó patties            pay   me     ariy   interest   or earnings'o-n
                                                                                          that   I  hire,  and  their fees.will
fü"¡r""åãj;.'i *lli p"v-r"i ."v p"úlic adjusters or other third ¡s not economioally feasible                              or if it
;;t il;;ldlout of ir,é proceeds. tf the repair or restoration      lnstrument,       then     the    proceeds     will  be  used
would lässen Lender's irotection under this Security
to reduce the amount that I owe to Lender                 under     this   security       lnstrument.        such    insurance
proceeds will be applied in the order providad for in Section 2. lf any of the
                                                                                                     proceeds remain after
ih"              that I ows to Lender  has been   paid   in  full, the   remaining      proceeds       will be paid to me.
     ",,.,ount
     lf I abandon the     property,  Lender  may   file,  negotiate      and   settle    any    available    insurance claim
and retated matters.       lf I do not  answer,  within      3o   days,    a  notice     from      Lender    stating    that the
insurance company has offered to settle a claim, Lender may negotiate and
                                                                                                      settle  the   claim'   The
3O-day period:wití begin when the hotíce is given. ln eíther event.                           or   if  Lender     acquires    the
propeåy under SectioiZZ of this Security lnstrument or otherwise,                       I  give   Lender    my   rights   to any
                                                                                                               Note and this
¡nsùranåe.proceods in an amount not greater than the amounts unpaid under the


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            Security lnstrument. I also give Lender any other of my rights (other than the r¡ght to any refund
            of unearned premiums that I paid) under all insurance policies covering tho Property, if the tights
            are applicable to the coverage of the Propefi. Lender may use the insurance proceeds either to
            repair or restoÍe the Property or to pay amounts uripaid under the Note or this Security
            lnstrument, whether or not then due.
                6. Borrower's Oblígatíons to Occupy The Proporty. I will occupy the Property and use the
           Property as my principal residence within sixty days after I sign this Security lnstrument. I will
           continue to occupy the Property and to use the Property as my principal residence for at least one
           year. The one-year period will begin when I first occupy the Property. Howevêi, I will not have to
           occupy the Property and use the Property as my principal residence within the time frames set
           forth above if Lender agrees in writing that I do not have to do so. Lender may not refuse to agree
           unless the refusal is reasonable. I also will not have to occupy the Property and use the Propert1,
           as my principal residence within the time frames set forth above if extenuating circumstances
           exist whích are beyond my control.
                7. Borrower's Obligations to Maintain and Protect The Property And to Fulfill Any Leaso
          Obligatlons
                (a) Maintenance and Protectíon of ths Property. I will not destroy, damage or harfn the
          Property, or remove or demolish any building thereon, and I will not allow the Property to
          deteriorate. Whether or not t am residing in the Property, I will keep the Property in good
          condition and repair so that it will not deter¡orate or decrease in value due to its condition. Unless
          it is determined under Section 5 of this Security lnstrument that repair is not economically
          feasible, I will promptly repair the Property in good and workmanlike manner if damaged to avoid
          further deterioration or damage. Lender shall, unless ot¡erw¡se agreed i¡ writing between Lender
,.   ,, .añd Borrowei, have the_¡ighi'to'hqld insurañae or oendemnation pnoceotJp. lf i¡sí.ríánce o¡
 '       conderfination (as descritied in. tha definitión of Mi'scell'aneouè Proceeds) proceèds are pa'id'
         because of loss or damage to, or condemnation of, the Property, I will repair or restore the
         Propeny only if Lender has released those proceeds for such purposes. Lender may, pay for the
         repairs and restorat¡on out of proceeds in a single payment or ín a seríes of progress payments as
         the work is completed. lf the insurance or condemnation proceeds are not sufficient to repair or
         restore the Property, I promiso to pay for the completion of such repair or restorat¡on. Lender does
         not make any warranty or representation regarding. and assumes no responsibility for, the work
         done on the Property, and Borrower,;              not have any right to rely in any way on any
         inspection(s)  "by  or for Lender or its                   shall be solely respgnsible for determining
         th                  done in a good,
       all
                         tnspection of             l-énder,          author¡zed by Lendgr; riray enter on
       and inspect the Property. They         'do: so  in a         manner   and at reasonable'times. lf it
       has a ¡:easonabte purpose, Lender may inspect the ¡nside of the home or other improvements on
       the Property. Before or at the time an inspection is rnade. Lender will give me notice stat¡ng I
       reasonabte purpose for such interior inspection.
           Borrower shall {a) appear in and defend any action or pro-ceeding purporting to affect the
       security hereof, the Property or the rights or powers of Lender; (b) at Lender's option, assign to
       Lender, to the extent of Lender's interest, any claims, demands, or causes of action of any kind,
       and any award, court judgement, or proceeds of settlement of any such claim, demand or caus€
       of action of any kind which Borrower now has. or may hereafter acquire arising out of or relating
       to to any ¡nterest in the acquisition or ownership of the Property. Lender shall not have any duty
       to prosecure any such claim, domand or causo of action. Without limíting the foregoing, any such
       claim, demand or cause of action arising out of or relating to any interest in the acquisition or


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o*n"r"n,o of the Property may include (i) any such injury or damage to the Property
                                                                                                  includíng
                                                  or improvement     situated thereon,  (ii) or  any  claim
without limit injury or damago to any stfuctufe                                            in whole    or in
                                                       out  of the transaction  financed
or cause of action in favor of Borro*ur which   arises
part by the making of the loan secured hereby, (ii¡) any claim or cause of act¡on in improper      favor of
ããrio*",. (except lor bodily. iniury) which arises as a result without  of any negligent or
construction. ¡ngtall;t¡on oi  reóaii  of  the  Property   including             limit, any surface or
                                                                      (iv)                  of ínsurance'
subsurface thereof, or of any buifding or slructure thereon or
                                                                           any  proceeds
                                                                                                relating to
wnetner or not requireO by Lénder,, payable as a resutt of any damage to
                                                                                or otherwise
                                                                                 monies   so  received    by
the property or any intereét therein.'Lender may apply. uss or release such
                                                            proceeds of insurance'
¡t ¡n the same manner as provided in Paragraph 5 for the
'""d:'"'#;;;;;;;"for"     Apptication. lt, ãurìng the appticatíon process for the Loan, l, or anv
                                                                                        false' misleading
person or ent¡ty acting at my direction or with my knowledge or'consent' made
or ínaccurat. stat"-ãnts to Lender about information         important  to  Lender   in  determining my
                                                       with  such  information),   Lender   will treat my
eligibility for the Loan tor did not provide Lender
actions as a default under this security lnstrument.      False, misleading  or  inaccurate   statements
about information ¡rpårtánt to Lendei      would   include  a  misrepresentation         ty
                                                                                    9f misleading to
                                                                                             intehtion
                            principal            This  ïs iust oñO  example   of  a-false'               or
occupy the Property äs a              residence.
ínaccurate statement of important ¡nforrn at¡on'
     g. Lender,s n¡ghi i" pãi""t lt" Rights in Tho Proporry. lf: (a) | do not keep my promise.s and
                                                                       including me' begins a legal
agreements made in this Security Instrument; (b) someone.
proceeding that may silnificantly åffect Lender's interest ín the Property
                                                                                   or rights under this
                                                                     in  probate,  for  condemnation or
Security lnstrument t"rðft as a tegat pro"""ding in bankruptcy,
                                       g¡u" u p"¡.ðon rights which    could  equal   or exceed Lender's
torfeiture, proceedings which                                                                     of a llen
                                                                                                                    " '
                                "ortA                           proceedings  for  enfqrggment
interest in the property,or under thls Sqcurity. lnstrument,
which may,becom" ;fuîi,;                                             i";;;;;;i;*;";;ébùi"ü;ñ!;,
                                                            "; pay for whatevejr is .reasonabre'or
                                                                                                    or (c),r"                 ,




have abandonea tns-'ñ¡il;:    'ä,'r,,ri'äe",;îvìi.;;;l;
                                   ;h"J Lenáer may'do and
appropriato to protect Lenderis interest in the    Property   and Lender's rights under this Security
tnsttf;:¡"                                                                                   the value
                       may inctude, but aro nor r¡mited to: (a) protecting and/or. assessing
            "ro";.
of the Property; (b) sbcuring and/or repairing the Property; (c) pay¡ng sums to eliminate any lien
against the property-th"a mãy ue equar or ãuperior to th¡s
                                                                  security lnstrument; {d) appearing ín
                                                       protect ìts intere,st ¡l ,h"^-P19ï1v a¡d/ol riofts
court; and (e) paying r""ron"ú¡*ànoin"y"' feó to
                                                          position in a bankruptcy pio.ceeding' Lender
under thisjsecurity írrstiumunt, including its secured
                                                                                                                     '




càn atso enter..,tho,rproperry to,mak".rå;J;;;;^!;.¡o"1., t"pl"".
                                                                                 òt board up -d-oo¡9.,'and      ,


                                                                  o1¡s¡.' fqdá:  vii¡lla1igns or dansdlro.¡5 :
fiTrå"ä;åiãirr'lnià,!l'?;;m., R!R-e",,. ei¡rn¡n"tei britding.¡or otn"i'u"iion     to.ie re the,pi'oôertv',' ,'""'
conditionêi tuu.,u.iùii"J'.,il;;;dtõ oî,'ott, and take-;áh.¡
                                                           g;                        rraùå to:¿o so'and'¡s
Arthoush Lender:."i'il.å"';åiå",ii¡ä', liíríä"ìr".
                                                              lunu"r,doesìnot
                      sv" ev'vv
undernoduty.todoso.l.agreethatl-enderwillnotbeliabtefornottakinganyorallactionsunder
thiisection 9.                                                                     ,- r^- À,
                                                                            spends under this section 9' I
     I will pay to Lender any amounts, with interest, which Lender
                                                                              requesting that I do so' I will
will pay those amounts to Lender when Lender sends me a not¡ceNote'                 lnterest on each amount
pay ¡nterest on those amounts at ths interest rate set forth in the
                                                                    This security rnstrument will protect
w'r begin on the date that the amount is spent by Lender,               w¡th interest'
Len¿erln case I do not keep this promise to pay those amounts
                                 a         on  the   Property. I  w¡ll fulfill all my obligations under my
     ]t I do not own, but   am     tenant
                                                      (somatimes   called "fee title") to tho Property, my
loase. I also agree ,n",, ¡t i acqu¡ro the full title
                                                                          to the mergef in writing'
lease interest and the fee title will not merge unless Lender-agrees
                    lnsuranca. lf Lender reqîíred mongage        insurance     as a condition of making the
     1O. Mortgago


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 Loah, I will pay the premiums for the Mortgage lnåurance' lf,insurer for any reason' the Mortgage
                                                                             that previously provided
 lnsurance coverage            to be available frãm the mortgage
                       """"",
 such insurance and Lln¿ur required me to make separato
                                                                 pãyments toward the premiums for
                                                                      equivalent Mortgage lnsurance
 Mortgage lnsurancã, I will pay tho premiums for substantially     costs  of this Mortgage lnsurance
 coverage from an á,årnui"'*årtgug" insurer. However,
                                                              the
                                            to the cost to me theof     previous   Mortgage lnsurance
 coverage will be suUsiantia¡¡y
                                  "qùrãt"nt
            and the alternate mortgage insurer will be seleðted by
                                                                    Lender'
                                                                                 Lender will establish a
     lf substantially equivalent Mortgage ¡n.urun"" coverage is not available,
 "ou"ruõ",
                                                                                      covefage' I will
 non-refundable "toss reserve* as a substitute for       tha  Mortgage    lnsurance
                                                      equat  to  one-twelfth  of  the  yearly Mortgage
 continue to pay Lender each month an ámount                                    in           Lender will
            premium {ã-oi tne time the coverage      rapsed   or ceased  to  be     effect}.
 rnsurance
 retain these paym"nì",      will use these payments to pay for losses that the Mortgage lnsurance
                                                                                           paid in full
 would huu"              "n¿      reserve is non-refundable even if the Loan is ultimately
                                                                               Lender can no longer
              is not requîred to pay me any interest on the loss re6erve'
 and Lender "o.uer'ej.-it"-1o""
 require loss' reserve payments if:    (d  tøortgage. lnsurance  coverage    again becoines available
                                             (b)-süeh Mortgage tnsurance is obtained; (c)'Lender
 through an insuier ,å"åt"¿ by Lender;                   premiums for Mortgage lnsurance; and (d)
 requires separately designated payment; toward the
                                                         for the period of time required by Lender'
 the Mortgagu ln"uranãu äou"tug" ii in ttre amount and
       lfLenderrequiredMortgagelnsuranceasaconditionofmakíngtheLoanandBorrowerwas
                                                     prem¡ums for Mortgago lnsurance' I will pay the
  required to make separate payments toward the
                                                        payrnents' unl¡l the requirement for Mortgage
  Mortgage tn"urun"Jî;il;;, or the loss reservo
  lnsurance ,n¿"               to any wrítten ugre"muni between Lender and me providing for sugh
                   ".*iáing
  termination or untit term¡ãat¡on of MortgagJ tn"urun"" is
                                                              required by Applicable Law' Lender may
..require nidto pay.thãpie;ù;", oith"loi, reserve        payments,   in tfre manne¡ desciibed'in Sectio'n    '

                                                   Section iO  ù¡ll affàct  my obfigâtionlb pay intêrest
  3 of this Security lnstruffrent. Nothing'¡n tluS
  at the rate Provided in the Note'
      AMortgage¡n"ur"n""polícypaysLender(oranyent¡tythatpurchasestheNote}forcertain
                                                               as agreed' Borrower is not a party to the
 losses it may incur if Borrower does not repay the Loan
 Mortgage lnsurance PolicY.
      Mortgage insurers             the¡r tota¡ risk on all Mortgage lnsurance form time to t¡mo'
                           ""."""
 Mortgage insurers may enter into agreements with other
                                                                 parties.to shafe gr ch11se their risk' or
                                                                   conditio¡s that are sal¡sfactory'to ths
 to reduce losses. These agreements are based;þn terms.and
 rnortgage insurer and the other party,(or      pariies) to theso agreementst Th3s1 aOreements may
                                      'tu¡s payments    using anv source 9f .fund.s that the rnortgage
 ;;;;ìä-.il .""nö i".rt* .
                               (which may include:Mortgage lnsuranee pfemrums''
'iä"ui"t may have avaitable
'                                            Lendér, any owner 9r.tn"'ryo1:, ulollqt- ¡nsurei' anv
      As a resutt
                    "f"å;î;;ätàãtànit.
 reinsurer, or any ,ir,,¿¡'"",itvffi receive
                                              (directly oi ¡n¿irectty) amounts that come from a portion
 of Borrower,s paymentS for Mortgage lnsurance,             in exchange for sharing or changing the
                                                                    premiums paid to the insurer' the
 mortgage insurer's risk in exchange for a share of the
                                                          tt      should be understood that: (a)'any of
 arrangement is often termed Pcaptive reinsurance.n also
                                                                        has agreed to pay for Mortgage
 these agreem€nts wil! not affect the amounts-th8t Borrower
                                                             agreements will not increase the amount
  lnsurance, or any other tefms of the Loan. These
                                                       hey w¡ll not €ntitle Borrower to any rofund; and
  Borroriver will owe for Mortgags lnsurance, and
                                                                             has - if any - regafding the
  (b) any of these agfeements will not affect the iights Borrower or           any oth€r law' These rights
  Mortgage lnsurancelnder the Homeowners Protection (b)
                                                             Act  of  1998
                                                 disclosures,      to  requires and obtain cancellation of
  may include the r¡ght (al to receivo certain
                                                                     terminated automat¡cally, and/or (d)
  the Mortgag" ln"ui"n"ä, t") ,o have the Mortgage lnsurancs were not earned at the time of such
                                                                th€t
  to receive a refund of any Mortgage ¡n"uàn""-påm¡ums
  cancetlation or termination.

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          11. Agreements About Miscetlaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are
      assigned to and will be paid to Lender.
          lf the Property is damaged, such Miscellaneous Proceeds will be applied to restoration or
      repair of the Property, if (a) the restoration or repair is economically feasible. and (b) Lender's
      security given in this Security lnstrument is not lessened. Duríng such repair and restoration
      period, Lender will have the right to hold such Miscellaneous Proceeds until Lender has had an
      opportunity to inspect the Property to verify that the work has been completed to Lender's
     satisfaction. However, the inspection will be undertaken promptly. Lendor may pay for the repairs
     and regtoration in a single disbursement or in a series of progress payments as the work is
     completed. Unless Lender and I otherwise agree in writing or unless Applicable Law requires
     interest to be paid on such Miscellaneous Proceeds, Lender will not be required to pay Borrower
     any interest or earnings on thê M¡scellaneous Proceeds. lf the restoration or repair is not
     economically feasible or Lender's security given in this Security lnstrument would be lessened, the
     Míscellaneous Proceeds will bo applied to the Sums Secured, whether or not then due. The
     excess, if any, will be paid to me. Such Miscellaneous Proceeds will be applied in the order
     provided for in Section 2.
         ln the event of a Êotal tak¡ng, destruction, or loss in value of tho Property, the Miscellaneous
     Proceeds will be applled to ths Sums Secured, whether or not then due. The excess, if any, will
     be be paid to me.
         ln the evont of a part¡al taking, destruction, or loss in value of the Property in which the fair
     market'valus of the Property immediately before the partial tak¡ng, destruction, or loss in value is
     equal to or greater than the amount of the Surns Secured immedíately before the partial taking,
     destruction, or ¡oss in value, the Sums Secured will be reduced by the amount of the
     Miscellaneous Proceeds multiplied by the following fraction; (a) the total am-ount of the Sums
.    Secured jnnmediatelú'befoi.e"the'partial takiòg, de3truction, or ioss in valüe ¿¡vide¿ bVlu) the tair
     market value of .tha Property iirmediately bãfore the partial taking, dbstrueiion, or loss ià value.
     Any balance shall be paid to rne.
           ln the event of a part¡al taking, destruction, or loss Ín value of the Property in which the fair
     market value of the Pioperty immediatefy before the partial taking, destruction, or loss in value is
    less than the amount of the Sums Secured immediately before the partial taking, destruction, or
    loss in vatue, the Miscetlaneous Proceeds will be applied to the Sums Secured whether or not the
    sums aie then due.
           lf I abandoñ'the Property, or if, after Lender sends me notice that the Opposing Party (as
    defined in: the.neit sentence) offered to make an award to settle a claim,'for damages, I fail to
    respond to Lendeç withín.3O days after the date the Lender gív-es ¡e1¡ss; Lender is authorízed to
    colfect and apply, ihe Misi!¿llançqus Procèeds either to restorátfi5ñ ror repair'of tho Proþerty or to
    the Sums Secùietl,iwhethèr'or not,then due. "Opposing Par:tyi'means the third partythat owes
    me Misceltaneous Proceeds or the party against whom I have a right of action in regard to
    Miscellaneous Proceeds                                I
                                                           if any civil or crimínal action or proceeding
         I will be in defautt Únder this Security lnstrument
    that Lender determines could result ín a court ruling (a) that would require forfeiture of the
    Property, or (b) that could damage Lender's interest in the Property or rights under this Security
    lnstrument. "Forfeiture" is a court action to require the Property, or any part of the Property. to be
    given up. I may correct the default by obtaining a court ruling that dismisses the court action, if
    Lender determines that this court ruling prevents forfeituro of the Property and also prevents any
    damago to Lender's interest in the Property or rights under thís Security lnstrument. lf I correct
    the defautt, I will have the right to have enfoicement of th¡s Security lnstrument discontinued, as
    provided in Section 19 of this Security lnstrument, even if Lender has require lmmediate Payment


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                                      The proceeds of any award or claim for damages that
                                                                                                are
in Full (as defined in Section 22l,                                                         and wíll
attr¡butable to the ¿un,ãã" or reduction in Lender's
                                                     interest in the Property are assÍgned,




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                   14. Loan Charges. Lender may charge me fees for services performed in connection w¡th my
 .             default. for the purpose of protecting Lender's interest in the Property and rights under this
               Security lnstrument, including, but not limited to, attorneys' fees, property inspection and
              valuation fees. Borrower shall pay such other charges as Lender may deem reasonable for services                   ;:;.È.'
              renderdd by Lender and furnished at the request for Borrower, any suecessor in interest to
               Borrower or any agent of Borrower. With regard to other fees, tho fact that this Security
              lnstrument does not expressly indicate that Lender may charge a certain fee does not mean that
              Lender cannot charge that fee. Lender may not charge fees that are prohibited by this Security
              lnstrument or by Applicable Law.
                  lf the loan is subject to Appl¡cable Law which sets max¡mum loan charges, and that Applicablo
     .        Law is finally interpreted so that ths interest or other loan charges collected or to be collected in
              connect¡on with the Loan exceed permitted limits: {a} any such loan charge will be reduced by the
              amount necessary to ieduce the charge to tho permitted limit; and (b) any sums already collected
'             from rne which. exceeded permitted l¡m¡ts will be refunded to me. Lender may choose to make this
              refund by reducíng the principal owed under the Note or by makíng a direct payment to Borrower.
              lf a refund reduces principal, the reduction will be treated as a partiâl prepayment without any
              prepayment charge (even if a prepayment charge is provided for under the Note). lf I accept such
              a refund that is paid directly to me, I will waive any right to bring a lawsuit against Lender
              because of the overcharge.
                  15. Notices Required under thís Securlty lnstrument. All notices given by me or Lender ín
              connect¡on with this'security lnstrument wilf be made in writing. Any notice to me in connection
              w¡th this Security lnstrument is considered given to me when mailed by first class mail or when
              actually delivered to my notice address if sent by other means. Notice to any one Borrower will
         .    be notico to all Borrowers unless Applicçþle Law expressly ¡equiree otherwiss- The notice address , .   ,




         .'    notify ùen¿br of -my change of address.-lf Lender ipecifies a procedure'for reporting my change of
               address, then I will only report a change of address through that specified procedure. There may
               be only one designated notice address under this Security lnstrument at any one time. Any notice
               to Lender will be given by delivering it or by mailing ¡t by f¡rst class mail to Lender's address
               stated on the fírst page of this Security lnstrument unless Lender has given me notice of another
               address. Any notice in connection with this Security lnstrument is given to Lender i¡vhon it is
               actually received by Lender. lf any notice iequired by this Security lnstrument is also required
               under Applicable Law, the Applicable Law requirement will sat¡sfy the corresponding requíremenl
               under this Security lnstrument.
                , 16, Law Thai Governs this Socurity tnstrument; Word Usage. This Security lnstrument,is
               goüerned by federal lawr:and the law of Nriw York State. Rll rights and obligations;contained'in
;. , .        ,this Secu¡'ity lnstrument.are,subjgct to any requi¡ernents'and: :lirnitations"of Applicable t-aw.
              Applicable Law might allow the parties to agree by contract or it might be silent, but such silence
              does not mean that Lender and I eannot agree by contract. lf any term of this Securíty lnstrument
              or of the Note conflicts with Applicabte Law, the conflict witl not affect other provisions of this
              Security lnstrument or the Note which can operate, or be given effect, without the confficting
              provision. This means that the Security lnstrument or the Note will "remain as if the conflicting
              provision did not exist.
                   As used in this Security lnstrument: (a) words of the masculine gender mean and include
              corresponding words of the feminine and neuter genders; (b) words in the singular mean and
              lnclude the plural, and words in the plural mean and includo the singular; and (c) the word "may"
              gives sote discretion without any oblígation to take any action.



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      17. Borrower,s   Copy. I will be given one copy of the Note and of this Security lnstrument.
     19. Agreements aËout Lender's Rights lf the Propefi ls Sold or Transfered. Lender may
require tmmediate payment in Full of aÍ Sums Secured by this Security lnstrument
                                                                                                    it all or any
                                                                                      without     Lender's    prior
part of the property ,'or iÍ any right in tho Property, is     sold  or transferred
written permission. if Borro*u, is not a natural    person    and  a beneficial  interest  in Borrower     is sold
or transferred without Lender's prior wrítten        permission,     Lender   also   may    requíre   lmmediate
payment in Full. However, this option shall not be exercised by Lender if such exercise is
prohibited by APPlicable Law.
                                                                                                      give me a
     lf.Lendei requires lmmediate Payment in Full under this Section 18, Lender will
notice which states this requirement.       The   notice  will  give  rne  at  least  3O   days    to  make the
                                   period will be on  the-date.  the  not¡ce  is given   to  me  in  the  manner
required payment. The 3O-day
                                                          lf I do  not  make   the  reguired   payrnent    during
required ty Section 1b of     this becurity lnstrurnent.
                                                                                                       giving
that perioj, Lender may act to enfo¡ce íts rights under this Security lnstrument without
                                                                                                               me
any further notíce or demand for payment'
     1g. Borrower's Right to Have Lãnder's Enforcemant of this Security tnstrument Dlscontinuad'
Even if Lender.has req"uired tmmediate Payment in Fult, I may have the right to
                                                                                             have enforcement
                                                                                            earliest  of: {a) five
of ,n¡" Secuilty lnstrument stopped. I will nave th¡s r¡ght at any time       before   the
                                                                                                                (b)
Jays before sale of the properiy under any power of sale         granted   by  this  security   lnstrument;
another period as Appticåbte Law might specify for               the   termination    of   my    right  to    have'
enforcement of the läãn .stopped; or (ð, a ¡u¿grnent has been entered enforcing
                                                                                                   this security
lnstrument. ln order to have this righl, t will  meet  the  following   conditions:
         (a) I pay to Lender the full amount that then would be due under this Security lnstrument
         and the Note as if immediate payrnent in full had never been required;
 ,       (b) l,correct my faitura to {eep an! qrf ,¡y,otþer promises or'agreements.,rnado"in ghis                         '       .'(,,':"   <(   ,,

,       'securitylnst?umerrf;                       t          '    !      1                                     (



         ("rl ö äiior r-"n¿"r,s rèasonable eipenses in enforcing this security lnstrument inbluding,
          for example, reasonable attorneys'fees. property inspection and valuation fegs, and other
          fees incurreO for the purpose of protecting Lender's interest in the Property and rights
          under this Security lnstrument; and
          (d)   I do whatever    Lender reasonably requires to assuro that Lender's interest in the
        property ano rights under this Security lnstrument and.my obligations under ths Note and
        under this Security tnstrument continue unchanged'
     L;;;;il-i"qu¡i" ir,"t I pay the sums and expenses mentioned                 in (a) throush (d) in one or
                                                                        (b) money order; (c) certified,'ch.eçk;
more of the fdllowing forms, as setectedbi,f,"n¿*i.(gl cash¡
bank check, tr"aruråjJ';;ü-;".hilr;"                       drawn upon an institution whose'dgposits âr:e
#ä'ü';
   -            f"ã;;;i;s;r¿t; ¡nstrumeniãtity- or entity; o.( (d) E!èctronic Funds Transfer. ' ' ,; 1,
                                                   "t ""r
 ,
     iii frlt¡ll ali or ttãr"onå¡t¡ons in this;,sectionl19, th"n this     security lnstrument'will remain i¡1         '


trlr är""i'ïsl'i;*ji.,"'p"vi¿ni'¡n'futl had never'been required. However,                   lwill not have the
right ro have Lender;"                    of this security lnstrumént discontinued      if Lender     has requíred
                            "ni"i""rnent
lmmediate Payment in Full under Section 1B of this Security           lnstrument'
                                                                                                         to Notice
     20. Noto Hotdor.s Right to sell tha Note or an lnterost in tho Nolo; Eorrowor's Right
                                                               Right  to Not¡co  of  Grievance.      The  Note, or
of Change of Loan Serviõer; Lender's and Borrower's
                                                            lnstrument,    may  be  sold  one   or  rnore  times' I
an inierest in the Note, togother wíth this security
might not receive any prior not¡ce of these       sales'
                                                                                                   loan servicing
     The ent¡ty that åott"rt" tho Periodic Payments and performs othêr mortgag€
                              the Note, this security  lnstrument,   and  Applicable  Law    is  called the 'Loan
obligations under under
                                                                                           of   the  Note.   There
Servicer.' There may be a change of the Loan servicer as a result of the sale
                                                                                      of the   Note-    Applicable
also may be one o, .oru changãs of the Loan Servicer unrelated to a sale


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    Law requires that I be gíven written notice of any chango of the Loan Servicer. The not¡ce will
    state the name and address of the new Loan Servicer, and also tell me the address to which I
    should make my payments. The notice also will conta¡n any other information required by RESPA
    or Applicable Law. lf the Note is sold and thereatter the Loan is serviced by a Loan Servicer other
   than the purchaser of the Note, the mortgage toan servicing obtigations to me will remain with the
    Loan Servlcer or be transferred to a successor Loan Servicer and are not assumed by the Note
   purchaser unless otherwise provided by the Note purchaser.
        Neither I nor Lender rnay commence, join or be joined to any court act¡on (as either an
   individual party or the member of a class) that arises from the other party's act¡ons pursuant to
' this Security lnstrument or that alleges that the other has not fulfilled
                                                                            any of its obligations under
   this Sepurity lnstrument, unless the other is notified (in the manner required under Section l b of
   thís Security lnstrument) of the unfulfilled obligation and given a reasonable tíme period to take
   corrective action. lf Applicable Law provides a time period which will elapse before certain action
   can be taken, that t¡me period wíll be deemed to be reasonable for purposes of this paragraph.
  The notice of acceleratìon and opportunity to cure given to me under Section 22 and the notice of
  the demand for payment ín full given to me under Section 22 will be deemed to satisfy the notice
  and opportunity to take correction action provisions of this Section 20. All rights under this
  paragraph are subject to Applicable Law.
     . 21. Continuation pf Borrower's Obligations to Maintain and Protect the Property. The federal
  laws and the laws of New York State that relato to health, safety or environmental protection are
  called "Environmental Law." Environmsntal Law classífies certain substances as toxic or
  hazardous. There are other substances that are considered hazardous for purposes of this Section
  21. Thäse substances are gasoline, kerosene, other flammable or toxic petroleum products, toxic
 pest¡cides and herbicjdes, volatile.solvents, materials containing asbestos or fgrmaldehyde, .and.
 radioactivb.,matetiali. iho sgbstarices tJdfinetl.as toiic orhazardous b'y Environrrreàtal'Law and the "
 substances considered hazaidous'for prrpo"es of 'tir¡s Sectíon 21 ard calted "Håzardols
 Substances." "Environmentat Cleanup' includes any response action, remedial action, or removal
 action, as defined in Er¡vironmental Law. An "Environmental Condition" rneans a condition that
 can cause, contribute to, or othor trigger an Environmental Cleanup.
         I will not do anytþing affecting the Property that violates Environmental Law. and I will not
 allow anyone elsa to do so. I will not cause or permit Hazardous Substances to be present on the
 Property. I will not uss or store Hazardous Substances on the Property. I also will not dispose of
,Hazardous,.substances on the Property, or release any Hazardous Substance on the Property; and
 I wíll n'ot allow anyone etse to do so. I wíll also not do, nor allow anyone else to do, anyth¡ng
 affecting .the Property that: -{a}.:is'rin viotation of any Environmental Law; '(b} creates 'an
 Envirôni¡'enial Condition; or' lci:iWtl¡cfr, duo to the presence, use, or: relea'Ce'of a Hazardous
Substance; creates a condition that adversely affects the value of the Property. The promises'in
this paragraph do not apply to the preòence, use, or storage on the Property of small quântitíes of
Hazardous Substances that are generally recognized as appropriate for normat residential use and
maintenance of the Property (including, but not limited to, Hazardous Substances in consumeÍ
products). I may use or store these small quantities on the Property. ln addition, unless
Environmental Law requires removal or other action, the buildings, the improvements and the
fixtures on the Property are permitted to contain asbestos and asbestos-containíng materials if the
asbestos and asbestos-containing materials are undisturbed and "non-friable" (that is, not easity
crumbled by hand pressure).
      I will promptly give Lender written notice of: (a) any investigation. claim, demand, lawsuit or
other action by any governmental or regulatory agency or private party involving the Property and
any Hazardous Substance or Environmental Law of which I have actual knowledge; (b) any


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73234 to241l                                 Page 16   of   19                      TO BE RECOR¡ED




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    ,Environmental Condition, including but not limited to, any spilling, leaking, discharge, release or
                                                                                           presence, use
     threat of release of any Hazardous Substance; and {c} any condition caused by the
     or release of a Hazardous Substance which adversely affects    the value  of the Property.  lf I learn,
                                                             private party, notifies  me any  removal     or
     or any governmental or r:egulatory authority, or any
     other remediation of any Halardous Substance affecting   the  Property is necessary, I will  promptly
     take all necessary remediai act¡ons in accordance with Environmental Law'
         Nothing in this Security lnstrument creates an obligation on Lender for an Environmental
    Cleanup.

    NON.UNIFORM COVENANTS

.    I also promise and agree with l-ender as follows:
           22, Lendat s nigÉts lf Borrower Fails to Koop Promlsos and Agreements. Ex-ceRt as providod(c)   ín
                                                                                           (al, (bl  and
    Ssction 1g of this Security lnstrument, if sll of ths conditions stated in subsections
    of this Secrion 22 a¡ø.Lt, L"ndur rnay require that I pay immediataly the entire amount then
    romaining unpaid under üé Note and under this Security lnstrument-        Land¡r may do this without
                                                                           .lmmãdiate Payment in Full."
    making any further damand for paymeni. rn¡i requirement is called
          lf Londer roquires lmmediate Paynent in Futl, Lender may bring a lawsuit to take away        all of
    my romaining riitrts in the Property snd have the      Property  sold. At this sale Lender  or  another
    peison may ãcquire the Proporty. This is known as "Foreclosure and Sale." ln any lawsuit for
    Forectosuro         Sár, l-un¿år *¡ll have the right to colleqt all costs and disburssmónts and
                    "n¿
    additional altowances allowed by Appticable Law and will have the right to add all roasonable
    attornoys, fees to tho amount I owe Lendsr, which fees shalt bocomo part of the Sums Securod.
(' - lf Bonowor pt ånt Su"Sà"ror, ¡h, interest to Borrirwsr filss (or hes filed ggainst ltor.rowor,oira¡Y'
                    m¡el*, io gòrrower) à bankruptcy potition uñder ritle tl ôr any €uccessor title of thB
    """"¿'Jrîrì",
    united stat'es c"j" ïii"ñ;;;;r         ør Ût" curing of propetition defaùlt duà on tha Nots' ¡ntorest
    at I r?te detormined by the Court shalt be paid to Lender on post:pet¡tion arre-ars'
             Londer may requirs lmmediate Payment in Full under this Section 22 only if all of the
    following conditions ars mot:
          (a) ita¡¡ to koep any promiso or sgresment mads in this Security lnstrument or tho Note,
       , inctuding, but nàt fimitåd to, tho promises to pay ths Sums Secured when duo, or if anolher
                                                                          ,15 of this Security lnstrumont,   a

                                                                                      has:occur¡ed;



               the dats on which lhe notice is given;
                                                                                                  may require
               iqi irru, if I do not correct the dlfault by the date statod in tho notics, Lender Property
               irnmediate Paymont in Full, and Londor or another Person may acquiro          the           by
               moans of Foreclosure and Sale;
               (5) That if I meet.the cond¡t¡ons stated in section 19 of this socurity tnstrument, I w¡ll
               havo ths right to have Lendor'g enforcement of this Socurity lnstrumont stoppod and to
               havo ths Nõts and this Security tnstrument remain fully effectivo as if lmmodiato Payment
               in Full had never been required; and
               (6) That I have tho right in any lawsuit for Foroctosuro and Sale to argue that I did keep
               rny promises and ugrã"-"ntr under the Note and under this Security lnstrument, and to
               prssont any other defenses that I may have; and


    NEW YORK                                        Pege 17   of 19                       TO BB   RACORDTD
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     (c) I do not corr€ct tho default stated in the notica from Lender by the dats stated in tho
    notics.
                                                                                              been paid all
      23. Lendor,s Obligation to Discharge this Security tnstrumont. When Lender has
amounts due under th" ¡¡ot" and under this          Security    lnstrument,   Lender   will discharge  this
                                                     stating   that this Security    lnstrument  has  been
Security lnstrument by deliveríng a certif¡cate
                                                                   proper official records. I agree to pay
satisfieå. lwill pay all.costs of recording the discharge in the
                                                                      requires. Lender may require that I
a fee for the discharje of this Security instrument, if Lender so
pay such a fee, but õnly if the fee is permitted by a Applicable Law.
                                                                                             me by Lender
     24; Agreoments Aúout New York Uen Law.'13I wilt receive all amounts lent to means that I
                                                       of the New York Lien Law'         This
subiect tô the trust fund provisions of section
will: (a) hold ail amounts   which  I receive and  which  I have a right to receiv€ from Lender under
                                                            pay for "cost of lmprovement" (as defined
the Note as a trust fund; and (b) use those amounts to
                                                                                  purpose' Tha fact that I
in Section 13 of the Naw York Lien Lawl before I use them for any other
                                                                                    or other improvement
am holding those amounß as a trust fund means that for              any  building
                                                                                        thê ãmount in the
located on the propurt' i-lave a special responsibility       under  the law   to  uss
manner described in this Section 24.
     25. Borrower's statemerrt Røgarding the Property fcheck box as applicablel'
    El ¡¡r¡s Security tnstrument covars real property improved, or to be improved, bY a one or
         two familY dwelling only.
    ü,iÁ¡" Security lnstrument covers real property        þrincipally improved, or to be improved' by
         one ol more structures containing, in the aggregate, not more
                                                                             than six residential dwelling
         units with each dwelling unit.having its own separate cooking facilities'
    t] rti, s"eurity lnstrument does not ãover real property improved as.described above.

                                                                  agreements contained in pages
     BY slGNlNG BELow, I accept and agree to the promises and
                                                                                                         1

                                                                by me and recorded with it'
thrclugh 19 of this Security lnstrument and in any Rider digned




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                                                                                        TO BE   RBCORDBD
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                                                    (Space Below This Line For Acknowledgment)

 STATE OF NEW YORK,                                                         )
                                                                            )   ss:
County of                                                                   )



on the ao                    Í{    o.v of                                         in   the                       me, the undersigned
peqsonally appeared

                   to me or provdd to me on                               d     to bè individual(s)
                                       s
                     (are) subscribed to the                           acknowlodged to me that
he/she/thèy executed the same in his/her/their capacity(iesl, and that by his/her/theír signature(s)
on the instrument, the individual(s) or the person upon behalf of which the indívidual(s) acted,
executed the instrument.



                                               W
s¡                     and                     of
takíng                  owledgment
                                                                               FT¡888I¡TRAUB
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                                                                    vAuD    FBOST      rñ3l0¡¡ IHRU   lñsn7

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                                                    ADIUSTABLE RATE
                                                     iqULTTSTATE
                                                                      NOTE
                                                                  Palztent ¡nd Ratc Caps)
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                                                                                                                          Ioan    lþ:
                                                                                                                                        ffi,,5
                     TH¡sNoTEcoNTAINsPRoVISIoNsTHATWILLGHANGETHEINTERESTRATEANDTHE
                     MONTHLY PAYMEÑï. THERE MAY BE A LIMIT ON THE
                                                                   AMOUNT THAT THE MONTHLY
                     PAYMENT CAN INCREASE OR DECREASE.THE PRINCIPALAMOUNT TO REPAY COULD BE
                                                                BUT NOT MORE THAN THE LIMIT
                     GREATERTHAN THE AMOUNT ORIGINALLYBORROWED'
                     STA.TED IN THIS NOTE.


                    Febnra¡y g, 2Oo5
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                                                                                                                                           [st¡tè]
                           [Datr]
                                                    267 Dante Avenìl'e/ Tuckahoe, lVy l-0707
                                                                        [FroPcnY Ad&css]


          1. BORROTITR'.S PROÙIISETO PÀY                                                      g2Q,250.0O                           (this,aroount is called
                                                                      pay U'S' $
               lu return for e loan that I have received' I promiso m
          uprincipal"), plus íutarcst, to the ordcr of the Lender' Thc Lcndcr is             fn$Uac           BarJ</   F-S-B-, a federallY
           - ctrarcered savings             ba¡¡k

          ¡ç¡.'¡¡koaJlPaymc'ltsundertlrisNoteintheformofcas\cbeckormorreyorder'Junderstz¡rdthattheLendermaytransfer
                                                                t      and v¡ùo is cntitlcd úo receivc palmsnts t¡ndcr tlris Note is
          úris Not¿. The Lender or aDyonc who takes tuis Note Uv -"rrr
          callcd   rle "Note Holder."

          2.INTER.EST
                (.â') InterestRrte
                                            urçaid. principal until rhe full amount of principal has beeu
                                                                                                          paid' I will pay intercst at a yearly
                                 "nure"d
                                         "'
                Interest will be vgqÞve on  -'í;-.i1b;¡","r.tr ü* ¡ *iu p"v *"i ch.¿n*e. ,( ¡, .                            ,             I, ' '
     ,    -tr"ï""      .. ilö-                                                                 *à                              i¡ seotÍon 7[B)
           ( Thc ioteresbrate required by,hi Àìiù;;tñ;;," iï:rip'v                úotr  ¡àioto      åneranv dsf¿ult dcscribed
         'of îhis l'rbte.
þ'
               (B) Interest Rate Cb'¡'ge     Drtes                                                 i**i   l
               Tbe ínterest râte I vill pay may cbznge on tüe first
                                                                    day of           Àpr'if                 '2005         and on that
                                                                                                                        'D¿te'" The new
                                                                                                                                                           day
                                                                         .ou:a¡tange iicolled. an           Ratc change
          ovcry nroor¡ tbcrcafrcr, EorL L,* Á., oliotr -y ¡r,ærust i                              'Intsrcst
          *æ ãf irrt".rst $,i¡ beconre e6ective on each fntcrest R¡re Change Date.

               (ÇJ TÌ\tereet Rate   Ltmit
               My i.tterest rate will never be gloa{er tban                         9.950        %.


               (D) Index                                                                                                                                  .[raeed
                                                                tJre
                                                                              one


                                                      spst                                                                        days
                                            Change Date                                                   Indexr'-



                    l.ndex is rro longer availoble, the Note Holder        w¡ll   choose a ncrv i¡dex rhar ls based upon comparable information'
               lf ihe
          The Note Holderrrill give mc notice of tbis choice-

                                                                                                                       MIN:
                                                                                                                                        Form
          IIULTISTATE ADJUSTABLE RATE NOTE
                                                                             Psoô   I oÍ'l
                                                                                                                                             t¡¡tel5:
                                                              VMP IVIORTGAGE FORtviS - (6061521-72e1
         @toorot
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                                                                     IINVA                                                        ZE:6Ç)      zrø¿/6'Mp           -   O13j-
         Lø/ZØ      39Td
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                                                                                                             'l         Iðan Nc
              (E) Crlculation of I¡terestR:rte Changes
                                                                      rvill c¿Ic¡lateû¡y n€w interest rate by adding ttrro and
           Betbre each Intere.qt Raæ Change Date, ihe Note Holder
         9507loooths                                               pilccntagö poin(s) (              2.950 7o) to the Current Index'
                                                                                       rvill    my nçrv intèrest rate unt¡l tbe nexl luteres't
      Subjcct to tüc lirnir s¡atcd in Scction 2(C) abovc, thc rcsuh
                                                                    of this addition         bc
      Rate Change Ðatc-

      3. PA\'IVIENTS
              (A) Time ¡nd Þlrce of PåYments
              i                    and iuferest by makiog payments every ruonth'
                  *itt pty principat
                               ,"ortftry puy*rnts or, r¡e ir.síOay of .actr montb. begínning          on      Apr5-L        1' 2005               '
            I will malie  mV
                                                                                                                ¡¡¡d inle¡est aod anyothercbargcs
                                                                             I  lave  poi,i all the  priocipal
                    . .niil mokc these pr),ments everrmo;üìntil
                         f
                                                                               paymentrvilt be applied as of its scheduled doc d¿te and will be
      describcdbelow that I nray owe undcr this Not¿. Each monthly                                         uvr: amounts undcr this Note' I will pay
      applied to iDterssr bêtbrc principal. I{,            o-n- ,I,  }larth          ..2035      ' I still
                    ts in firll on th^t daie, which is called  ihe "Mau:rity   Dsæ'"
      thåe
           I"morn
             will matie rv .*õry
                             "t-t            ut Ind,lt'fa; 3.nft, F.s'B', P'O' Wx 78826t Phoenix'
                                  P¿rr¡¡v¡¡Þ sL
                                  pãy*ã"                                                              ÀZ
                                                                                          or at ¿ differcnt place if
          g5o62-8a26
      required b-lr the Note Holder-

              (B) Amouut of ìVy luitial lHonthþ Pa¡menÊs
              Eaclr of my irúLizl moot[ly paymcnts will bc in thc amount of U'S'
                                                                                             $       2   | 959 '   89   ' Ttiis amoui¡t uioy ohugo'

              (C) PeYmeut CÏange Û¿tes
              \ÍymontblypaymsntmaycbangcasrcquiredbySecüonj(D)beloybeginningonthclst,dayof
                                                    month thcreafter. Each of thosc dat¿s is called a "Palrtent
                                     ,         2006 , aud on.rhut       Ãíy ,u"ry tz't!
                                                                               a-"ny time Section 3(F) or 3(G) belorv reçires rq6
                                                                                                                                  to yay ¿ diffcrttlt
         ^pritDate.,r My monthly payr¡rerrt eiso will "lÁä"-",
      Cba-nle
      montllypaYmeut.                                                                                                                   as provided   in
                                                                                     on cecb Pa;rment chnrrge Date or
          I rvill pay tbc a¡nount of my now ¡noutlrly paymcnl cach rnonrh bcgiruring
    .. p.""ti"tïþi ". rlcj{tro*',,
                                                                        1(l

            (D) C¡tcutation of Þfonthly Payment-Changes
þ           Before eocb pa¡rment changi Daæ, rhe ÑoL rtol¿"r will calcùlatc
                                                                                        thc amor¡rt of tbe montbty paymtnt that rvould be
                                                                                               Chargc Date in fuu on rhe Matruity Dalc in
      sufñcient to repây rle unpaid princiþal tha.t'I ; cxpecæd       to grne 1t  tbe  Paymcnt
                                                                             rhe montlt preceding the Payrnent cbange Date' The rç¡utt of
      subsautialty equar ínstallme*rts at rhe inre¡est r"æ oiii:"tive dutiog                                               qmoìl¡¡t' üly new
                                    ilFrrll poy-.rrt.r {Jnloso sectiou 3(Ff 3(G) belorv requires me to palr a different
                                                                             or
      tlis calculatioo is
                                                                                tttut *y nerv mouthly payment rvitl be rmited to an arrol¡rt
      monthly peymentwilt be i¡¡ the amount of thc rurl r"Y**r, "ió"pt
                          "otr"¿t¡"
      rh¿r wiu not be nlore tban \so/o gteaæt or less rhau ibe amount
                                                                             of my tas! monr[ly pøymcnt duc befors tbc Palmcot cha'ugo
      Date.

            (E) Addítion.s to My Unpaid Priucipal
                                                                                                                       ìrt'ould bc sufñciest
           My mouthJy prry**,           u" lcss da¡ rhe amou¡r of d:e iæ1e¡¡ wrtiou of thó rnoutlly payrnent tbat
                                  "oot¿                           dâte ín  ñ¡ll ón the Maturity Datc  i¡r ¡ub$arrtíallyeçál palments' If
      io repry rlo u..poid p.incîj;ù ;;;"irh"ruoathrypalane't
                                                                                      thc Noæ Holdcr will srbtact tbe amormt of my
      so, eacb month that my mortbly Peyrûcnt ¡t l.ú-tUã tbe inter.¡¡ P?Soo,
      rnonrhly palnnent Èom rte smorrrioi the inreresr porriou
                                                                a¡tl rvill aåd rbe diffsrsnce to ury unpaid principal. Thc Noto Holdcr
                                                                      unpaid priucipal each montb. Tbc intcrest râie on the interest
      also u¡i[ add Ínterest on tìe aoount of this drfÏåerrce to my
      added to principal          ç'ill   be   tlc rate required by Section 2   above-


              p) Limit       ou   i\ly Unpaid Pnncipe\ fucreesed Monthly ?ayment
                                               åan never exceed a maximum                  to one   hÙnd¡ed             TEßI ÀND II3/100fIls
              My unpaid grincipal                                          "-or-t 7"jof
                                                                       ltO.0OO     "qual
                                                                                         the priocipal   arnoÌnt I originally bor¡owed. Becau:e of nly
                               percent ¡
                                                                                                                          3(B) abovc could
      pa)nng only limtted rnonibly    pa)'meils, rle addrrion of unpaíd inærest ro my unpaid principal under Scction
                                   'to                          amount   vlhen  iqtcrcst rates incrtase- In that went, oD the date that Iny
      cause my rmpaid principal        ex"r.¿ tbat ma-ximunr
                                                                      limit, I will iutead Pay a new monthly     paymoût' Tho new montbly
      pâylr¡g my montbly paymentwould causc me to e""".¿ rhat
      payment lviu be in an amount thai rvould be sufñcicnt to repay my
                                                                                    then u"ir;d   principal h full on the Mahrrity Date in
                                                       ¡ate effective dr-ring tbe preceding  nontl¡'
      sluústaodatty equal instalhnents at the iuteresr

                                                                                                                                     rom soo3ftooo
                    (oo1o)                                                         Psqøzni¿                                              n'o"t'
                                                                                                                                                  V U1
      8450185                                                                                                                                     v

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                                                                                                                         1           I-oanNo:Wffi
                    "
                (G) Reçrirerl Full PàYtEent
                                                                                              Datc the¡eaflcr, I udü begi¡ paying tltc Pull
                o¡r the 5th payment Change r)afn and on each succeeding 5th Paynrcnt Change
                                                                                                                  the R¡ll Payruent as my
                                      paymlnt uotil nry *routhìy p¡rymcni changes agoin I also lvill begin pqying
           -paymeil o. *y ,rráthly
            monthly pa)¡rr¡tnt ou the final Payrnent Changc Þatc'

               4. NOTICE OF CIIANGES
                                                                                              tlre a¡rount of my monthly Paymült beltrre thc
                     Tbe Notc lfolclcr will delivsr or maiÌ tQ me a notice of any cl¡anges iu
                                              'l'he nohce will incluclc inl'ormâtion requÛed  by   lâ$/ to be given me and also the iitle rnd
               effective datc of any cbange.
                                                                                                  fhe notice'
               telcphone ilrnber of p..rão nho will Íu¡swÖr any queslion I may have rcg¡¡diqg
                                           "
               S. BORRO.WER'S RTGIIIT TO PREPAY
                                                                                             a¡e duo' A payn, ent of principal only is known as ¿
                     I b¡ve rhe right to *.t" pu:r**ts of principal at aoy time before ûey                             so' I may not clesignate a
               ,,prepa¡rment.,, When I          o pr"poyro*q t wiü teil tbc Note llol<ler in writing tbat I a¡-¡ doing
                                           "-k;
               pa).men[ âs a ptepaymeût if I barä oãt s¡ade a1l the nrontbl], Paymer¡ts
                                                                                        duc under this Note'
                                                                                                               charge. The Note Holdcr rvill use
                      t may makc a full prepayment or partial pr"piy*""ó àthout.payinß 8{ry prcP¿}¡ment tÅe Notc Holder may apply my
               my prep¿yrncsts to redu';ïä ã*á"ot of pr¡q"ipal-thst I ou¡c un{er-this Note.
                                                                                                     Hq'ícvtr,
                                                                                                  my prep&ymefLt to rcduco úe principal a¡r¡or¡nt
               pfe,palmenrto thc aocruoda¡d unpaid interes¡ oo ,J,. p.upu.y-cnt bcfore opplyÍng
                                                                                          ihc-dui drtes of rny montbly paYrnents urrless tly Ngtc
               of tlis Noæ. If I malie pr.rirr lr"l"rmcnt" ther; will ur * changcs in
                                         "                                                reduce tbe a¡noünt of my üontbly payments afler tte
               Holdc¡ agrees in uriting to hcse cbanges. My partiat PrëPtyñent may
                                                                                                           due to my partial prepa¡ment may be
               ñrst payment Change D-tr" foilorving Ãy pa¡dipreÞ¿fn;J Howcvjr, aoy rcduction
               offset by an inÉrcst rate Íncrc¿se'

            6. LOA.N CH.ARGES                                                                                           go tåat the inte¡est or other
                 If a law, which applies to rhís lonn and wbicb sets rqa.:<imum loao clarges, is ñnally interprctcd        (i) arry such loau charge
                                                                                            tLo pornrittcd  limits, then:
           loan charges collected or tq bç collectcd in councctioo witl¡ tl¡is loa¡ excecd
           shall be reduced Þy rho arnount aece6sary to reduce t¡c cbargc     to the permiücd     limit; and (Ð   *y  sums   alrcady collectedÊom
                                                                 to rn".   ih,  Nore  Holder  may    choosc  l,o mako  this reft¡nd  by reducing tho
           me that exceedcd permitred limits wiu be  -;d.i"g
                                                        reñmdcd                                                                                                    '
           principal I owc under Å'r:t#;.b.y                 ?.d¡rrcr, piryment to rne.
                                                                                          ff a. lcñmd rcduces ,pripeipol,
                                                                                                                              t:
                                                                                                                                   rcducdol  ¡{t be, '                 ,   .
',   t.                                                  ì''                                                                                   't              t   '           \
           il."r.åasapartÍalprep:d¡rment'                          .'
w          7. BORROIVER'S FAILURE TO PAYASRTQUIRED
                (A) L¡te Chal'ges fbr OverduePsJ¡melts
                                                                                               the end of               15
                If ths Note Holder bas ¡ot received the fi.¡ll amount of my monthly payment by                        of the ch¿¡gc witl bc
                                                     I will                      to the      Holder    The  ûrnount
           czlendar days after the-dæe it is due,              pay a late charge        Noto
                                                                                                                    tbûrgô prornptþ but only
                                                                                               I wíll pay this 1âlô
                                  Z -OO0 % of t,,y ot".duo poy-cnt of principal aad intcrcst.
           once on each late PaYmenL

                        (B) Default                                                                          , r -- I, -r¡
                                                                           payment otr   tlc     d¿tc   it   is due,   q'ilt L^:-  J^4--.
                                                                                                                             b€ in defaul¡
                        If I do uot pay   fhe fulI amor¡rn of each monthly

                        (C) Noúce of DefâüIt
                                                          sead me a wrítten notice ælling rne th-at if I do nôt pây the overdue amTot-9{ "
                        If I am in defaul! ihe Note Holder may
           certain date, rhe Note Holder may require me   to pay immediatelyrhe full amor¡nt of principal that bas uot bcen paid a¡d su the
                                                                                          tbc dsto on which tbe notice is n¡ailed to me or
           intcrcst tlat I o'rtc on that ãmouDt- Tbat datc *utt b" Bt least 30 days añer
           delivered by otber rpcârrs.

               (D) No w*aiver BY Note Holder
                                                                                                    rne to pxy imrnediaæly in full as described
               Even ii at a time rvhen I gÐ ¡¡ defàult, the Note Holder does not rcquuc
                                                                        I                          time'
           abovq the Note llolder will stÍ]l h¿ve the rig]t to do so if   am in default at a later

                        (E) Payment of Note Hoìder's Cosls cnd Erpeuses
                                                                                                             Holder will bave thc right to be
                            Holder los requireo nre to pay imÅcdirtcty in full ¿s described above, the Note
                        If üe Nore
                                       its       and expenses  in enforcing this Note to the extent not proLibired by applicable law' Th:se
           paid back by mc for alt of      åosts
                    inclucle, for example, reasonable att'oruels' t'ees'
           "*p.*.t
                                                                                                                                                Form 3003
                                                                                                                                                    lohl613:
           84t10185 tooro)                                                       P¡ls   3 ot 4


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          LØ   iÞø :9Vd                                                                                               M¡E
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                                                                                                  '-t
                                                                                                              Loar¡ No:
       E.-GIgING OF NOTICES
             Unless applicable laW requires s different method, a¡y notice rhrt must be girten to ¡l)e llnder rbis Note \Mill bc gívrn b¡'
                                                                 íit the Properff Add¡ess above or ât a diflbrsnt address if I give ihe Note
      .delivering it or by roniling it by first class mail to mt
      Holdcr ¿ not¡co   of my  differeot add¡sss.
            U¡less the Noæ Holder rçquirôs â dif[ùrent metì]od, any notícc tbat must be giver: to tbe Note Holdcr undcr ihis Note rvill
      be given by rnailíng it füst class mail to the Note Hçlder at tlc add¡ess statcd in Sectron 3(A) abovc or at a different add¡ess if I
      am given notice of tbat cüffersnt address.

      9. OBLIGATIONS OF PERSONS I]NDER TEIS NOTE
            If u¡o¡c thâr¡ orc pcrson srgns lbis Notc, cach pcrson is fully aud personatly obligated to keep all the promises madc in this
      Notc, includ.iog the promise to pay the fuÌl amor¡nt owed. Any pcrson urho is a guarantor, $EÇ¿y or endorscr of this Not¿ is
      also obligaæd to do these things- Any porson lt'ho t-kss ovor thcsc obligations, including thc obligations of a grrarantor, stuety
      or endo¡ier of this Nore, is also obligzted to kccp ell of the promises made in tbís Note, Tbe Note Holder may enforce its
      rights under rhís Note against eaoh porson iudividually or against all of us togethor. This means tüat aay ono of us ¡Day be
      roquircd to pay all {ho amounts owed tmdcr this Notc.
      r0-   wÀrvERs
             I ard aly otrer   person wbo .( obligations under ihis Notc waivc thc rights of prese[tment a¡d noticc of dishonor.
      rrP¡escntment t ¡¡¡car6 thc right to require the Note Holder to demend peyment of amotlnts dué. nNotice of dishonor" mca¡s thc
      rigbt to require tbe Notc Holdcr to givo notice to other persens tlat arnoruræ due ìave not been paid.
      1I. IJNIFORIIÍ SECTIRED NOTE
            This Note is a uniform iustrurneot rvith limited varietions in sooe jurisdistions- In addition to tbc protcctions givcn to the
      Note Holder under rlis Note, a lvfortgage, Dccd of Trust or Security Deed (thc "Scor.u-iry Instrument"), d¡ttcd the sams datc â3
      rhis Notc, proteçts thç Note Hoidor frorr possiblc losses that pigþt rcsult if I do uot keep tho prornrscs that I make in rtris Note.
      Tbat Securíry Insur¡ment describes horv and uodcr rvhar conditions I may be requircd to make immediate payment ín fr¡ll of oll
      asrormts I ovc ¡¡odcr this   Notc,   Some ofthese cond¡tions a¡e dcsffibed as follows:
                      Trausfer of the Property ôr â Beneñdal lut¡rest in Borrower.          If all or âny part of the hopøty or any
        ,      int¿rest,in ¡t is sold or ü-ansferrçd (or jf Bonqrver is not a ndh¡râl pcrson and a,be¡eficial intercst'in Boporvcr is        (


               sold,or'transferreil) wiihopc'Léoderes prlo¡ nrrittqn oonsc/rr, Lænder may, at its op6ot requ{e'iaime{1*                 ',
              paym'ent in.füll of atl mt¡É secured Uy this Sesûrity Iúst¡u'llent. However, this option shâI uot be exercised by
þ              Gnder if exercise is prohibited by fodcrrf law. Leuder also shall no¡ exers¡se this option if: (a) Bonowcr
              causús tô bc,subnitted to Lcpdcr infors¡ation required by Leudsr to evaluatc the intended tansfercc es if Â oew
              loan .lvcrc bcing made to the transferes; and þ) Lender reasonably determines that Lende/s secrrity will not be
              irnpaired by tbc loan assrtnption and that the risk of a b,rcach of any cover¡ant or agrccment in this Secuif¡
              I¡stnr¡aent is aoceptable to Lçndcr.
                     To thc cxtcrrt permittcd by applicablc larv, Leoder may charge a reasonablc fcc as s condition to Lendels
              consent to the loa¡r assumprion Iænder may also requirc the tansfe¡se to sign atr assumptíon agrccmcnt that is
              âccÈptâble to Lender and úat obligates tbc tra'<t'ercc to keep all the promises .and agrccmcnts madc in thc Notc
              and in this Security Inshrrmcnt. . Bonower will continuc to bc obtigaæd under the Note aud this Sccuity
              Insnlme¡t unless Lender relæses Borrol'er in utiting-
                    If Lender exerçises tbc option to rcquire i¡¡urediate payment in full, Lcqd¿r shall give Borrgwer notice of
              accelerstioo. The notice shall.provide a pcriod of not less tha¡l 3-0 days from tbe-date the noticc is given in
              acço¡da¡rcc with Sccrion f5 r¡¡ithh which Borrower laust pay all sums sesured by tbis Security Instrurner¿ ff
             Borrower fails to pay thcsc sums príor to the expiration of lhis period, Lende¡ may invoke aoy rëûredies
             pcrmittcd by this Security Iuslrument withour ftúåer noticc or dcmand on Bor¡owcr.
                  THE I{ANÞ(S) AND SEAL(S) OF THE L'NDERSIG}IED.


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                   P                                          -BorroVer                                                            -Bomwa

                                                                 (Seal)                                                                 (Sral)
                                                              -gúro\'¿r                                                            -Èorcwcr

                                                                                                                      [Sísn Orieinal Only]


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                                               ADDENDUM TO ADJUSTABLE RATE NOTE                                                         roun*r'ffi
                                                          (PrePaYment)

              THIS ADDENDUM is made this 9b}              clay of Februany, 200V '.and is incorporated into and
                                                                                 tlrìs Addendum'
      íntended to form a part of a¡ Adjustable Rate Note dated the sarne date as

                   Secflon S of the Adiustable Rate Nole is modified to províde that I have the right to rnake
                   1-
                              any time uefore they are du9. A Prepaymentof all of the unpaidprincipalis known
                                                                                                              as a
      paymênts of principatat
      'Fu¡ prepayment.- A prepayment of onty óart of the unpald    pr¡ncipal is known  as a "Pa¡tial Prepayment."

                                                                                                     any time without
              Excåpt as providedbelow, I may make a Full Prepaymentor a Partial Prepayrnentat
      paying any prepayrnent charge, lf withín the first three               ( 3              ) yea(s) I make a-Partial
                     pa*¡ai pr"p"Vå"ntts)of     less than twenty percent (2o%) oi the originalprincipalarnount in any
      Frepaymontor
      twelve (12)' monfh period, t will noì bay a Prepaymentpenalbl. Howover, if within
                                                                                         the first   th¡ee
                       yeã¡1s), í maxe a ruí¡ Rrepayment, Pardat Prepayrnent or Partial Prepayments
                                                                                                         of more tlta¡r
      (      b        )
      i.""nty p"r."níqíd,%¡'Jiin"originalprinc¡p"lã-o,rniinunytz-rnoñthperíod,twiflpayaPrepaymentchargein
                                                 'rnonths'                             prepa¡d ¡n excess of twenty
     årã"ilint        to tiru pivr.rã"r ti* (6)                             âdvancà interest on the arnount
                "quaì
      percênt QA%l of the o¡¡g¡nal princ¡pâl amount-
                                prepa¡rmenteqrral to one or more of my monthty paym.ents, the due date of my next
                   lf I make â pârt¡âl                                                a Partial Prepaymentin any
     scheduledrnonthly payment may be ad\¡ancad no rnore than one month. lf I make
     other amount, t must st¡ll make- atl subsequeÞt  monthty paym€nts  as scheduled'
                                                                                                                 and remain in
                  Z.            All other provisions of the A-djustable Rate Note are unchanged by this Addendum
     full force and effect.


     .Dated¿

s                                                                                                                                                €orpwer
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                  td Fodôrâlly ExâmPtôd sollôr Uso onty
     lod¡,ôJlae Ba¡¡k
     Haid Prepaymeot Addsndum (1.3 yrs) ' ARM
     First Moåsáses - Mulüsla{e, Art'ønsas (loans over 5150'fi}o)                                                                               sPo f084
                                                                                                                                                   (oB/04)
     8480279      (U.ro7)                                  VtuP Mortgrsc   Soiulim.læ-   [6(i0.621-7291


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Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 84 of 139
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                                                          ...:i.




EXHTBTT .J                                                         5
                      Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 85 of 139




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                 N                                             WIID Number                               Lxtrument Type
 450560013                                                     2005056-000001                            MTG
                                                       1YESTCHESTER COUNTY RECORDING AND ENDORSENIENT PAGE
                                                            (r rrr s        rolTå"åilä.iåËi,8ü
                                                                                    H E I NSr RUMENT)




 THE FOLLO1VING INSTRUNIENT WAS ENDORSED FOR THE RECORD                                                                 AS FOLLOWS:

 TYPE OF INSTRUMENT VITG - MORTGAGE
 FEE PAGES 24              TOTAL PAGES 24


                                                                                                                          TAXES
 STATUTORY CHARGE                                                          $6.00              RTGAGE DATE                                       02/0912005
 RECORDING CIIARGE                                                        $72.00           MORTGAGE ANIOUNT                                  $920,250.00
 RECORD IVIGT. FUND                                                       s19.00           EXENIPT                                                   Yes
 RP 5217                                                                   s0.00
                                                                                           COUNTY TA,\
 TP-58,4
 CROSS REFERENCE:                                      .
                                                           .
                                                                      '    s0.00
                                                                           ${r'-00         YO.NKERS
                                                                                                                                                ', $2,300.50
                                                                                                                                                    ".'So.,o'0
 NIISCELLANEOUS                                                            $0.00           BASIC                                                     s4,601.00
                                                                                           ADDITIONAI.                                               s2 .275.50
 TOT.A.L FEES PAID                                                        $97.00           SUBTOTAL                                                  $9,177.00
                                                                                           MTA                                                       $2,300.50
                             TRANSFERTA,\ES                                                SPECIAL                                                       $0.00
                                 ION                                       s0.00
                                                                                           TOTAL                                                   sl1           .50
 TAX PAID                '                                                $0.00
                               A,X #                                                       SERIAL NUÙIBER .: .        CV88824                              :'l

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                                                                                              '
                                                                                                               ' .' l-2 Fa¡rtily_
                                                                                                . THE PROPERTY IS.SITUATEÐ IN
RECORDING DATB                                                   a4t07na05
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                  LEONARDN. SPANO                                                          Reco rd   &                    T()URTS, V/ESTCHiESft R COUNW.
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          WESTCHESTER COUNTY CLERK                                                   ftt
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         Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 86 of 139



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After recording     Please
IndvMac Bank' F. S,B.
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l4anâgenent                                                                                                 Block   #                               q:ÀJ^"*s
[CompanY Namel
                                                                                                            L0t#        1-3
[Name of Nalural PersonJ
 3465    E. roothl]-l Bhd'
                                                          BLACKACRE TITLE AGENCY CORP.
fsfreet ÁddressJ                                          399   KNOLLWOOD ROAD' SUITE                 201

 Pasadena, CA 9L107                                       WHITE PLAINS,I{Y10603
                                                          TEL: (91a)      ssYsW      FAX: (914)99?7433
pÍty, Stata   ZíP Codel

                                                                                  Recording Datal
                                                      [Space Above ThÍs Line Fcir




                                                                MORTGAGE
                                                                                                     MIN:    100055401208428930
 WORDS USED OFTEN IN TIIIS DOCUMENT

 (Ð                                   documenÇ which is dated .                                        FehruarT 9t         2005
         "security Instrument'" This                    the "Sècurity Instrumsnt."
 ìog"rlo *i f ¡l ú¿ttïio rt'¡t documett, will be called

 (B)         "Borrower.' l'tichele PLzztÑí                            -           cif¿ll< Q; czrdl
                             .r      ,        ., ,, .',              ,/    'fli
                                                                          ,.,,,      .:_                                          (I

                ì, !'.       ,t                 .
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                                                                            'whose
                                                                                      äddress   is   46 Glen Road' Eastchester'
 rw rorog                                                       ..
                                                          sometimes will be called "Borrowe¡" and somstimes
                                                                                                            simply             "I"     or "me."

                                                                                                         that is acting
 (c)         ißMERs,, is Mortgage Elec6_onic. Registration Systems, Inc. MERS is a separate corporation
                                                                                 is oiganized and  existing undgr the
 solely as a nominee    f;iã,,ã* and Lsnder's-.;;J; and assigns.          MERS

  laws of Delaware,,,uod hq, an add¡ess gJ-i.ftfU*"-1gb5^"f                                      {rtt$1\\v ft4' Flint' MI 48501-2026'
                                  ,
  tet. (888) 679-MERS. ro_n, pu^,Rpos;; õFI RE¿óRDInc
                                                                                                 iirls, MoRrGÁ'Gg MERs Uu'                I,s
, itioÀlðîcEn oF RECoRD:
               ,/                               bar¡k,'F-s-B.',å,Í*î#..îffifl åãiÏ|';ffi,*io' 9,
 (D)      /.enòer.t,,
                              ":
                           r'Ê¡¿¿^"
         /                                                                                      -^:':;';*;:;-
                                                                                          Lender's  of Ànerica
 ur.*iution which existsunder tbe laws of United States
 address is 155 North Lake Avenue, Pasadena'
                                               CÀ 911-01

                                                             Febn:ar1r 9 | 2005
                                                                           dated        '
 (E)          r'Note-" The note signed by-Bonower,and
                                                      nine hundred twenty thousand &n7'
 willbecalledttre'Uo,..i-.I.tãÑo,.ito*thatloweLender;
  hnndred.     fifby and lüo/Looths                 i       D"il'-tfu's's lza'zso'oo    )                  '/and to
                   other ;;;l;   ttãt muy-U" payable. I have promised to pay this debt in Pcriodic Payments
 plus interest and
 p.y,t" â"ut in tull bY        ì4arch I ' 2035

                                                                                                                        Modified Form 3033 0l/01
 NewYork ìVf ortgage-Single Family-Fan nie IUse/Freddie
                                                        lll¡c                                                                 lðOINY 08/00{R.v.õ6/Ûl)
        CoNfPLfANcE SouRcE'           lNc'-                                                                             02000, Thc ComPliæçc Souæc. fnc.
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                                                 dwelllng       onlY.                  :                                                            MP - 0092
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 (Ð            "Property." The property that is described below iir the section titled 'Description of the Property," will
 be called the      "Property."                                                           ;


 (G)           ,,Lo¡n.r, The "Loan"
                               means the debt evidenced by the Note, plus interes! any prepayrnent charges and iate
 charges due under the Note, and all sums due under tl¡is Security Insrument, plus interest.

          ..Sums Secured.,' The amounts desgribed below iri the section titled "Borrower's Transfer to Lerider                                                                   of
 GÐ
 Riglts in the Property'' sometimes will be called the "Sums Secured-"

 g)           .,Riders.,,
                     All Riders attached to this Security Instrumsr¡t that are signed by Borrower                                                               will   be called
 "Riders." The following Riders are to be signed by Borrower [cñeck box as applicable]:
                                                                                      I

               xx Adþstable Rate Rider                            Condominium Rider                                                           Second Home Rider

                    Balloon Rider                                 Planned Unit Devetopment Rider                                              BiweeklyPaymsnt Ridsr
                    l-4 Family Rider                              Revocable Trupt Rider
                    Other(s)   fspecffi
 (Ð       ..Applicable Law.t' All controlling applicable federal, state and local stahrtes, regulations, ordinances and
adminisrative rules and orders (that have the effect of law) ds well as all applicable final, non-appealable, judicial
opinicnrs will be called'Applicable Law."
                                                                                      :

(K)       ,(Community.A,ssociation Dues, Fees, and Assessrúents." All dues, fees, assessmcnts and other charges
that a¡e imposed on Borrower or the hoperty by a condominium association, homeowners association or similar
organization will be called "CommunþAssociation Dues, Fees, and Assessments."
                                        t                          t             ', = '
                  .'.il     c( i( .                     ,.,,,.                                                                                                                        '''
(Ly           l$lectronicTuntls Trpnsfer." "Electlðnic Fuids'Tra¡rf.rt'-*nr.*i o-tilt äf r"jo"y,.other than by
            draft, or similar paper inìtrumen! which is initiated thrbugh ao electiqnic terminal, telephoåic instrumørt,
"ne"b              tape so as to order, instrucÇ or authorize a financial institution to debit or credit an account.
computer, or magletic
Some common examples of an Electronic Funds Transfei ard point-of-sale trânsfers (where a card such as an asset
or debit ca¡d is used at a merchant), automated teller machine (or ATM) transactions, transfers initiated by
telephone, wire transfers, and automated clearingbouse transfers.

(M)    .     r¡Escroìv ltems." Those items that are described in Sectiou 3 will be called "Escrow ltems."

                                                                                                                                                     settlemant, award ef

                                                                                                                                                                         part   of

                                                                                                                                                    by aty
                  emiirent domain is known as "Condemnation-"

(O)          ,rMortgage Insurance." "Mortgage Insurance'i means insurance protecting Lender against the
nsnpayment        of or deÞult        on, the   [¡an.
                                                                                  I
(P)          ',Periodic Paymenl" The regularly scheduled amòmt due for (i) principal and interest under the Note,
and (ii) any amounts under Section 3 will be called "Periodic Pa¡ment-"

(a)          ,.RESPA.' 'RESPA"              means the Real Estate Settleirent Procedures Act (12 U.S.C. $2601 et seq.) and its
implementing regulation, Regulatíon             X (24 C.F.R. Part 3500), as they might be amer¡ded from time to time, or any
I-oan No: 720842893
New York Mortgrge-Single Family'Frnnle Mae/Freddic               M¡c uI\'IFORV   INSTRUMENT                                          llfERS Modilied Form 3033 0l/01
      coMPLTANcE souRcE, lNÒ.-                                              Psse?  o117                                                                  t{3orNY ouoo(R.v.0603)
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    additional or successor legislation or regulation that governS the_ same subject mattí. As used in this Security
                .RESpA' refe-rs to all requirements a¡rd résdctiòns that are imposed in regard to a "federally related
    Instrument,
    mortgage loau" even      if   the Loan does not qualifu as a "federally related mortgage loan" undsr RESPA-


    BORRO\ilER,S TRANSFER TO LENDER OF RIGIITS I'N TttE PROPERTY

I mortgage, grant and colvey the Property to MERS        (solel|- as ¡ominee for Lendsr and Lender's successors in
intaesi¡ Lãlt successors in-interest subject  to thc  terms  of this Security Instrumørl- This means that by signing
this Seóurity lnstument, I am giving  Lender  those  rights  that  are stated in this Security Instrument and also those
rigbts that Ãpplicable Law giv; to lãnders rvho  hold  mortgag¿ìs   on real proPerly. I am giving Lcnder these rights to
p.te"t Lender from possible losses that migbt result if I fail to;
                                                                         ;

            (A)  pay all the asror¡nts that I owe Lsnder as stated in the Note including, b¡t not limited to, all rsnewals,
            extensions and modifications of the Note;

            (B) pulf with intaes!  any amounts that Lender spendt under this Security Instrument to protect the value
            of the Properry and Lender's righa in the Property; and

            (C)   Keep a¡ of my otber promises and agreemenß uåd.t this Security Instrumeot and the Note.

I understand and agree that MERS holds only legal title to the rights granted by- me-inrhis Secr:rity Instrument'
                                                                                                                   buq
                                                  (as nominee    for Lender and Lender's successors   and assigns) has
if necessary to corn-ply with law or custom, MERS
ttre   right:                                                            :




                       exsrcisc any or all of those rights, includíng, but not limited to, the right to foreclose and
                                                                                                                      sell the
            (A) to
            Propertg     and                                             ;
                                                                         :.
            (BJ, to,   øke    gy     action reqirired o{,Leuåår.inc{udþg,'bu¡ obt limited to,'releasing and candeling thif
'           Securiþ Instrument

DESCRIPTION OF TTIE                   PROPERTY                           '                                                                                             I




I give            (sotely as nominee for Lender and Lenda's successors in interest) rigbts in the hoperry described in
  " MERS
       through 1d¡     u.tã*'                                            .




            (A) Tbe properrywhich islocated           at                 ,           ,?J""ff*                    Avqlue
           :      f\¡ckahoe                                    ,   NewYork , 1tiZqZ,.                      ' This Property is in
        -,                 orvitlaseJ.                                  :          -.
                                                                                  [z¡p 9o!:1 .' - - .
                   -i iown
               'tcty, : west¡hèdter,                                Coun'ry. fthasthefolloivll¡glggaldescription:
                                                                                                                           ,                                               :




      ,,
    Iegal description attached. hereto                       and rnade a part:hereof.
                                                                         i




            (B) All buildings         and other improvements that a¡e located ôn the Property described in subscction (A)                                           of
            this section;

    Toan No:      12 o842893
New    York ùfortgagesingte Faoily'F¡nnle M¡c/Freddie M¡c LNIFORM I¡ISTRI            MENT                               MERSl}fodified Form 3033 0l/01
         CoMPLIÀ\CE SottRcE,        lNc--                           P¡se 3 of   l7                                                          l{10¡¡í-Y 0l/00(Rtv.06/03)
-TBE                                                                                                                                  û2ü}0' rrrc compràncc sourca' rnc'
          w.cômP[u€ôuce.con¡                                                          Ilil,fiillffilüliliüffilÍfllllflfflll{!f   il



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              (C) All rights in other property that I have a¡i owner of the Property described in subsection (A) of this
              section. These rights a¡e.known as "easem€nts and appurtenances attached to tbe Property;"

              (D) All rights that I have in tbe land which lies in the s[eets or roads in front of,, or next to, the property
              described in subsection (A) ofthis section;

              (E) AII fixtures that are no\¡¡ or ín lhe fi-¡ture will   b,e     on the hoperty described in subsections (A) and (B)
              of this section;

              (F) All of the rigbts   and properly described in'subslctions (B) through @) of this section that                                       I   acquire in
              the future;   and                                             :




              (G) Al¡ replacements of or additions to the kopgtty described in subsections @) through (F) of this
                                                                 tq and all Miscellaneous Proceeds of the Properly
              section and all Insurance Proceeds for loss or damage
              describcd in subsections (A) tårough (F) ofthis secti.on.

     BORROWER'S RIGHT TO MORTGAGE THE PROPERTY AND BORROWER'S OBLIG¡ITION TO
     DEFEND O\ilNERSHIP OFTITE PROPERTY

    I promise that (A) I larvfully own the Property; (B) I have tilc rigbt to mortgage, grant and convey the Property to
    Lender; and (C) there are no outstanding claíms or charges against the hoperty, except for those which are ofpublic
    record.
    I give a genøral warranty of title to Lender. This means that I will be fully responsible for any losses which Lender
    suffers because someone other than m¡aelf has some of the'rigbs in the hoperty which I promise that I have. I
    promise that I will defend my ownership of the Propedy agairist any claims of such rights.

,.-,PLATN LA¡rcUAbE SEpURTTy               NSTRI!\IENT'
 't'rr
   This Securitylnstrument conl¿ins pro-ir", *d ugreelenslthat are used in real propertysecurityinstrumåts all
   over the country. It also containE otber promises and agreeinents that vary in different parts of the çountry" My
   prornises and agreemants are stated in "plain    language."          ,


   CO\¡ENANTS                                                           I




                                                                                                                                                                            '-   :,..

                                                                                                                                                                            .     ,.




                                                          fedgral agency, instrumentality, or entitç or (d) Elechonic Funds
  Transfer,
            Paymenls are deemed received by Lendø whsn received at the location required in the Note, or at another
  location desigaated by Lender under Section 15 of this Security Instrument. Lender rnay retum or accept any
  payment or partiat pa¡rrnent if it is for an amount that is less than the amount that is thsn due. If Lender accepts a
  lesser payment Lender may refuse to acccpt a lesser payment that I may make in thc fuhue and does not waive any
  of its rights. Lender is not obligated to apply such lesser payments when it accepts such payments. If interest on
  principal accrues as if all Periodic Pa)¡ments had been paid when dug tben Ler¡der need not pay interest on
  unapplied funds. Lender may hold such unapplied funds until I make payments to bring the Loan cunenl If I do

          No:
 NewYork Mortgrge-Single Family-Fannle Msc/Freddle Mac              INSTRI'I!{ENT                                      MERS lllodified Form 3013 0I¡01
 _TITE CoIWPLTA¡,CE SoURcE¡ INc._                                Page 4 oî 17                                                           l,l30lñY   08/00 (Rcv.   06ðJ)
         www.coopl¡¡nñoutca.@m                                                                                                    02000, Thc Compliucc Sou¡e.lnc.
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                                                                                                                                                                  1..,::ì.




                                                                                                                      them to me. In the event
                not do so lvitbin a reasonable period of time, Lender will eitbsr apply such funds or retum
                                                                             to                       principal           immediately prior to
                of foreclosure, any unapplieå fun¿s wilt be applied              the   outstanding               balance
                foreclosure. No oflset oi          wbich I   migbt háve now   or  in  the fi¡ture against  Lender will relieve  me from making
                poyro.nt, due under the Note
                                             "t¡-  and  this Security Insfument      òr  keeping    all of my  other promises   and agreements
                secu¡ed by this Security   InstrumenL                                i
                           2. ApplicaÉon of Borrower's Payments and Iísurance -Proceeds. Unlessin Applicable               following
                                                                                                                                    Law.or this
                                                                                                                                      order:
                Section 2 requirli otherwise, Lsnder will apply each of my        payments     that Lender  accepts    the

                First, ùo pay interest due under the Note;
                Next, to pay principal due rmder the Note; and
                Next, to iruy in. amounts due Ls¡der under Section 3 of this Security Instrumeul
                Su"t puy-ents will be applied to each Periodic Payment in the order in which it became due.
                Anyrèmaining amciunts will bs applied as follows:
                First, to paY anYlate charges;
                Nex! to pay any other uroänt, due under ihis Security Insturhent; and
                Ne.tÇ to reduce the principal balance of the Note'                   í

                          If Lender ,"""ioä. a payment Êom me for a tate Periodic Payment which includes a sufficient amount to
                 pay a\ylate charge due, tho payment may be applied to the late Periodic Payment
                                                                                                             and the late cbarge. If more
                                                                                                                                             -than
                one  periodic   payrnent  ís due,'Lsude" orây   apply  any  payment      rcceived   from   me:  Firs! to the reþayment of the
                                                                                                                                              that
                rãrioai" luy-"íts
                             -exists that
                                           are dúe if, and to ihe'extent itrát, eacn pa)rynsnt can be paid in ñrll; Next, to tho exterit
                                    after the payment is applied to the fult payment of one or more Periodic Palments,              such excess
                *y
                mãy "*""r,
                    be applied to any late charges due.
                              Voluntary pr"pny¡¡rn-t"   rvill be applied as followS: First, to any prepayment                              charges; and Next, as
                described in the       Note.                                         i
                                                                                                                         due under the
                              Any application of paymants, lnsurance Proceeds, or Miscsllaneous Proceeds to principal
                                                          due date of the Paiodic          or change lhe amount of those payments.
                Note will      not extend or posçà.rã the                         fayments
                              3.     Monthly Payments For Taxes And Insurance:
                        (a) Borrorver'sþbligations. I will pay to Ipnder allamounts qecessary to pay for.taxes, assessments, . tt
                          .
.'   .:i, .     water chàiesl ."erver r.*¿ ;J,ituer.simiÍar cnoig!¡, gtound tdasehold paymcnts ol rents
                                                                                                        (il-v)' hazard or ryon1tt                                                      ,t:,,.

              . 'i.,.*^"" Joul¡ne   the propeçry, flooiJ insruàrnce (if any), arid any.rbquired Mortgage In¡¡5yc9, or a Loss Resçrve
                                         t 0 in ine pbce of Mo*gagà Insr¡rance. Each Psriodic Payment will
                              in Section                                                                      include an amount to be
                as described
                applied torvard paym-ent of the following items '¡¡bich are called "Escrow   ltems:"
                          (l) The-taxes; assessments, watsr cbarges, sew€r rents¿nd other simila¡ charges, on the Property which
                         iíder Rpplicable Law may be superiorìo this Security Instrument as a lien on the Property. Any ctaim,
                         demand or charge that is made against property becduse an obligation bas not been
                                                                                                                fulfilled is known as a
                              "Lien;"                                                I

                              (2)TheleaseholdpayrnentsorgroundrsfitsontheProp-erty(ifany);
                              i¡t   fne premium fofl*y*¿,uU insurancg required by Lender under Sectio¡ 5 of this Security In¡tumenÇ
                              i+l   The premium for Mortgage Insrnance (if any);                               ,', '            .: ^
                              the   pavmënt
                                          of the  premium
                                                    for       Mórtgage Instnance (if any);     and                                               i.
                                                                                                                           .
                                                                                                                                                           :



                              .ä;'tí;ilil;;ild.i, t¡" *¡ou"i iá, -ycornmìnþÁssociation Dues, Fees, andAssessments.ltems.                                                           ì


                              Xá-'ii,]hrå;i]i",l:";*r   ii-.:i*i"g.itt  terñi, Lúdsr may  include the¡e:amormts as Esøow
                Tbe monthly payrn;¿                             Iteris will be based on l;end€r's estimate of the annual amount
                                               I will make for-Escrow
                required-                                                                              -i ^rr
                                        of these amounts to Lender unless Lender tells me, in writing, that I do not have to do so, or
                              I will pay all
                                                                                                      day tbat my Periodic Payments
                unless epplicablc Law requires otherwise. I will make these þayments on the same
                of principal and interest are due tmder the Note'
                         The amounts thai I pay to Ler¡der for Escrow.Items ünder this Seøion 3 witl be called "Escrow
                                                                                                                               Funds." I
                will pay Lender the Escrow i'u"¿t ør Escrow ltems unless l-ender waives      my obligation   to  pay  the  Escrow   Funds
                                                                              to pay  to Lender Escrorv  Funds    for  any  or all Escrow
                for uny or all Escrow ltems. Lender may waive my obligation
                Items at any time. Any such waiver -6t b" in writing. In the event of such waiver, I will
                                                                                                                pay directly, when and

                I.oan No :           L2AB42B93
                                                                                                                                                                             0I/0I
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                New   York llfortgrge-single Family-Fannie Mae/Tre ddie Msc LJNIFO Rùf INSTRUÞÎENT
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 uåere pa1'able, thti amounts due for any Escrow ftems for which payment of Escrow Funds has been waived by
 Lendei and, if Lender requires, will promptly send to Lender receipts showing zuch payment within such time
 period as Lender may require. My obligation to make such payments and to provide receipts will be considered to
 Le a promise and agreemørt contained in this Security Instnimen! as the phrase "promises and agreements" is used
 in Section 9 of this Security Instrument. If I am obligaæd to pay Escrorv Items directly, pursuant to a waiver, and I
  fail to pay the amount due for an Escrow ltem, Lender may pay that amount and I will then be obligated under
 Section 9 of this Security Instrument to repay to Lender. Irender may revoke the rvaiver as to any or all Escrow
 Items at any time by a notice given in accordance with Section 15 of this Security Instument and, upon the
revocation, I witl pay to Lender all Escrow Funds, and in amôrrnts, that a¡e.then required under this Section 3.
           I promisè ¡9 promptly send to Lender any notices that I receive of Escrow Item amounts to be paid. Ler¡der
will estimáte from time to time tbe amount of Escrow Funds I will have to pay by using existing assessments and
bills and reasonable estimates of the amount I \'/ill have to pay for Escrow Items in ihe fitture, unlæs Applicable
l,aw requires Lender to use another method for detamining the amount I arn to pay.
           Lender m¡y, at any time, collect and hold Escrow Funds in an amount sufficient to permit Leridsr to apply
the Escrow Funds at the timc specified under RESPA. Applicable Law puts limits on the total amount of Escrow
Funds Lsfid€r can at any time collect and hold. This total'amount cannot be more than the maximum amount a
lender could require uuder RESPA- If there is another A¡iplicable Law that imposes a lower limit on ttre total
amount of Escrow Funds Lender can collect and hold, Lende¡ will be limited to tlte lower amount-
          (b) Lender's Obligations. Lender will keep the F,scrow Funds in a savings or banking institution which
has its dèposits insured by a federal agency, inskumentãlíty, or ørtity, or in any Federal Home Loan Bank. If
Lender is such a savings or banking institution, Lender ma¡¿ hold the Escrorv Funds. Lender will use the Escrow
Funds to pay the Escrow ltems no later than the time allowed unda RESPA or other Applicable Law. Lender will
give to me, without chargg an annual accounting of the Escfow Fun{s. That accounting will sbow all additions to
ãttd d.¿u"tions Êom the Èt.ro* Funds and the reason for cach deduction.
          Lender may oot charge me for holding or keeping the Escrow Funds, for using the Escrow Funds to pay
Escrow ltems, for making a yearly analysis of my paynent of Esc¡ow Funds or for receiving, or for veriffing and
totaling assessments a¡rd bills. .However, Lqnder may charge'me for these services if Lender pays me interest on {he
C.ooJfun¿!añdif4pp-li""frfrl-";*p."oiià,mU."torik"suchap'harge. penåer'witt"pi.Uãrêquireã'topai.rtle',' '
u"y into"Jt or eantingå'ón tbe.EscrÑ Furids uhless either (,1) Lender and I a$ee in wr¡lind that Lend€r will pay
inierest on the Escrow Funds, or (2) Applicabls [¿w requires Lendø to pay interest on the Esøow Funds.
          (c) Adjustments to the Escrow Funds. Under Apþlicable I-aw, there is a lirnit on the amount of Escrow
Fr¡nds Lendsr may hold. If the amou¡t of Escrow Funds held by Lender sxceeds this limit, thø¡ there will be an
cxcess amount a¡rd RESPA requíres Lender to account to me. in a special nunner for the excess amount of Esqow
Funds.




govemmental authority or other party-
         I will promptly pay or satisff all liens against the koþerty that may be superior to this Secu¡ity lnstrurnent.
However, thís Security Instrurnent does not requi¡s me to satisff a supørior lien if: (a) I agree, in writing to pay the
obligation which gave rise to thc superior lien and Lender approves the way in which I agree to pay that obligation,
but õnly so long ai I    performing such agreement; (b) in good faith, I argue or defend against the superior lien in
                      ^m
Ican No:       120 842893
New York Mortgrge-Single Family-Fannle Moe/Freddie ùtac UNTFORM   INSTRUMENT                            MERS Modilied Form 3033                01/01
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                                                                          :

                                                                                                be enfo.rced, but only until the
     u l"rurui, so that in Lender's opinion, during the lawsuit, rhc superior liør may not
                                                                                                  in writing by Lender, that the
     larvsuit mds; or (c) I secure to¡n r¡e holder-of that other lien an agreement, approved
                                                                           person-    If Lsnder  determines    that any part of the
     lie' of this Securiry Instrument is superior to the lien held by ihat
     property is suUjecito a superior tien, Lender may     give Borrower   à  notice  identifying  the  superior  lien. V/ithin l0-
                                 ',nr                                 pay  or  satisry the superior  lien  or take  one or more of
     days of the date on *n¡*r        notice is  given, Bonãwer shall
     the actions mentioned in this Section    4.
                                                                                                     estate tax reporting'servico
               L¡nder also may require me to pay a one-time charge for an independent real
                                                                                         permit Lender   to make zuch a cbarge'
     ur"¿ Uy f*ã"inìo*"ãtiorwith the Loàn, unless Applicable Law does not
                  Borrower's Obligation to Maintain Èazard Insurance or Property Insur¡nce. I
               S.                                                                                              will obtain
                                                                                       now  are' or in the fi¡ture will be,
      hazatdor p(opcrty ittt"r*". toiover all buildings and  other. improvements  that
                    property.  The insu¡ance  will coier loss or  daTãge   caused by fire, hazards  normatly   covered  by
     located on the
     ..Extended Coverage,, hazard insurance policies, and any óther haz¿rds for which Lender requires coverage'
                                                                                        the amounts (including, but not
     inctuding, but notii*it ¿ to earthquakes'and floods. The insurance will be in
                                                                                                 Lender requires r¡nda the last
     limited to, deductible levels) and for ttre periods of time required by Lender. What
                           duriog the term of thl Loan.    I  may   choose the insurance   comPany'  but my choice is subjectto
     ssntencc
               "un "lrng"
     Lender,s right to Ãr"pptoír. Lender     may   not disappróye     my  choice unless  the disapproval   is reasonable' Lender
                                     (a) aon.-ti-,  cbarge   iår flood  ione determination,  certification  and tracking services,
     may require me to fay'eitn   er
                                                detcrmiiaticn and certification services     and  subsequent    charges each time
     o. p¡ oor-ti*"             iot ìoo¿
            "          "hig"              "oo"
                                      occur which reasonably might a{d         the flood zone  determination    or certificatiom' If
     ,"*"ípir,À,    or   si-il-ËlÀges
                                                                                                  Manâgernent Agency to review
       I disagree with the flood zoie determination, I may r"qurtt the Federal Emqgency
                                        and I promise  to pay any fees chàrged   by the Federal Emergency Managemeirt Agency
       the flood zone dete;ination
       for its review
                                                                                                                           coverâge'
                 If I fail to maintain any of the insuance coverages described above, Lendør may obtain insr¡rance
                                                                                                                  q?e  or amount  of
       at Lender,s option anJ .y .*irnr". Ler¡der is under ão                      to
                                                                       obligation     purchase  any  Particula¡
                     -¡n."efori                   will  cover Londer,   but might   or  might  not protect me, my equity in the
       coverage.
       property, or rhe contäts     of "åurr"g,
                                 "u"h  the Property,- against any ri$,
                                                                         hazzrd or liability and might provide greater or lesser
                                                                                                                  so qbtained might
       coverase than was nreviously in effècl I a-cnrowleúge that ihe cost of the insurance çoverage
,    ,ä"ihäö;;-;i;;;
    .'                            lüJie iì"*Jce thar I coutd'Íavd       pbtained.   iúy iT"*F'These
                                                                                                   disbr¡r-se8'bv  Lender urrder this
                                                                                                                will bear lnterest at
       S"ïü;:5 *rf ur"o*ËLJ u¿áìtior"t ¿"ut sécured by            this security'lustuqren-L           Tnounts
                                                                                                           with
       the interest rate set forth in the Note from     the date of disbursement    and will be payable          such interest, uPon
     ,notice ,from Lender to me requesting payment
                                              -and                           '
                All of tue insùance policîå         renewals of those'policies witl include what is known as a "Standard
                                                                                     and/or a¡ an.additional loss payee' Tbe
      Mortgage Clause,, to protræ iende" and will name Lsoder ab mortgagee
                                                             to Lendei.           will  have the right to hold the policies and
      i"r*îí"rr policies and renewals will be acceptable                 -Lerider all receipts of paid premiums and renewal
.     renewal certificates. If Lender requires,   I  will promptly give  Lender
      noii".t that l reccive.
                                                                                                                 or
                 If I obøin ãy form of insurance coverage, not otberrisise require! b¡-Ltndel for.dam4ge !q destruction
                                                                                a1d  will nlmq  Lçnde,¡ as mortgagT   and/9r as
      of, the pro¡erry, srich,þlic¡lwl1 include a Søndard.M9lg4g-e:Claule
          . ,iIf rhere is a loss:or.damage'to rhe Properry, I will prámp$ notiflr the l,sgran-lelco¡npany 1nd Lènder' If I
     do     pr"r"îifîO;¡;" to,n"ã.r"*"rco-p*y thui Ue f_oss.<ir du-ug. occurred, ttian Lcnder Tuy q? t:;,*
        "or r¡".u*o*ip"iãuv the 'insuranèc óo*p*y for lössroq {am¿ge.¡o ttr.e rryw-rrr is called "Ius¡'rance
                                                                                                             the underlying
     ko"..ds.'r uri.* L",ia* *d I ot¡"*ir. "gro in *.itiog, -y Insuranie Piòceëds, whether or not (â) it is not
                                                                                                        unless:
     insurance ** .rquirJãîv l*¿"r,        will be u-sed to repair or to restore the. damaged  Pro¡erty
                                                                                        Insrnance Proceeds for that PurPose
     economically f"";ibl; b;ake thá repairs or restorationl (U) tUe use of the
                                                                                   (c) Lender and I have âgreed in writing
     would lessen the protection given to Lènder by this Security Ínstrumen! or
                               proceeds  for that prrpor". During    the period that  any repairs or restorations are being
     not to use the Insurance
                                                      until it has had an opportunity  to inspect the Property to verifythat
     made, Lender may bold any Insurance nocee¿s
     the repair wo.t h", b""r,iompleted     to.Lender's satisfaction.   However,  this  inspcction will be done promptly'
                                                                              payment or in_a series of progress payments
     Lender may make payments foi the repairs and restorations in a single
     as the work i,               unless tä¿er and I agree othriwise       in writing crr unless Applicable Larv requires
                          "o.¡"t.a.
      New York ùlortgegesingle Faoily-Fannie Ilf æÆreddie Mac IIi\IIFORM
                                                                                    ENT                                      MERSModified Form 3033 0l/01
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      otherwise, Lender ís not required to pay me any ioterest o¡ gamings on the Insr¡rance proceeds.
                                                                                                             I will pay for any
      public adjusters or other third parties that I hirg and their feès will;lot be paid
                                                                                          out ofthe tnrurun"e proceeds. Ifthe
      repair or restoration is not economically feasible or if it would lessen Lender's protection
                                                                                                           under this Security
      Instrumen! ther¡ the Insu¡ancs Proceeds will be u.s.e{ redrice.the amount that I owË to Leoder
                                                               1o                                           under this security
      Instrument. Such Insurance hoceeds will be ap-plied in the örder provided for in Section z,
      Proceeds rernain after the amount that I owe to Lender has been pàio in firll, the remoin;ng
                                                                                                        lf atyof the Insuraoc'e
                                                                                                      p;eeis will be paid to
      me.
             If I abandcm the Roperty, Lendsr may file, negotiate and settle any available insurance claim
                                                                                                               and related
   matt€rs- If I do not answcr, within 30 days, a notice from Lènder stating thát the insu¡ance
                                                                                                 company nas offered to
  settle a claim, Lørder may negotiate and settle the clain Th¡ r!-day p"i¡ø øn uegin
                                                                                            wtren tne notice is given. In
  either evm! or if Lender acquíres the Properry under seaibn zz órìnis security Tnstu,nãior
                                                                                                       otherwise, I give
  Itgnder my rights to any Insurance Proceeds in an amount nót greater than the ¿¡ailt-
                                                                                                     undcr the Note and
  this Security Instrument. I also give Lsnder any other of my rights (other than.tbe rigbt toãy.rf"oa
                                                                                                                                ;;;i;
                                                                                                              of uneamed
  qe$1ms that I paid) r¡nder all insu¡ance policies cover'ing.the noperty-, if the righrs ie              ro the coverage
  of the Property. Ler¡der may use the Insurance hoceeds éiúe" to iepãir or resøie'the pö*ry "ppüá"ut"or ,o pay amounts
  unpaid under the Note or this security Instrument, whether or'not the; due.
               6' Borrower's obligations to occupy The Property. I will occupy the Property and use the property
  asmyprincipalresidencewithín60daysafterlsignthisSecrçitylnstumenl                                   fwillcontinue'tooccupyrbeproperty
  and to use the Property as my principal residence for at teast:oni year. The one-year p*i"O
  ocgu-PY the.Property. However, I will not have
                                                                                                    rifi Uegin w6en f nrst
                                                       _to g."upi the Properry and use til. ptop"rtrl as my principal
  residence within the time frames set forth above if I end.r u-grþ.r in writing that I do
                                                                                           not haveìo do so. Lender may
  uot refuse to agree unless the reñ¡sal is reasonable. I also witi not have toãccupy the properly
                                                                                                      and use the property
  as my principal residence within thc time Êames set forth.above if extenuating
                                                                                                          exist which are
       mycontol.
  beyond                                                          I                        "ir",rmstunc.,
       7- Borroler's Obligations to Maintain And Þrotect The Property And to Futfill Any Lease
  Obligations.                                                           i




            9- Lender's Right to Protect Its Rights in The Property. If: (a) I do not keep my promises
                                                                                                             and,
agreements made      in this Securiry Instrumsnt; (b) someone, including mg-seciuity
                                                                             begins a legal pio..ãAng that may
sigrrificantly affect Lender's interest in the Property or rights undeitt is         lotË-u.n'*i (such as a legal
proceeding in banlauptcy, in probate, for Condemnation or Forfeiture, proceedings                          *ni.n
                                                                                                                             "outa
                                                                                                                                       live a person rigñts
Ioan No:         120842893
New   York iVlortgagerSingle Faarily-Fannie Ill¡rr'Freddie Mac UNIFORM INSTRU¡IÍ ENT                                  IIERS ModÍtied Form 3033 0l/01
        COMPLIANCE SOURCET      INC.-                            Page 8 ôf   t7
-THE     www.complhm6ourc.çom                                                                                                             l,l30lNY   oUtX) (Rav. 06rÐ3)
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                                                                                                                                                                                .l




                                                                                             Instrumøtt, proceedings for
which could equal or exceed Lendsr's interest in the Property or under this Security
                                                                                   or  to enforce  larvs or regulations); or
enforcement of a lisn which may become superior to this Secùity Instrumen!
                           properiy, then Lenåer. may do  and  piy for whatever   is reasonable   or appropriate to protect
i"j t lu.,r" abandoned the                            under  thii Security Instrumer¡L
Lénder', interest in the Properry ãnd Lendsr's rights
                                                                                      and/or assessing the value of tbe
           Lender,s actions may inctude, but are not limited ¡o: (a) proteaing
properq,; (b) securing and/or íepairing the            (c) payrn' sYms      eliminate any lien against the Property that
                                                Fop.try;
       t ';dúl or sup-erior ro rhisproperty
                                                                           -to
                                     secirity   Instrumái; i¿) áppi"ting   in. courü and (e) payrng reasonable aÉorneys'
n'ui
fees to protect ie interesi in the             and/or rights under ihis securiry Instrument, including its secured position
i' u U*fo.up,"y proceeding. Lendá          caå also entei the Properry to make repairq change locks, replace or board up
doors and windows,         ¿roio'*uto from pipes, eliminate uuilaing or other code violations or dangerous corditions,
                                                                      the Property- Although I ender may take action
have utilities h¡med on or off, and take a;V Lther action to sepure
under ihis Section S, Lenàer áoes not hav" to do so and is under     no duty to do so- I agree that Lender will not be
                                                                  '
liable for not taking any or all actions under this Section 9' . - -
          I will pay to Lrnaer *y             with interest, which Lender spends under this Section 9. I will pay those
                                     "*ounts,                                   I will pay intcrest on those amounts at
amounts to Lcnder wher¡ Le,Í¡der sends me a notice roquestinÉ that I do so.
                                                                               on the date that the amount is spent by
the interest rate set forth in the Note. Interest on .ucú amouilt will begin
                                                                               this promise to pay those amounts with
Lender. This Security lnrtru*ent will protect Lsndsr in case I do not keep




pay interest at the rate provided in the Notc'
                                                                                                          for certain losses it may
          A Mortgage Insurance policy pays Lender (or any entity that purchases the Note)
                                                                                  party to  the Mortgage    Instra¡¡ce polioy'
incur if Borrower does not ..pry th" I-o* ur agreed.       Borrower     is not a
                                                  risk     all  Mortgage.lrsu¡ancs       from   time  to time,  and may vnter into
          Mortgage inr*os ukáss       theit total      on
                         parties that sha¡e or change   their  risk, oi reduce   losses.   Tbese   agreements a¡e based on terms
agreemsnts øin-otner
and conditions that are satisfactory    to the mortgage insurer and the other party (or parties) to these agfsemsnts'


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                                                                                                                         MERS Modifled Form 3033 01/tl
New    York Mortgegcsingle Family-Fannie M¡c/Freddie ùf ac UNIFORM
         CorrtPLf ANCE SouRcE'     lNc.-                         Prge 9 of   l7                                                                 t,(]olNY 08r0OEct.     06Æ3)
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              If the koperty is damaged, such Miscellaneous Prbceeds ty!              applied to restorarion or repair of the
     Properly, if (a) the restoration or re,pair is economically feasibte, an{ -u:
                                                                                (b) renå"r:s ;;;tty given in this security
     Instrument is not lessened- During such repair           rätoru¡iãn'perioà,'Lend* ùn-r""ì the right to hold such
     Miscellaneous hoceeds until Lenderhas had an opprrt "oa niÇi'oiiri"o
                                                                               the rroperty ruoiry,lu, the work has been
    completed to Lender's satisfaction- However, the'inspection will
                                                                          be undertakå pírrrrptly.- Lender may payfor
    repairs and restoration in a single disbu¡sement or in a series                                                       the
                                                                    of progress payments as the work is completed- unless
    Lender and I agree otherwise in writing or r¡nless Applicabte rïw.lquitËr
                                                                                   Lær.rt t" o#; on such Miscellaneous
    Proceeds, Lender will.not be requiredlo pay trorrower any
                                                                    nr"..rt or eamings on lhe Miscellaneous proceeds. If
     the restoration or repair is not economicaliy ieasible or Len-dei's
                                                  -be_applied              security given in this security Instruma¡t would
     lessened the Miscellaneous Proceeds will                                                                                  be
                                                               to the sirÃ"i.*i.ã, whether or not ihen due- The
  .  any, will be paid to me. such Miscellaneous Pr-oceedq-rvill.
                                                                     be applied in thä order pr"uiJ;; for in scction 2.
                                                                                                                        excess, if
 ' . '
.1 ,,         In the event ofg.lotal takinþidastrue(ion, dr loss ür *ìuþ.rf{hé p.;;.rty:rn;                               ,
                                                                                                                                                                                     -,('
                                                                                                    rtii"rtr-eous,proceeds wíll ,
     be'appliçd to rhe sum_s sr"lr."j: y|9rtrq.or nòt tnsn ¿uè.   Ït,   ,*"Lr, iruny, witt'ue p.¡äìãL..
              In the event of a partial taking, destruction, or lqss in value of the
                                                                                     kopertyìå *ui"rur" fai¡ market value of
    the Property immediately be-fore tþe partial taking, destructionj
                                                                         or ior, ¡n varuË is
    of the sums secured immediately before the partial taking dåstruction,
                                                                                                           ;qil
                                                                                                   ,;';; geater tha¡r the arnounr
                                                                                    o, torr-in'uJ*, ihe sums secured will be
    reduced bv the amount of rhs Míscellaneous       i'tg.;:J;,1ïùü          by rhe following Êaction: (a) the total amount of
    the sums secured immediately before the partial taking, J".[r"i¡"í,
                                                                                ø loss in va"fue ¿iviJea by ¡6) the fair market
             *t   Property immediately before thg partiat taÈng, desrructìon,
                                                                                   or toss in value. A"y                               úX;rh",î ö;ij
   ,ïl:.tt




           I will be in default under this securiqr Inskument if any civil or criminal
                                                                                       action or proceed.ing that Lender
  determines could result in a court ruling (a) that-would require.Ëorfei**..:f
                                                                                     noggrt/, or (b) that could damage
  Lender's interest in the Property or rigbts,mdsr this security lnrt uÁ*t       t:
                                                                             "Forfeiturei,is á'couiaction to require the
  Properþr, or any Part of the Propefly, to be givcn up. I may.correct
                                                                           the default by obtaining a çourt ruling that
  dismisses the court action, if Lender determiies that rhis
                                                                                    ForÉiture of tt'e eroperty                                         and also
                                                                 "rr;;iüprever¡ts
 NewYork Mortgagc-Single Family-Fannie Mae/Freddie M¡c UNIFORIIÍ TNSTRTJ}TENT
        CoMpLTANcE SouRcE,        INc.-                                                                             MERSModilied Form 303i 0r/0t
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                                                                                                                                         '. ..:- l'..




prevents any damage to Lender's interest in the Properry or rigbts
                                                                       under this Security Instrument' If I correct the
                                                   of tlis Security Instrument  discontinued' as provided in section 19
defaulq I wiu have the right to have enforcement
                                                 required  Immediate   P^ayment  in Full. The proceeds of any award or
of this Securiry Instrum.ãl ev.n ¡f len¿er   has
                                                                                   interest in the Properly arc assigned,
claim for damages ttrat are attibutable to the damage or reduction of Lender's
and will be paid, to Lender-
                                                                                                            be applied in
         All Miscellaneous proceeds that are not applied to rästoration or repair of the Property will




I.aw.
          If the Loan is subject to Applicablc L¿w which      sets maxirnum loan charges, and that Applicable l¿w is
ñnally interpreted so tllat tú" ¡oto"rtir other  loan charges   collected or, to be collected in connection with the Loan
                                Ãy                    will     reduced  by the amount necessary to reduce tbe charge to
;;;;ä ;.r*itted limisi      (a)    suct loan-charge        be
                                                                                       permitted tirnits will be refunded to
rh;;"""t,rr¡ ümit; and @)-ány ru*s utt*dy.col-lected from me which exceeded                 the Note or by making a di¡ect
                                                               the principal  orved  under
me- Lendsr may cboose'ó m'zrke this ren¡nd by reducing
                                                                         will  be t¡eated  as a partial PrePa)msnt without
payment to Borrower. ifu trn n¿ reduce.s      principal, the  reduðtion


Ioan No:         1-2084 2893
                                                                                                                       MERS Modilied Form 3033 01i01
New York Mo rtgage-Singlef':mily-f'¡¡¡is   lvl¡e/Fredd   Íe   ùIsc IJNIFORI| INSTRUMENT
                                INc.-                                  'Pagellofl?                                                        l.l30l!{V 0t/l}o (Rcv. 06/D])
        Colt¡PUANcE SoltRcE                                                                                                         02000, Tho Coøp!åncc Sourcc, Iac.
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    any
        Prepayment charg,e (evcn if a prepayment charge is prolided for under the Note). If I accept such a refund that
   is paid dirgctlyto me, I will waive any right to bring a.lawsuit against Lsnder because of the overcharge.
             l5- Notices Required under this Security instrument. Atl notices given by me or Lender in connectíon
   with this Security Instrument will bs in writing. Any notice to me in                  wiitr t¡¡s Securiry Instument is
   considered given to me wheri mailed by first class mail or ú¿hen actually  "orrnection
                                                                                 delivered to my ndtice udd¡ess if sent by
   other means. Notice to any one Borrower will be notice to all Borroweri unless Applic"úl" L"* expressly
                                                                                                                   requires
   otherwise. The notice address is the address ofthe Propefly.unless I give ootice to iender ofa diflerent ã¿¿r.ss.
                                                                                                                           t
   will promptþ notify Lender of my change of address. If Lender speõifies a procedure for reporting my change of
   address, then I will only report a cbange of-address throúgh that specified- procedure. fhËre
                                                                                                        mãy be only one
   desigrrated notice add¡ess under this Security Instrumsnt at any one time. Any notico to Lender
                                                                                                         øll U, giv; Uy
  delivering it or by mailing it by ñrst class mail to Lendér's address stateð on the first page of this -Security
  Insfumer¡t unless Lender has given me notice of another âddress. Any notice in connection with this
                                                                                                                   Security
  Instrument is given to Lender whsn it is actually received by Lender. If any notice required
                                                                                                         by thís Security
  Instumerit is also required under Applicable Law, tbe Applicable Law requirement wil saiisfy the conespondin!
  requirement under this Security Instrument.                     r


           ló. Law That Governs this Security InstrumenÇ Word Usage. Thís Security Instrument is governed
  by federal law and tle law of New York State. All righs and obligationJcontaíned in this Security Insnuäent are
 zubject to any requirements and limiùations of Applicable I¿w.                Law might allow the pfoo to agree by
 conhact or it might be silent, but such silence does not mean that{nelicaUte
                                                                     Leida and I cannJt agree by coñmct. If anyterm
 of this Securi-ty Instrument or of the Note conflicts with Applicable law, the conflict wi'il notiffect other provisions
 of this Secuiity Instrument or the Note whicb can opãiáte, or be given etrecq without t¡e con¡icting provision.
                                                                                                                     This
 meaus tbat the Security Instum€nt or the Note will remain as if the conflicting provision did not exist.
          As used in this Security Instrument: (a) words of the masculine gender mean and include correspond.ing
 words of the feminine and neuter ganders; þ) words in the singular *ean und include tbe plural, an¿
                                                                                                            worAì in thã
 plural mean and include the singular; and (c) the word "ma¡4' gives sole discretion withoui any obligation to
                                                                                                                     take
  any action.                                                    i

           l7- Borrower's Cop¡ lwill be givar one copy of úre Note and of this,spgurity Inskumeat.
 ,' .
       , . lE- Agrellels about.Lsnder"s,ftqHts If the Property Ts Sold or iränsferred. L'en{et ràay rlqdire,                                             '

 Immediatò Payment iir Full of áll Sums Sécureå by thÍs Secuiity Instument if all or. dny part oitnd properry,
                                                                                                               är if
 any right in the'Property, is sold or transferred without Lender's prior written perrnissiått. ff Bor.o*.. is not a
 nah¡¡al Pe¡son and a beneficial interest in Borrower is sold or tansfsrred without Lenda's prior rwittør permission,
 Lender aJso m-a1l.qul" Immediats Payment in Full. Howevtlr, tliis option shall not be exeïcised Uy
                                                                                                       Lenaer if sucú
 exercise is prohibited byApplicable Law.                        ;




          (b)  I correct my failure to keep any of my other promises or agreements made in this Security Instrumcnt;
          (c)  I pay all of Lender's reasonable expenses in enforcing this Security Instrumert including for example,
          reasonable attomeys' fees, property ínspection and valuation fees, and other fees incurred ruît tn" purpose
          of protecting Lender's interest in the hoperty and rights under tbis Security Instrument; and


         No:
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             (d) I do whatever Lendsr reasonably requires to assurs that Leuder's interest in the Property and rights
             under this Security Instument and my obligations under the Note and undsr this Security Insrument
           continue unchanged.                                 :

           Lender may require that I pay the sums and expmses mentioned ín (a) through (d) in one or more of the
  following forms, as selected by Lender: (a) cash; þ) money order; (c) certified check, bank check, teasurer's check
  or cashier's check d¡awn upon an institution rvhose deposits are insured by a federal agsncy, instrumentality or
    entiry; or (d) Electonic Funds Transfer.                           '
              If I fulñll all of the conditions in this Section 19, then this Security Insfument will remain in full effect as
   if Irrimediaæ Payment in Full had never been required Höwever, I will not have the rigbt to havc Lender's
   enforcement of this Security lnstrument discontinued if Lender has required Immediate Payment in Full under
   Section t 8 of this Security Instrumenl                            ''
              20. Note Holder's Right to Sell the Note or an Iriterest in the Note; Borrower's R¡ght to Notice of
   Change of Loan Servicer; Lender's and Borrower's Right.to Notice of Grievance. The Note, or an interest in
   the Note, together rvith this Security Instrument, may be sold one or more times- I might not receive any prior
   notice ofthese sales.
             The entity that collects the Periodic Payments and performs other mortgage loan servicing obligations
   under the Note, this Security lnstrumenq and Applicable Law is called the "loan Servicer." Thetre may be a cbange
   of the Loau Servicer as a result of the sale of the Note. There also may be one or more changes of the Loan Servicer
   unrelated to a sale of the Note. Applicable [*rw requires that I be given written notice of any change of the Loan
   Servicer. The notice will søæ the name and address of the neri Loan Servicer, and also tell me tbe address to which
  I should make my paynents. The notice also will contain anf other information required by RESPA or Apþlicable
  Law. If the Note is sold and thereafter the Loan is serviced by a Loan Servicer other than the purchaser of the Note,
  the mortgage loan servicing obligations to me will remain wiih the Loan Servicer or be transferred to a successor
  Loan Servicer and are not assumed by the Notc purchaser unless otherwise provided by thc Note purchaser.
             Neither I nor Lender may commence, join or be joined to any court action (as either an individual party or
  the member of a class) that arises Êom the, other party's actiorls pursuant to this Securiþr Instrument or that alleges
  that the other has not fulfilled any of its obligations u¡der this Security Instumenq unlesç the othcr is notified (in tbe
  mhñúer reqqired undensection' iS o¡ tbir Sécurity Instrurúqr¡t) of tho ïñfuffilleC obligation atrd given,o rehsònable
',tíme
         period ttr taks.corrective dction'. If .A.þplicable Law proi'idei a time peri-od'whicb Vilt elapsé befdre cert'åin
  action can be taksn, that time period will be deéiffed to be reasonable for purposes of this paragraph. The notice of
,
  acceleration and opporhrnity to cure given to me r¡nder Section 22 qnd, the notice of ths demand for payment in fi¡ll
  given to me under Section 22 will be deemed to satisff the notice and opportunity to take corrective action
  provisions of this Section 20. All rights under this paragraph are zubject to Applicable Larv.
             21. ContinuaHon of Borrower's Obligations to Maintain and Protect the Property. The federal laws




trigger an Environmental Cleanup.                                 :

          I will not do anything affecting the Property that violates Environmental L,aq and I will not allow anyone
else to do so. I will not cause or pernrit Hazardous Substances,to be present on the Properry. I will not use or store
Hazardous Substances on the Properly. I also will not dispose ofHazardous Substances on the Property, or release
any Hazardous Substance on the Property, and I wilt not allow anyone else to do so. I also will not dq nor allow
anyone else to do, anlhing affecting the koperty that: (a) is in violation of any Envûonmental Law; (b) creates ân
Enyironmental Condition; or (c) whictr, due to the presence, use, or release of a Hazardous Substance, creates a
condition that adversely affects the value of the Property. The promises in this paragraph do not apply to the
presence, use, or storage on the Property ofsmall quantities of.Hazardous Substances that are generally recognÞed

Toan     No: I 2ô44?. 893
New York lìlortgage-Single   F"-ily-Frnnie M¡e/Freddie M¡c LiNIFOR$l INSTRUIt{ENT                                MERS llfodilied Form 3033 0l/tll
       CoMPLTANCE SouRcg        INc.-                           Page 13 of 17
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   * uppropriute for normal residsntial use and maíntenance of the hoperty (including, but not limited 0o, Hazardous
   Subit¿nces in consumer products). I may use or store these small quantities on the Prope.ty. In additicn, unless
   Envi¡onme¡rtal Law requires removal or other action, the buildings, the improvemefits and the fixtures on the
   property are pemútted tó contain asbætos and asbestos-containing materials if the asbestos and asbestos-containing
   maùriais are undisturbed and'hon-friable" (that is, not easiþ.crumbled by hand pressure).
            I will promptly give Lender writter¡ notice o1 (a) any investigation, claim, demand lawsuit or other action
  by any gouooro.ntul or iegulatory agency or private party idvolving the Properly and any Hazardous Substance or
  ¡nvironmenøl L,aw of whích I have actual knowledge; (b) a{ty Environmeutal Condition, including but not limited
  to, any spilling leaking, discharge, release or lhreat or release of any Hazardous Substauce; and (c) any condition
          Uy tneþesen"r, us" or release of a Hazardous Subst4qce which adversely affccts the value of the Property.
  If I learn, of any goveflirnental or regulatory authority, or any private party, notifies rne that any rcmoval or other
  "u-ureá
  remediation of ãny Hazardous Substance affecting the koperry is necessary, I will promptly take all necesary
  remedial actions in accordancs with Environmental Law. :
            Nothíng in tbis Security Instrument creates an obligation on lænder for an Envi¡onmental Cleanup.

  NON-IJNIFORM                COVENANTS                               :




  I also promise        and.agree with Lenda as   follows:            !
          22. Lenüei,s Rights If Borrorver Fails to Keep Promises and Agreements Ercept as provided in
  Section 18 of this SeCurity Instrument, if all of the condltlons stated in subseetions (a)' (b) and (c) of this
  Section 22 are met, LendÀr may require that I pay imrnedÍately the entire amount then remaining unpaid
   under the Note and under this Security Instrument. Lendér riray do this \'Y¡thout making any further demand
   for payment This requirement is called "Immediate Payrnent in Full."
            If Lender requires Immediate Payment in Full, Lender may bring a lawsuit to take away all of my
   remaining rights in the Property and have the Property sold. At this sale Lender or rnother person may
   acquire tie froperty. Thisls known as "Foreclosure and Sale." In any lawsuit for Foreclosure and Sale,
   lenae¡ will have.the right to colleqt all costs and disbúrsements and additÍonal allowances allor'ved by
. .Ãbpi.LUfr    fr"r" ,eoA :,vilihave the right to' add itl ,reirõhable attorrieys' 'fees to'çhe anioimt ,I owe Lender,.
' '*ilicn fées shall bècomè part df the Sums Secured-              .:
                                                                               (




            Lender ¡¡ry .eqoir" Immediate Payment in Fuill under this Section 22 only if all of the following
   conditions are met:
            (a) I fail to keep any promise or agreement madelin this Security Instrument or the Note, including'
            but not limited to, the promises fo pay the Sums Secured when due, or if another default occurs
                 under this SecuritY Instrument;                   :

                 (b)  Lender sends to me, in the mânner described'in Section 15 of this Security InstrumenÇ a notice
                 ""t: stâtes:
                 that                                              '

                      [ii m" promise or âgreement that I failed to keep or the default that has occurred;
   , :.           ' iZi fnu action that l äust take to correct that default;- .         '
                   ' ig)'f date by which I must correct the defaull That'date will be at least 30 d.ays from the date
I '    iu
            '.                           d;';;;;r;&rhe   derault br !þe.dat1ståtediìn',the notice, L:lde.'may req,,ire
                       ¿öliä;ñ
                       of foreclosure and sale;
                  . (Ð That if I meet the conditions   stated in SecËon 19'of this Security InstrumeuÇ I will have the
                       right to have Lender's enforcement of this Securlty fnstrument stopped and to have the Note
                       aoì this Security Instrument remain fully etrective as if Immediate Payment in Full had never
                       been required; and                                 :


                       (ó) That I have the right in any lawsuit for Foreclosure and Sale to argue that I did keep rny
                       promises and agreements under the Note and under this Security InstrumenÇ and to present any
                       õther defenses that I maY have; and
                 (c)   I do not correct the default stated in the notice from Lender by the date stated in that notice-
  I-oan                            893
 NervYork MortgrgeSirgle Family'Faonie Mae/Freddíc Mac UNIFORM                                                              IvIf,RS Modifled Form 3033 0l/01
            coùrPL¡ANcE SouRcE,        INc.-                   Page   ßof fi                                                                       t430lNY 0E/0O (Rcv. 06,o3)
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           Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 100 of 139




                                                                                                      has been paid all
        23. Lender's Obligation to Discharge this SecuiitY Instrument. When Lender
                                                                    Lender  will discharge  this Security   Instrument by
amounts due under the Note and under this Security Instrument,
          a certificate stating that this Security Instruínent has been satisfied. I will pay  all costs of  recording the
delivering
                                                                        the discharge of this Security Instument, if Lender
discharge in tbe proPer official records. I agree to pay a fee for
                                        I pay such a fee, but only   if  the fee is Paid to a third party for servíces rendered
so rèquires. Lender may requlre that
and the charging of the fee is Permi tted by Applicable Law
                                                                                                    to mo by Lender subject to
          24. Agreements about Nerv York Lien Law. I will receive all amounts lent
the trust fund provisions of Section 13 of the Ncw York Lien
                                                                      L¿w.     This  means   that I  will: (a) hold all amounls
                                                receive ftom   Lender      undø   the Note  as  a trust  fr¡nd; and (b) use those
which I receive and which I have a right to
                                               (as defined in the  Nerv     York   Lisn Law)   before  I  use them for any other
amounts to paY for "Cost of lmProvement"
                                                                                  that for any building or other improvement
purpose. The fact that I am holding those amounts as a trust fiind means
                                                                  the larv to use the amount in the manner described in
located on the ProP erty I have a special responsibility under
this Section 24.                                                   I

           25. Borrower's statement Regarding the Propert{ [check box as applicablej'
                                                                                             by a one or two family
             X   This Security Instrument covers real property i{rproved, or to be improved'
                 dwelling only.
                                                                                         to be improved, by one or more
                 This Security Instrument covers real property princípally improvef,-o1
                                       in thc aggregate, not more ihan six residential dwelling  uui¿s with each dwelling
                 stuctures cántaining,
                 unit having its own ieparate coofing facilities'          ,




           !     ffrir Security Instrument does not cover real prop'erty improved as described abovs'




                  L20
                                                                                                                       llfERS Modilied Form 3033 01/01
New   York lìlo¡tgage''Single Femily-Fau nte llf ¡e/Freddic M¡c IJNIFORM
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                                                                    Page   l5 oflT                                                          l{30lNY   o8/0o (Rcv.06r'03)
                                                                                                                                      92000. Thc Cooplimcc Souæc, lnc.
-TñE     www.compli¡ncÐu   rcc.com
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                         Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 101 of 139




                          By SIGNING BELOW, I        accept and agree to the promises and agreements contained in pages                                         I   through

                 16 of this Security InsuÏment and in anyrider sigrrèd by me arid recorded
                                                                                           wittt it'

             Wifrrqsses:




                                                                                                                                                                      (Seal)
                                                                                                                                                                    -Borrowg




                                                                                                                                                                                         :*




                                                                                                                                                                      (Seal)
                                                                                                                                                                    .Borrowet

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",




                                                                                                                                                                      (Seal)
                                                                                                                                                                    -Borrower




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                 New York Mortgrge-sioglc Famiþ-Feruie M¡e/Freddie                                                                              l4sDlNY 08/00 ßÉv. 06/03)
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                 Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 102 of 139




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       State

       County
               of

                 of
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              On the                day        of                                 .            in the vear                                         before me, the
      undersigned personally appeared
                                                                                                                                            ¿¿oli

      personally knorvn to me or proved to me on the basis of satisfactory cvidence to be the individual(s) uúose name(s)
      rs (arÐ subscribed to the within instrument and acknowleilged to me that he/she/they executed the same in
      his/ber/their capacity(ies), and that by hiVtrcr/their signature(s) on the inskumenÇ                   or thc person
      upon behalf of rvhich the individual(s) acted  executed  the instn¡menl




                                                                                        Ouallfied ¡n Westchestsr Cour¡ty _/t                              /
                                                                                      Commission Expíres June29,<tfi$$ {




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Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 103 of 139




EXHTBTT I
                              Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 104 of 139
                                                          .   j.




                                                    PENACHIO MALARA LLP
                                                    235 Main Street - Suite 6004
                                                      White Plains, NY 10601
                                                          (9t4) e46-2889


                                                                                                April 19,2011
                                              Re:   Engagement Letter: ChaPter 11



          Bv US Mail

          Michael Pizzuti
          Allenwood Federal Correctional Facility


      ,   Pe*   N4ichEel:

                                                               upon which you have agreed to retain this law firm
                                                                                                                     to
                 This letter is intended to confgm the terms                                        we  request that  you
          represent you in connection with your
                                                   voluntary chapter 11 proceeding. If acceptable,
                                                                                                           governing
          sign and return a copy of the letter to us.
                                                       A formal rètention letter is mandated by guidelines
          attomeYs.
                                                                                  hereinafter referred to as "counsel,"
                      1. PARTIES. pENAcHIo MALARA LLP is sometimes
                                                                     to as "Client"'
          a¡d .,Mich aelprznrtrJis sometimes hereinafter ¡eferred                                        .:

                                                                        Ordinary services in connection with chapter 11
                  2.. LEGAI SERVICES TO BE pRoviDED.                                                claims' motions to
                                                       schedules, appealance at hearings' review of
          case including preparation of petition and
                                                              confirmation'
          ,irip ao*, UJrs if availalbe, l'oss mitigation' and
                                                                             will consult with you consistently on an
                  3.      ATToRNEys,FEES AND E)GENSES. counsel                                             events. ' I
                                                        and keep you apprised in writing of alr schedured
          ongoing basis on all matters of case strategy
                                                               contacl. My partner, Frank Malara, will   also work on
          wilr be the primary attorney responsibl" und bilring
          yo*         W" *iit use paralegals wherever appropriate'
                "ur".
                                                                        an hourly fee structure which could range from
                         This type of proceeding generally implicates
                                               ,rpãn ,n" .å.npi"*ty. A portion of is payable
                                                                                                in advance and a portion
            15,000.00 - $20,000.00, dependi.rg
                                                      ptan. itrr uutun"e depends upon how complicated your
          $                                                                                                      case
          of which is payabre under your chaptei tt
                                                         claims are filed, whether you wish to pursue loan
r.\       becomes (ro, .*u*pt"r-r"hätner oujåctionuble
p
          0862 ILTR   t   00090220.WPD   vl
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                                Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 105 of 139

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           modification and whether you decide to sell your home).

                          A retainer fee of $7,500.00 is required. Plus the filing fee of $1,039.00. The balance is
           subject to Court approval. As discussed, you may pay the retainer in installments.




          written notice to us. Subject to our obligations to Client to maintain proper standards of professional
          conduct, we reserve the right to terminate our services for good reasons which include, but are not limited
          to:

                                      (a)   if Client fails to   cooperate with us in any reasonable request; or
                                 '                c'r
    -,¡                         '(b) ,' . if our c'olii""inq     to hc! wT'uld'be'urle'thical or irirpractieal;
h
liir:,t


                      5.          DISCLAIMER OF GUARANTY. Although Counsel may ofler an opinion aboutpossible
          results regarding the subject matter of this agreement, Counsel cannot guarantee any particular results.
          Counsel have made no promises about the outcome, and any opinion offered by the Counsel in the future
          will not constitute a guarantee

    ,.: -
             ,        6. Under certain circumstanges, New York law provides clients with the right to arbitration o¡       .,,

    :'    fee disputes pursuantto 22 N.Y.C.R.R.                  137.                 l




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                        Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 106 of 139
                                                                                       '.;
                    i . "::i




                                                                                                              Page3




              'We
                appreciate the opporhrnity to represent you and look forward to working with you and obtaining
    a favorable result.

                                                               Very       yours,

                                                               /s/ Anne Penachio

                                                               Anne Penachio



                                                                                                      t !,-




þ       chael




E                               vl
    0862 / LTR / 00090220.WPD


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Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 107 of 139




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                               Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 108 of 139


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                                                                     United States BankruPtcY Court
                                                                                                                                                                                      t:
                                                                                                                                                                                      T
                                                                                                                                                                                      I


                                                                             Southern District of New York
                                                                                                                                                                                      I

                                                                                                                                                                                      I



                                                                                                                        Case   No
       In   re     M¡
                                                                                           Debtor(s)                    Chapter      11


                                                                      FOR DEBTOR(S)
                               DISCLOSURE OF COMPENSATION OF ATTORNEY
                                                                                                                for the above-named debtor and that compensation
                                                               Rule 201 6(b), I certifY that I am the attorney
      l.      Pursuant to I I U.S.C. $ 329(a) and BankruPtcY
                                                                  petition in banlouPtcY,  or agrced to  be Paid to mc, for services
                                                                                                                                     rendercd or to be rende¡ed on
              paid to me wíthin one Year before the filing of the                                         as follows:
                                                                connection with the bankruPtcY case is
              behalf of the dcbtor(s) in contemPlation ofor in                                                      q                  7.000.00
                   For legal services, I have agreed to 4ccept.............                                         q                  7.000.00
                   Prior to the filing of this statemont I havs received-
                                                                                                                    b                       0.00
                   Balance Due

      2,      The source of the compensation paid to me
                                                        was:

                   E Debtor I                   Other   (specìfy):           Debto¡"s spouse
                                                                                                                                                                                           I
                                                                                                                                                                                           t.

      3.      Thc sourcc of compensation to be paid to me is:
                   I Debtor il                  Other (sPecifY):
                                                                                                                          are mcmbers and associates of my lalv     firm'
                                                                               with any other person unless they
      4. I         I have oot agreed to share the above-disctosed compensation
                                                                                                                     not.members or associates of my law        firm' A
                                                                              with a person or persons who are
               E   I have agreed to share the above-disclosed compensation
                                                                             of the póople sharing in thc compensation
                                                                                                                       is attached'
                   copy of the ,g*;;;;;ñher with           rir, áilÀ'" names
                                                                 ^

   5.,' þi.e¡umfoitþeabove-cliscloscdfee,Ihaveagreedtorerderlegals:*"Ut:{t4ieecï'Óf,teb'lkruntWcase"including                                                               :
        r          ' t            '                                          io the debtor in determíninþ whethàr to file a petition
                                                                                                                                     in bankrl¡ptcy;
      ' a. Analysis of the debtor's financial situatioo' *o ,ino.ring udvice
                                                                        z

                                                                       orunuirs and plan which rnav be    required;
Þ'      b. preparation *d ff;;;il;; p",irt"", r.h.d;ì;;,;;i"-rot confirmatioüLearing, and any adjoumed hearings thercof;
              c. Representarion oitr,Ja-.u.í          åt the   rneeting;ädtt;;;;d
              d' toih'                                                                                         ptannins; preparation and rilins or
                           Xî;ï:ä,iffiffT."uru¿                  creditors to r:1y" j:i:::Tet varue; exemption
                         rearnrmaiäi                            and applications as needed;'
                                             "éiàãt"nt=
                                                                    fee does not includc the following servíce:
       6.      Bv asreement with the debtor(s)' the above-disclosed                    actions, judicial lien           avoidances, relief from stay actions or
                         RePresentation of th e debtors in anY dischargeabilitY
                         any other adversary proceeding.
                                                                                     CERTTFICÄ

                                                                                                            for payment to                         of the debto(s) in
                                                                    of any          agreement   or
               I certi$ tbat the foregoing is a cornplete statement
        this bankruPtcY proceeding.

           Dated                 2            )t       tr                                      Anne
                                                                                               Penachlo Malara, LLP
                                                                                               235 Main Street 6th Floor
                                                                                               White Plains, NY 10601
                                                                                               914-946-2889 Fax 914-946-2882
                                                                                                FMala




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Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 109 of 139




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                    Case
                       '.':.,.3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 110 of 139


                                                                                                             rNDEX    No. s2519/2ol'3
     NYSCEF DOC.   NO.   24                                                                    RECEIVED NYSCEF            I   O4/oL/20L3




              SUPREME COURT OF THE STATE OF NEW YORK
              COUNTY OF V/ESTCHESTER
                                                             --*---------x
              DEUTSCHE BANK NATIONAL TRUST
              COMPANY, AS TRUSTEE OF THB INDYMAC
              INDX MORTGACE LOAN TRUST 2OO5-AR6'
              MORTGAGE PASS.THROUCH CERTIFICATES'
              SEzuES 2OO5.AR6 UNDER THE POOLING AND
              SERVICTNG AGREEMENT DATED MARCH T,2OO5

                                                           Plaintiff,                 vERrrmD         ANS.\-I¡ER

                                      -against-
                                                                                      INDEX NO.: 52519/2013
              MICHELE PITZUTI
             MICT{ELLE PIZZWT                                                         MORTCAGED PREMISES:
             FLEET NATIONAL BANK                                                      267Dante Avenue
             TJNITED STATES OF AMERICA                                                Tuckahoe   alklaTlO
             and "JOHN DOE #1" to "JOHN DOE #10," the last l0                         Eastchester, NY 10707
             names being fictitious and unknown to the plaintifi, the
             persons or parties intended being the persons or parties,                sBL # 42-9-23
             if any, having or clai¡ning an ínterest in or lien upon .
             tfig morfgageã premises ãeqcribed,in'thê    verifigd   ,:       .
                                                                                 ",                                            {..
             compkiint..'                                       '       .'
#                                                         Defendants.



                      Defendants, Michele   Pizuti   and Michelle Pizzuti,(collectively referred to as

             ,,Defendants") by their attorney, Penachio Malara, LLP, for their Answer to the         Plaintiffs

             complaínt set forth as follows:

                      L       Defendants deny knowledge and information sufficient to form a belief as to the

             tuthof eachandeveryallegationsetforthinparagfaphs 1,2,3,4,5,6,7,9,11,                    13,   l4'   15 16

             and   l7 of the Complaint.

                      2.      Defendzurts deny the allegations contained in Paragraphs 8, 10,    t8,   19 and 20     of

             the Complaint.

                     3.       Defendants admit the allegations set forth in Paragraph 12 of the Complaint.




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                                                                                                                               MP     0]-37
             Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 111 of 139




                                                  AS AND FOR A FIR'ST
                                                 AFT'IRMATIVE DEFENSE

                4,          Defendantsrepeatandreiteratetheassertionssetforthinparagraphslthroueh

        3 hereof as it set forth in their entirety'

                5           Uponinformationandbelief,theCourtiswithoutpersonaljurisdictionover

        Defendant.

                                                  AS AND FOR A SECOND
                                                  AFT'IRMATIVE DEFENSE
                                                                            set forth in paragraphs   I tluough
                6.           Defendants repeat and reiterate the assertÍons

        5 hereofas it       set forth in their entirety'

                T,TheComplaint,andeachpurportedcauseofactionallegedtherein,failstostate
                                                                                      gnrnted'                      -
    ,                                          actíon.rgainst'ù'þich'relief should be                     .',           '"'.
        facts suffiéient Qconstitute? cau1e,1f                                                                  "


@                                                   AS AI{D FOR A THIRD
                                                  AFF'IRM.A,TIVE DEFENSE

                                                                 assertions set forth in paragraph    I tluough                7
                 8.          Defendants repeat and reiterate the

        hereof as    if   set forth in their entirery'

                 g.Plaintiffisbanedandprecludedfromobtaininganyofthereliefrequestedinthe
                                                                                            estoppel, arid
                                                  of application of the docüines of waiver,
        complaint, in whole or in part, by virtue

        acquiescence.

                                                   AS AND FOR A F'O{JRTH
                                                   AFFIRMATTVE DEFENSE

                                                                 æsertions set forlh in paragraph     I   through 9
                    10       Defendants repeat and reiterate the



         hereofas ifset forth in their entirety'




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                                                                                                                                   MP - 0L38
                                                             1:.'::r:: ' .,:-
               Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19
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                                                                                   Defendahts or Defcndants'
                  I   t.         The Plai¡rtiffdoes not hold a valid claim against

        propertY

                                                          AS AND FOR A    FIIîTH
                                                      AFF'IRMATIVE DEFENSE
                                                                                                          :
                                                                                          in                           I through I I
                   12.           Defendarts fepeat and Isiterate the assertiotls set forth :paragxaph

        hereof as     if   set   forth in their entirety'

                  l3,Plaintilïlacksstanclingtoassertthereliefsottght'




                                         disnrissing the complaint ngainst Defendants on                      merits and rvith
                                         prejudice;

                                 II      awarding them costs and clísbursements of this ¡rqliqn'

        .Dated: White Plains, New Yolk                                                                                                  .'   ,, !'
                                                               c( ¡,.                                                                                '
               '*MarcJr 26:2013..
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                                                      -,i't,
                                             t.

D
                                                                        A¡ne Penachio, Esq.
                                                                        235 Main Street, Srlite 6004
                                                                        White Plains, New iYork I 0601
                                                                        (914)946-288e
                                                                                                      :
                                                                                                      :

                                                                        tl I lor n eys   þr   Ðefe rid a n t s
                                                                        Míchele Pízzutí and Ã¡lichelle Pízz¿tli




        l'O:   Natalie Giraldo, EsQ.
               McCabe, Weisberg & ConwaY, P'C'
               AttorneYs for Plaintiff
               145 Fluguenot Street, Suite 210
               New Roohelle, NY 10801

               Michele Pizzuti
               267 Danhe Avenue
               Tuckahoe alldaT/O Eastchester, New York 10707




D
                                                                                                                                       MP - 0139
         Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 113 of 139
                                                                                     :: :. j..rl: t'




              Michele Pizzuti
              P.O. Box 1000
              White Deer, PennsYlvania 17887

              Michelle Pizzuti
              267Ðarúe Avenue
              i"*tf,". øf¿" T/O Eastchester, New York 10707
              Michelle Pizzuti
              P.O, Box 1000
              White Deer, PennsYlvania 17887




              Utica, Ncw

              United Søtes AttomeY
              Financial Litigation Unit
              86 Chambers Street
              New Yorlc, NY 10007

    .   "',   Unite¿ States of Ameiica '..
              Intðrnal' Reveriue Servioe
              290 Broadway
              New Yorh NY 10007
                                                    DOE NO' I CI'
              "JOHN DOE NO. l " through 'JOHN
              267 Dante Avenue
              i"rf..f,tt tlt lu T/O Eastchester, New Yotk 10707




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              Case 3:19-cv-00059-AVC Document
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                                                             1.   :. ...   _.




                                                   VI'RIFICATION
                                                                                                 ¿ind knows the contents
                         MICHELLßI|ÍZ,7"LJTI, has read the foregolng Answer
                                                                           to                nr¿rticrs. stated to be alleged
         thereof; and ttrat the same is tue to her owr knowledge except as
                                                                         be true; alld'fr¡rther that the sourcos
         on information and belief, and those matters she believes it to

         of affrnnant's knowledge are examination of documents'



                                      Yorlc




                                                                                    Mìclü¡elte Piz:¿utí



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        Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 115 of 139




                                    4.TTOISNEX VERIFTCATION

          ANNEPENAcHto;herebyaffitinswderpenaltyofpedurya$tbllows:.

          l.IamanattorneytlulylioensedtopractlcolawbeforethisCotrrt.

          2,   t maintain a¡r offïce in Westchestor   Couniy'                ,,




                                                                 Dofondant lvfichele l?ìzztlti is
          3. I serve as cor¡nsel to Defendant Michele Pizzutl'
                                                          Facility in pennsylv¿¡rio. As,sircru I verify
               currentry an inm'te in a u.s. correctionar




    Dated: March 26,2013
           White Plains, New York


                                                                         Aún9 ?engchio.,                  (
                                                                                                              -,:   (t(,




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Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 116 of 139
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                Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 117 of 139


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                                                                                 of the State of lrÍerv     York, hrìld i¡r a¡rd t-or the




        PIì,ESENT:
                                                                          GIAGOMO
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        SERIES 2OO5                                                                      ,'
       SERVTCING AGRËEII,ÍENT
        2005

                                                  Plaintilf.
                                                                                              Mortgagecl Prelnises:
                                        -against-                                             267 Dante Ave
                                                                                              Tuckahoe, Nerv York 10707
        N,IICI.IELE I>IZZUTT
        \,f ICI{ ELI,E P \ZZU'I' I
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                               [ipo* thc s¡ttïnons

        ¡:err,Jerrr-y   of action previotrsly fìled herein oir Februirry 2(:.2AlJ.ltnd otl the attonleyaifìrtlration

        in   supporr      ol   lr.,lark Golab. Esq., datecl Novetrlber 19.                    20li'   ¿lemorrstråling that   all ol   the


       dcfcnclants harrc becn duly scncd u,ifir the sulnmons and contplaint herein
                                                                                   altd tlte afñdavits                                ol

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          Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 123 of 139


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     servicre   of the defenclant lrreviously fìled herein- :rnd upon the Order el¡tered herein on JanuarY
                                    -fheoni
     22,Z0l4 appointing                       Salotto, Esq., as ref'eree to asce(ai¡r and compute the amount due io

     t¡e plaintiff pursuanr to the nore and mortgage anrl to protect the lien of said mortgage, and to

     examine and report r.r'hether the mortgage premises can be solc{ in parcels; anci




                          Upon reacling and filing the report of the referee dated Januatï .i0, 2Û15 fronr

    which report it appears that the sunr of $1.239.092.26 was due to ptaintift, as of Septernber 29,

    201.1,   op Ìhe note and.lnorlgage describecl i¡r tlte complaint, ancl tllat the nrortgaged premises

    should be sold ilr one Parcel; artd




                         Upol reading and fiting the af{idavit of regularity of l)ea¡ra Cheli, Esq. srvorn to
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    où.ljebruary               2015,.pom iv¡feìi it a¡ípeaiq ihat ttris actío¡r,rvaå ö.ougttt tb fbieciosq        u ,riir,rgodr,
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    on certain, real property situarecl in the Courty of Westchester and S(ate of New York more
                                                               ()707 and that the rvhole arìloulrt
    comrnonly knorvn as 2:67 Dante r\ve, Tuckahoe, Nerv York I

    secured by said mortgage is dt¡e an<.| payable as computcd in the afbresaid Refbree's report.
                                                                                                  arld


    that all    of the defendants herein have           been tlul-v servecl rvith the sumrnorìs ancl conlplaint, and

    upon the entry of surnmary jud_qment on               plaintiffs foreclosure complilint against tlre tlefèndans,

    a¡cl that nonc of the clelerlclants is an illfant. incotnpeteltt or abscntee.

                         "Sale" is herein definetl as the foreclosttre at¡ction date'

                         NOI'y. on motion of           lr4cC¿rbe, lVeisberg   &   Conrva¡-, P.C-. artor¡reys          lor   the


    plaintill, it is



                         ORDE[IBD, AD.TUDGED and DECREIII),                       th¿rt   the reporl of the          Ref'eree,




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                  Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 .:':Page 124 of 139                                  :




          llreoni Salotto, Esq., dated                 F-ebruarS'   2,2A15, b1' and the sarne is hereb¡' ín nll rcspecis ratifìed

         and confiflned; and             it is t'urther



                                    OI{DERED, AD.IUDGIID :rnd DECREED, fhat plaintifi'is eniitleci                               to judgment

        establislring thc validity of said mortgage and that the plaintiff il'entitled to recover upon                                   saicl


        lìtûrtgage herein thc su¡n of S1,239,092.26, rvith intcrest thcreon from'l'ue.sday, Scptembcr 30,

        2014 ro clate ot'the closing 01'titlc of'the ref'eree's sale of the mortgagecl prcmises, anci also any

        ¿ulount paicl       byplaintiff for local realty taies,                rvater charges and assess¡:r"tetìts, hazard ¿nd F.l-l.A'

        Insurance, and the p¡:cset'\'atiotl or protection ol'the property; and                         it is lfurdler



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        sold in orte parccl ai public auctiotr.                     ¿rt   LO          ÒF tt t D/2'.lr4AT\N^uTHEt(                                         Þ.
                                                                                         /^ls,
        tundcr the direction            of Thconi Salotto, Referce. and that said                             give public notice ol'the

        tinle and place ol sal e according to lar.v and the rules and practice of this Court by publishin g thc

        notice ol'salc ìn the                                       o6,                          L      /16                              and


    ttrat ¡llaintiff on such sale, qr an), othcr party to this action. may become pttrcltaser,                               ¡þ3r   paytnl:nt

                                                                                'fransfèr taxes and
    of ail iaics, transfer 1ècs and costs, incluciing Nerv York State and local                                                           rhe


    cosi o1 ttre        clee<l      starnps to bc attacllcd to ¡hc Referee's Deecl sirall be paid b1' the I'urchaser. Âny

    illcl       ¿rll ntaintenalce        fics and       ¿lsscssrncrús, tax{.}s, \vtì.tcr     rrtt:s. anci any tccs associateci t'ith the

    translcr         oÍ'title lbr thc subjcct preniises accrucci 1ì'o¡ll thc Sirlc date f'orq,arcl arc thc obligation ot

    the purcl:aser; ant.l ihal saicl Ref'cree shall sell and convey said prenrises subject to the fc¡llori'ing:

                                I   .     Ány. st¡te ot- l'act rvhiclr rl,ould       bc:.   sltotvrt b;' ur accrtratc survs'":




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             Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 125 of 139




                                                                                            reservations' if any'
                          2.      All   covenants, restrictions, eâsements, agreetnenls and
        or record, atrd to any violations thereoI

                          3.Anyand.allbuildingarrrlz-oningregulations.resfrictionsandor'dinancesof
                                                                 irnd any violations of the sarire;
        t¡e rnunicipaliry in rvhiclisaicl premiscs are situated'

                        4.Anyanclaliordersorrequircmentsissuedb,'anygovefnmentalbody             of rhe
        having  jurisdiction          ãiãfø"C"g said premises pursuant to'Iitle 28; Sectio* 2410
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        tjnited States Code; a-nd

                          5.TheRight,ifarry,oftheUnite,lStatesot'funericatoredeemtheprerrtises
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        pursuant to Title 28; Section ã+ t o or tÁe unitecl
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        dra*.n for such purpo* tnufl be paid by said

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         subject to the same, he shall pay all local
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         preseniecl ancl certifìcd by saicl Refèree to be

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                 Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 126 of 139                                                                      ':':1':::




        S 3"-"*f                             to plaintiffs attorneys for reasonable attorneys' fees as provided in                        the


        note ¿uld mortgage, and also tlre sum                  of 51,239,092.26 the amount reported due as afbresaid,
                                             '['uesday, Septenrber 30, 2014 to the date of the closing                                     of
        rogether rviih interest ihereon fìom
                                                                                      paid by plaintiff fbr
        litle of the ref,eree's sale of the mortgaged premises, an,C also any amounts
                                                                   the properfy and, unlcss the premises are
        a¡,v haz,ard and F.FI.A. Insurance, or the preservation of

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        sold thercto, any payments llecessaïy to satisfy all local




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                          Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 127 of 139




       1..   .



                                      ORDERED, ADJUDGED and DIICRBED. that                            in   case the plaintifT shall

                    becorne tlre purchaser     of the Prcmises directed to be solci at a¡ a¡nount equal to or           less than thc


                                                                            and expenses! the payment by the plaintiff
                    anrount due under this judgnrent u,ith costs, allowance
                                                                                   part thcreoi is hereby dispcnsed
                    to sai,l Referee of the sum bid by ir for said Premises or any
                                                                                        by said Referee lor                            the
                    with, and that the plainriff shall be given due credit md allowance
                                                                                   of the deed to it, shali pay the        t'ee   of   the
                    ¿urount due, and that plaintiff before the delivery

                    Retbree ancl rhc e.{penses of sale and costs and
                                                                     allowance, all as provided tbr above' and all local

                                                                    ntay be a licn tlpon said Prcmises aÎ the time of
                    realry axes, assessments and water rents rvhich

                    suchsale,r¡nlessthePremisesaresoldsubjectthereto;andiiisfurtller

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                      lien. title. interest and equity of redernption
                                                                            in said premises atrd every part thereol' excepl
                                                                                                                  providcd in Titlc
                      norhing herein shall bar any righr of the
                                                                     United States olA¡ncrica to redee¡n as

                                                            2410: and         it is further
                    28 of ihe Lfnitect States Code, Sec(ion
                                                                     that in tlte ct,e¡rt lhat the plaintitl.
                                      ORDERED, ADJUDGED and DECREED.
                                                                                                           at sr¡ch sale'
                                                             nrortgagc liom any purclraser or purchasers
                    shail slect to accepr a purchase molÌe)'
                                                                                                    lhis judgment, and
                    rhe amounr rhcrcof shall be creclited
                                                          against thc amount due the plaintiflunder

                                                                  bc required to pay ths same in cash' but shall                        bc
                     rhat rhe purchascr, or purchasers, shall not
                                                               an.l that the Ref'erce take plaintiff's receipt fbr such
                     crcditcri upon its bicl with such amotmt.

                     anlotlnt¿ndfileitwithhisreporiofsale;anditisfufher
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                     "{ction Surplus lvlonies Fortn

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         Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 128 of 139




    conference   will   be scheduled within 90 days from the date of this   Order. Il'the tbnrr          has becn

    rinrcly filed u,ith this Court and the Clerk's Oftice, a conl'erence wilt not be scheduted: and it is

    further

                    ORDERED, ADJUDGED and DECREED, that by accepting this appo¡nûnent

    the retbree certifies that he/she is   in compliance with Part 36 of thc Rules of the Chief              Judge


    (22NYCRR Part 36), inctuding, but not limited to, sect¡ùn 36.2(c) ("Disqualitications f¡om
                                                                        based upon compcnsätion"),




                   THAT a paficular description of said premises described in said mortgage and to

    be sold by said rcferee is annexed hereto as Exhibit   ¡\'


                                                                                     {                                    tt   it   ,, .


                                                           ENTER



                                                           Fl}N.             ctAcüÍo
                                                           J.S.C.


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              Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 129 of 139



                                                         Schedule    {   DescrlPtton
                                                                                                      Page f
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                 as follows:

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   Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 130 of 139




''.i EXHTBÏT",.                                  I
                                              Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 131 of 139



                                                                                                      03lL3ll5                                                                  L4:32:36             Main                    ment
                                                                                                                                 PgtofT
                                                        United States Bânlcruptcy Court
                                                                Southern District of Nerv York                                                                                                            Voluntary Petition
      Name of Debtor           (if individual        enter   Lasl Firsç Middle):                                                      Nanre ofJoint Dcbtor (Spouse)                    (Lal, Firsl, tr{íddle):
          Pizzuli, Michele

     All Othcr Nanrcs used by the Debtor ín the last                    I       years                                                 All Other Na¡nes used by the Joi¡rt Debror ín the last                     I   ycars
     (include lnarried, moíden, ond lrade nnmes):                                                                                     (ínclude manied, rnaiden, aud trade names):
       AKA Michael Pizzuti


     Last four dígils of .$oc. Sec. or Individual-Ta.xpayer LD. (fTIN/Complete EIN                                                    Last four digits of Soc. Sec. or lndividual-Taxpayer f-D. (ITIN) No./Complste EIN
     (if mtrè lhÐ mc, stJc all)                                                                                                       0f moE tfi¡ñ 6c. lt¡tc sll)
      xxx-xx-7247
                of
      46 Glen Road
      Eastchester, NY
                                                                                                          10709
          unty                    or                                                                                                  County ofRÊsideuce or ofthe Príncipal Phce ofBusiness:
      Westchester
                                                                   strset
      Low Security Correctlonal lnstitution
     Allenyrrood
     PO Bbx 1000                                                                                                zl?

                 of Principal Assets of Business Debtor                     .
      differenl from street add¡ess ¡bove):


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                                             (Lteck ông box)                                    r (Check,otre box)                                                            the Éetition is Fited (Check       onia box)

 I        ludividual (íncludés Joint Debtors)                           I Health Care Business                                                   E     Chapler
      'See ExJ¡ibíl D on page 2        oftltEforn.                      D Single Asset Real Estate a! defined                                    n     Chapler 9                           E   Chaptcr 15 Petition for Rccognition
                                                                          ín ll U.S.C. $ l0l (slB)
 I Corporaticn (includes LLC and LLP)
                                                                        E Railroad                                                               I     Cha¡iter     n                          ofa Foreign Maín Procecding
 Ú Partriershíp
 fl Othei'(Ifdebtor;s not onc ofthc abovc cutities,                     E Stookbroker                                                            t     Chapter 12                          t   Chaptcr l5 PctÍtion forRecognitioô--
                                                                                                                                                                                               ofa Foreign Nor¡main Proceeding
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       chcck rhis bcx and state tJpe ofentity below.)                   D Commodity Broker                                                       tr    Chapter 13
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             rilm8 fæ                                                                                             E D¿btor is a sroalt business                debtor as dcÍîned in I I U.S.C S l0l(5lD).
                                                                                                                      El   Dcbtor is not    a -q¡nall   brrinrñ   debtor às ðefincd in I I U.s.C. I t0¡(5t D).
fl    pit;ng   Fee to be paid ín installinens (applic€ble lo iodividuals only). Mul
      'attach signed application for tlre courfs consideratíon ceaífying that the                                Check     if:
                                                                                                                     fl    Deb!or's oggr"gote nonæntíngcnt                             dèbts (excluding debls orved 10. insiders or afI¡li¡los)
       del¡tor is unable to pay fee exccpt in ínslallmeots. Rule 1006(b)- Sæ Ofücial                                                                                                             on 4,¡01/16 nd evety thrze ymrs thercajer).
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      Fonn.3A.
                                                                                                                 Chcck all oppticablc boxcs:
I riling    Fee rvaiver requested (applicablc to chaptcr ? individuals only). Must                                I e plur is being filed wilh this petition.
      aßach signed applícatjon for the courfs considemtion. Scc Ofñci¡l Fom 38.
                                                                                                                  t Acccptances oftbe plan rvere solicked prepe¡i¡ion frorn o¡e or mor¿ classes ofcrcditors,
                                                                                                                      ín accord¡ncE with, I u.s.c. 0 I t26(b).
                                                                                                                                                                                           THIS SPACE IS
J   Debtor estimates l¡at ñ¡nds witt be availablc for disriburion to unsecured c¡editors.
I   Debtor estùnates that, aflef any exempt proporty is excludcd and ¡dministr¿tíve expenscs paid,
    thero rvill bc no funds availablc for distribution lo unsecu¡ed credítors.
lstÍmated Number of Creditors
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                                            Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 132 of 139



                                                             Doc     L


                                                                                                                Name
VoluntarY Petition                                                                                                  Plzzuli, Michefe
                  nust be                            and Jìled in every case)
                                                                                      Filed \firh¡n Last          Years   (rf more    than tlvo, attach additional sheet)
                                             ail Prio r Bankrup tcy C¡rses                                                                                              Filed:
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'Wbere      Filed: - None -
                                                                                                                Case Number:                                       Date Filed:
Location
Where Filed:
                                                                                                           or   Affilhte of this Del¡tor          more thân            attach additional
                  Pendin                                 Case Filed               s
                                                                                                                 Case Numbcr:                                      Date Filed:
            of Debtor:
 - None -                                                                                                                                                          Judge:
                                                                                                                 RelatíonslúP:
Dístrict:
                                                                                                                                                             Exh
                                                       Exhibit A                                                                                                     debts arc prírnorily conssmcr debts')
                                                                                                                   (To bc complctcd ifdebtor is an individual rvhoso

                                                                                             (e.g..,
 lTo       be com¡le tcd     if dcbtor is required to file periodic reports
                                                       comm¡sston
 i¿rr*S:rcrc ånd IOQ) with thc Securities and Exchange
                      t3    ii(dñiï;'stÑtit;E-;"hange     Act of 1934                                                                                                                                                       t.
 oursuánt to seotion
                         "t
 ãnd is'rcquesting rclicfundcr  chaptcr I I ')                                                                                                                                                                              I




      D    Exhibit A is attached and made a part of this petition'                                                                             fo¡
                                                                                                                        Anne Penachlq

                                                                                                         Exhibit C
                                                                                                                                              identífiable barm to publío hcalth or safety?
                                                                                                    alleged to pose a threal of immi¡lent and
 po",th"a"bo,ounorhavepossessionolanypropertythatposesoris
      E    Yec (,and Exlúbit C is attached and made                .¿ part oflhis petition' .
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                                                                                                     Ex ti ¡b¡r D
                                                                                                                                              separate Exhibít D.)
                                                                                                filed, each spouse must comPletc and attach ^
                completed by avery individual debtor. If ù
                                                           joint potition                       ts
 (To       bo
                                                                                      aüached and made a, part of this
                                                                                                                       petition.                                                                         : ii.:
      t    Exhibit D cornplcted aod signed by the debtor IS
 If   this is a joint Petition:
                                                   joint debtor is atlacbed and mado a part of this petition'
      tr  ExhibitÐ also comPleæd and signed by the
                                                                                  Debtor - Venue




                                                                                      ebto r Who Resides as a Tenant of
                                                                                          (Check all apPlicable boxcs)

                 fI      Landlordhasajudgmentagâinstthedebtorforpossessionofdobto¡,sresidence'Qfboxclrecked'complôtethefollorving.)


                                                        (Name of landlord tbat obraíned judgmcnt)




                                                        (Address oflandlord)
                                                                                                                                debtor rvould be pennitted to cure
                                                                                lalv' there are circurnstances under which the                                                                 and
                 fI      Debtor claims that under appücabte nonbaokruptc¡'                                                    possession  was entered'         :: : '
                         rhe eotire monerary ¿eiautiitrat gave rise to
                                                                        oeiuag¡niå;i;'pä;ffi;"rüiin4uog*.nt for
                                                                                                                                  during the 30-day period
                                                                              with the court of any rent that wourd become due
                 ú       Debtor has incruded rvirh this pctilion the deposit
                         afrer the fiting of the Petition.                                                                                                     MT                                                 027 8
                                                                   the Landlord with this certification' (l I U'S'C' $
                                                                                                                       3620)'
                 fl      Debtor  cærtifies that he/she  has served
                                 Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 133 of 139




             Forn¡ t
                                                                                              ame
Voluntary Petifion                                                                                 Piauti, Michele
      p.age nrust be contpleted andJìled ín evety case)
                                                                                           atures
                    Signature(s) of Debtor(s) (IndividuaUJoint)                                                      Signature of a Foreign Representative
     I declare under penalty of perjury      that the i¡rformalion províded in this               I declare under penalty ofperjury lhat the inform8lion provided in this petition
     oetition is lrue and correct.                                                                il*. rn¿ condct, thit I når tle îorcigrr rcprcsentntive ofa debtor in a foreign
                                                                                                  proceeding, and that I am aulhorized to frle this petilion.
     [Ifperitioner is an individual tÀ'hose debls arc prima,rily consumcr dcbts and
     Iìas chosen lo fite under chapler 7J I anr awarc that I may proceed under                    (Ctreck only onc box.)
     rt ãptrr i, I I, 12, or 13 of tiile I l; Uuited Stales Codc, understand lhe roliof           n I reoucst rcliefin accordance wíth chapter l5 oftitle ¡ ¡. Uniled St8¡es Code'
     availableïndir eãch such chapter, and choosc to proceed undor chaptcr 7'                     " ðlriinri .opies ofthe documents rcqüired by t I U.S-C' $1515 are anached'
     [f no attomcy rÉprcscnts mc änd no bank-ruptcy petition prcp-arer sig¡ç-tle.
     ietitionl I havc o'b¡aincd and read thc noticcrc(uircd by I I U.S'C' $342(b)'                t-I Pursuant lo I I U.S.C. |i l5 I t, I requcst relief in accordancc wilh thê chilpler
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               reliEfin accordance rvith lhe chaptcr oftillc   ll,   Unitod States Codc,             "¡iitl"
                                                                                                     rccognition'ofthe forcígn     ntain procceding is attached'
                    this petition.

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x                ofDebror Michele
                                                                                                    Sig*hr*
                                                                                                                "f
                                                                                                                     F"t   lgn   Representative                                           .'



x                                                                                                   Printed Name of Forcign Representative

     Signature of Joint Dsbtor
                                                                                                   Date

     Telephone Number (Ilnot rcpresentcd bY attomey)                                                   Signature of Non-Attorney Bankru ptcy Pet¡t¡on Preparer '.
          2lt I ltî                                                                             I dectare under oenaltv ofperjury lbal: (l) I am a bankruptcy petition-
                                                                                                            ãtni.à ¡n't I Ù.s.c. $ t lo;il) I prepared this documenl fo.t': ,r,i.'
     Date                                                                                          "**ãi.i
                                                                                                ðompensrtion and hovo provÍdcd lhe debtor with s copy-of tlris.dorymlfli , .
                                 Signature ofAttorneY*                                          iiä'üã""At.t and i¡foimation required under I I U's'c' $0 110(b)'
                                                                                                                                                              promulgaleqt.' -
                                                                                                I 1Oft), and 342(b); and, (3) ifrules or guidelines havc been
                                                                                                nursuant to I I U.S.C. $ t lo(h) soltitlg a maximum tec tor servtces ' :
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     Þenach           M¡lara- I I P                                                                Prinlcd Namo and title,        if   anY' of Bankru¡Jtcy Petition PreParer
    Firrir'Name
     235 Main Street, 6th Floor
     Wfr¡te Pla¡ns, NY 10601


    Add¡esq




    iln a,c4se in rvhich $ ?07(bX¿)@) applics, this sigilature also constitutes     ¡
    .üii¡lft".ili"t rtteätro-iyiãi    no i.i.owíeds,c afier an ínquiry that the
    informalion in the schedules is inconecL
                                                                                                   Date
                Signature of Debtor (CorPora                                )
                                                                                                   Sisnuurc of ba¡kruptcy petition preparer or oFñccr, principal, rcsponsible
                                                                                                   pe"rson,o. pa.tnet rvhosé Social Sècuríty numbcr is provided above' :
    I deilare under penalty of perþry that thc ínfo¡marlon provided in tbis
                                                                             petilion
    l"ìrìon is r¡ue aid coíteciun¿ t'hat I have been author¡zed to file rhis                       Names and Sociat-Security numbers ofall other índividuals rvho
                                                                                                                                                                      prepared or
    on behalfofthe deblor-                                                                         usrìirco ¡n prcparing lhis riocument unless the bankruptcy petition preparer
                                                                                                                                                                                ts

    The debror requests relief iu accordance with (he chapler of titte I     l, United             not au individual:
    States Code, specified in tlìis petitiou'


X
    Signanrre   o   f Authorized Individual
                                                                                                   lfmors lhan onc person prepared tbis document" attach ¡dditionnl            sheets
                                                                                                   conforming to thã appro¡iriale offîcial form for each pcrson.
    Printed Name of Authorized Individual
                                                                                                   A banknçtcy petirion preparer'slaílure to contply with the provisions           of
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    Title    Authorized lodividuat                                                                fnes or inprisotunen! or both. I I U.S.C. îl l0: 18 U-\.C. î156'


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                                 Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 134 of 139



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     B tD (Ofticial Form l, Exhibit D) (12/09)
                                                                United States Banl<ruPtcY Court
                                                                   Southern District of New York
                                                                                                   Case No.
       In re                Pizz:uti
                                                                              Debtor(s)            Chapter    '11
                                                                                                                                   a.




                      ÐGIIBIT D - INDTVIDUAL DEBTOR'S STATEiVIENT OF COMPLIANCE \ryITH
                                                        CREDIT COUNSELING REQTIIREMENT
                                                                                                                                   :
                                                                                                        credit
            \varning: you must be able to check truthfully one of the five statements regarding the cout't
                                                                                 a bankruptcy          and
    counseling listed below. rf you canuot do so, you are not eligible to file
                                                                                                 case,

    can disjmiss any case you do file. If that nupþ"tts, you rvill loìe whatever   filing fee you paid, and your               t
    ereditors rvíIl be able to resume collection o"ti"ifiär against you. If
                                                                            your case is dismissed and you file
    auother banlcuptcy case later, you may be required to poyä seconcl
                                                                              filing fee and you may have to take
    extra steps to stop creditors' collection activities'
           Every índivídtøl cle:btor must file this Exhíbít D. If a ioînt petition-is filed,
                                                                                             each spouse must complete     " '-i-
                                                                                            any clolurnents as directed'
,   andfile a separate Exhíbit D. check one of thefive statemeíús uitow and aitach                                         _. :




                                                                                                 counseling brieling I
           rf your certificafion is satisfactory to the court, you must still obtaiu the credit
               .
                                                                                                         from the:r
                                                                                              cerfihcate
    within the first 30 days after you fite your bankruptcy peúition and promptly
                                                                                       ñte  a                                  ,


    aþency that provid.A tn" counseling, together with a copy of any
                                                                         debt management plan developed :tj ' -.
    flrrough the agency. Failure to fulfill thãse requirements   may result  in dismissat of your case' Any ;
                                                                            is Iimited to a maximum of L5-days'
    extension of the so-aay deadline can be grantåcl only for cause and
    your câse may also be dismissed if the cãurt Ís not iatisñed wifh your reasons for fiIing your bankruptcy
    case without fir.st receiving a credit counseling briefÏng.
                                                                                             the applícable
                     not required to receive a credit counseling briefing because of: [Check
                   J 4.Iam
    statement.J fMust be acàornpanied by a motionþr determination      by the court'J
                                                                                                        Bestcase.anìåprc1
    Sonwae Copyrlght (c) 1996-2014 Eest Case, LLC -w\w.boslcâse'æm



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                                  Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 135 of 139




,f'   B ID (Oft¡"ial Form l, Exbibit D) (12109) - Conr                                                                                                   Page'Z


                                                       U.S.C. $ 109(hX4) as ímpaired by reason of mental illness or :'
                                                                                                                                                             ¡

                             tr Incapacity. (Defined in                      11
               mental deficiency so as to be incapable of realizing and making rational decisions with respect to
               financial responsibilities.) ;
                       I Disabilily. @efrned in 11 U.S.C. $ 109(hX4) as physically impaired to the extent of being
               unable, after reasonable efflort, to participate in a c¡edit counseling briefing in person, by telephone, cir"
               through the Internet.);
                       tr Active military duty in amilitary combat zone.
             ¡3 5. The United States trustee or bankruptcy adminis¡rato¡ has deternrined that the credit counseling
      requirement of I 1 U.S.C. $ 109(h) does not âpply in this dist¡ict.

               I certify under penalfy of perjury that the                                              rmation provided above is true and correct

                                                         Signature ofDebtor:
                                                                                                     chel e
                                                         Date:                ¿        2
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                              Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 136 of 139


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 A4 (Official ßorm 4) (L2107)                                                                                                                                                                                   ,

                                                                 Uuited States BankruPtcy Court                                                                                                                 I



                                                                    Southern District of Nerv York
                                                                                                                       Case No.
   [n   re   Michele Pizzuti
                                                                                                                       Chapter          11
                                                                                      Debtor(s)



                             LIST OF CREDITORS HOLDING 20 LARGEST ITNSECURED CLAI]US
                                                                                                 unsecured claims.                   The list is prepared in
                       Follorving is the list of the debtofs creditors holding the 20 largest
                                                                         i;      tiæt"t-1f-[r  chapter   9] case' The list does not include (l)
             accordance with Fed. I. Barkr. P. 100?(d)      for ¡'l'¡-ne    thìt
             persons who come witlin tne definition àf "ins¡¿eiíset forth in-l
                                                                                      I U.S.C' $ tôi, oriZ) secured-creditors unless the value of
                                                                                                                           largest unsecured claims'
             the collateral is such that the unsecured deficien"v pi*"t ti " creditor ?*oog
                                                                                                   the holders
                                                                                                                9{.q." ?g
                                                                                            claiirs, state the child's initials and the name and
             If a minor child is one of the creditors hotding tnJ ád iurg"rt      unsecured
             address of the child s parent or guardian, ,u"t, æ'iÃs.,               itino.      child, by John Doe, guardian"' Do not disclose the child's
             name. See l1 U.S.C. $ 112; Fed' IL Banh' P' 1007(m)'
                                                                                                             (3)                       (4)                     (5)
                     (l)                                               (2)

                                                                                                    Nature ofclaím (trade      Indicate if clain is   Anount ofclàìti'
 Nante of credítor and comPlele                   Name, telephone nwnber and complete
                                                                                                    debt, bank loan            contingent,            [ífsecured, also'-
 maílíng atldress íncluding ziP                   mailíng address, includíng zip code, of                                                             state value    of
                                                                                                    governmenl contract'       unliquídated,
 code                                             euployee, agent, or department ofcreditor                                                           securítyl
                                                                                                    elc)                       disputed, or
                                                         vith clatnt vho møy be coiltacted
                                                                                                                               subìect to setoff
                                                                                                     267 Dante Avenue, Contingent                     120,000-00
 BAC Home Loans Servicing'                        BAC Home Loans Serviclng, LP                                                                        (900,ooo.oo
                                                  PO Box15227                                       Eastchester NY'2 Unliquidated
 LP                                                                                                                    Dispute$                       secured)
                                                  Wilmington, DE f 9886.5227                        famllv home
 PO Box15227                                                                                                                                                                                          ..,   ¡


 W¡lm'¡ndton, QE 19886;5227' ::                    (' ¡'.¿  I(
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                                                                                                    ?o 'Glen Roâd,                                    1 1 5,000.
    1:É:'
                                                                             tLc                                               Un
 Chase Home Finance, LLC      Chase l-lome                                                                                                            (8oo,oo0. 00
                                                                                                                                                                                                            I
                                                                                                    Eastchester, NY - 2'
 1S,20 E. Sþ Harbor Cir South lB20 E. Sþ Harbor
                                                Cir South
                                                                                                    famíly horne                                      secured)
 Phoenix, AZB5O34             Phoenix, AZ 85034                                                                    ,
                                                                                                                                                      (850,000.00     -



                                                                                                    46 Glen Road,              Unliquidated           850,000.00
 Chase Home Fínance, LLC      Chase Home Fínance, LLC                                                                                                                 .r.i:
                                                                                                    Eastchester, NY'       2
 1820 E. SkY Harbor Cir South 1B2O E. Sþ Harbor Cir South                                           famlly home                                       (800,000.00         :',:"
 Phcienix, A.ZB5O34 l         Phoeníx, AZ 85034
                                                                                                                                                                                          '.        :.r,.ii
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                                                           Eastchester                                                         Unliquidated
                                                            of Taxes                                                   -2
               of Taxes
                                                      Roa d                                         family home
 Mill Road                                                                                                                                            (965,000.00
 Eastchester, NY 10709                            Eastchester, NY 10709                                                                               senior




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Softwaro Copyr'rght (c) 199F2o14 Best C¿so' LLC   -vlww'best€se'em
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. ß4'(Ofliclnl Form 4) (t2107)            '    Coot.
                                                                                                                Case No.
',
     In   re            Michele Piauti
                                                                     Debtor(s)

                                                                                          20 LARGEST UNSECURED                      CLAIMS
                                   LIST OF' CREDITORS HOLDING
                                                                                  (Continuation Sheet)
                                                                                                               (3)                      (4)                  (5)
                             (r)                                             a)
                                                                                                     Nature of claim (!rade   Indícate íf claim ís   Amount of claím '
     Name of creditor and comPlete                     Nanrc, telephone nnnber and complete
                                                                                                                              conlÍngent,            [ifsecured, also
     mailing address ínchdíng ziP                      maílîng address, including zíp code, of       debt, bank loan.
                                                                                                                                                      state value of
                                                                                                     government conlract.     unlíquÍdated,
     code                                              enployee, agent, or deparlnent ofcredítor                                                     securítyJ
                                                                                                     etc.)                    dispttted, or
                                                               wítlt claím who DßY be conlacted
                                                                                                                              núiect to setolf
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                                                                                 Signature
                                                                                                     Piizuli

                                                                                                                   or imprisonment for up to 5 years or both'
           penaltyfor makíng afalse statenrcnt or                    cotrcealing properiy:,Fin-e^of up to $500,000
                                                                                is u.s.c. $$ 152 aud 3571-




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     Softv€re Copydghl (c) l99s'2O14 Bast Case. LLC - M
                                                             best€se'æm
                                                                                                                                                                       MT        0283
Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 138 of 139
                       Case 3:19-cv-00059-AVC Document 1 Filed 01/11/19 Page 139 of 139
                                                                                                                      ' ..:i   '1r..




TNMATE       vtsirlrue    Hl STORY                                                                       PIZUTI, MICHAEL

       VISITING HISTORY FOR INMATE: Pl7ZUTl, MICHAEL
                  REGISTER NUMBER: 51 089-054
                             DATES: 03101 12017'IHRU 07          131 12017


                          vrsrToR NAME                                       RELATION TO INMATE              POINTS
   VISIT DATE
       03-04-2017         PIZZVTI, LEONARDO                                  ADULT SON

       03-o4-2017         PITZUTI, GABRIELLA                                 ADULT DAUGHTER
                                                                             ADULT SON                          2
       03-25-2017         PI7jZUTI, LEONARDO
       03-25-2017         PIZZ.VTI, GABRIELLA                                ADULT DAUGHTER

       03-31-2017         PENACHIO, ANNE                                     ATTORNEY

       03-31-2017         PITjZUTI, MICHELLE A.                              WFE                                1


                          VETRINI, VINCENT                                   FRIEND                             2
       04-08-2017
       04-08-2017         DELLA ROCCA, ANTHONY                               FRIEND

       04-10-2017         PI7ZVTI, MICHELLE A.                               WFE
       04-10-2017         PUNTILLO, STEFANO                                  IN-LAWBROTHER
       o4-15-2017         PIZZUII, LEONARDO                                  ADULT SON


       dâ-1A.'ô17         PIT,TUTI.GABRIELLA                                 ADULTDAUGHTES                      2



       05-1 9-201 7       VETRINI, VINCENT                                   FRIEND

       05-29-2017         FARIA, ADRIANA                                     MOTHER OF CHILDREN                 2

       05-29-2017         PI7ZVTI, MICHAEL                                   ADULT SON
       05-29-2017         PITI.U'II, MICHELLEA.                              WIFE

       06-l 8-2017        PIZZ.UTL LEONARDO                                  ADULT SON

       06-1 8-201 7       PUNTILLO, ROSARIA                                  IN-LAWMOTHER
  ,,   Q6-18-2017         eizzurrl l4rcHeu.e Á.' '                           wFE ',      '.     .¡,'¡:
                                                                                                                                       ,tt,::r

       oo'-t e-zor 7      PIZZUTI, GABRIELIA                                 ADULT DAUGHTER                     '2 .'
       07-28-2017         PI72U1I, MICHELLE A.                               WFE                                1


       07-30-2017         PIZZUTI, LEONARDO                                  ADULT SON



  TOTAL VISITS FOR THIS INMATE: 24




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